
215 F. Supp. 2d 795 (2002)
In re NORPLANT CONTRACEPTIVE PRODUCTS LIABILITY LITIGATION.
MDL No. 1038.
United States District Court, E.D. Texas, Beaumont Division.
August 14, 2002.
*796 *797 Christopher Matthew Parks, Parker &amp; Parks, Port Arthur, TX, for Plaintiffs.
F. Lane Heard III, Williams &amp; Connolly, Washington, DC, for Defendants.
MEMORANDUM OPINION AND ORDER (1) GRANTING IN PART AND DENYING IN PART WYETH'S MOTION FOR PARTIAL SUMMARY JUDGMENT RE THE LEARNED INTERMEDIARY DOCTRINE/CAUSATION AND (2) GRANTING WYETH'S MOTION FOR PARTIAL SUMMARY JUDGMENT RE CONDITIONS FOR WHICH THERE IS NO EVIDENCE OF CAUSATION
SCHELL, District Judge.
Pending before the court is "Wyeth's Motion For Partial Summary Judgment Re The Learned Intermediary Doctrine/Causation," filed by Defendants American Home Products Corporation, Wyeth-Ayerst Laboratories, Inc., and Wyeth Laboratories, Inc. (collectively "Defendants"), on May 25, 1999 (Dkt.# 712, 713).[1] A response was filed on behalf of Plaintiffs represented by the law firms of Provost &amp;starf; Umphrey and Ness, Motley, Loadholt, Richardson &amp; Poole on May 12, 2000 (Dkt.# 747). Additionally, a number of Plaintiffs filed individual responses,[2] while some Plaintiffs individually filed joinders to the response filed by Provost &amp;starf; Umphrey, and Ness, Motley, Loadholt, Richardson &amp; Poole, adopting at least some of the arguments made therein.[3] Defendants filed a reply in support of their *798 motion on June 16, 2000 (Dkt.# 758) and a supplemental reply on August 10, 2000 (Dkt.# 762). Defendants contend that they are entitled to partial summary judgment because the learned intermediary doctrine shields them from liability for most of Plaintiffs' claims.
Also pending is "Wyeth's Motion For Partial Summary Judgment Re Conditions For Which There Is No Evidence Of Causation" (Dkt.# 716, 717), filed on May 25, 1999.[4] Once again, Plaintiffs represented by Provost &amp;starf; Umphrey and Ness, Motley, Loadholt, Richardson &amp; Poole filed a joint response (Dkt.# 752), and several Plaintiffs' responded individually. On June 16, 2000, Defendants replied to the responses (Dkt.# 760). Upon careful consideration of the parties' submissions in light of the applicable law, the court finds that Defendants' motion for partial summary judgment regarding the learned intermediary doctrine should be GRANTED in part and DENIED in part. Defendants' motion for partial summary judgment regarding conditions for which there is no evidence of causation should be GRANTED.[5]

                                 TABLE OF CONTENTS
  I. BACKGROUND ...............................................................799


*799
 II.  SUMMARY JUDGMENT STANDARD ...................................................802
III.  DEFENDANTS' MOTION FOR PARTIAL SUMMARY JUDGMENT
       REGARDING THE LEARNED INTERMEDIARY DOCTRINE/
       CAUSATION...................................................................803
      A. INTRODUCTION AND RULES ...................................................803
      B. APPLICABILITY OF THE LEARNED INTERMEDIARY DOCTRINE TO EACH CASE...........805
         1.  Jurisdictions That Apply The Learned Intermediary Doctrine Without
               An Exception Relevant To Norplant...................................806
         2.  The New Jersey Exception To The Learned Intermediary Doctrine
               In Norplant Cases ..................................................811
             a.  Plaintiffs Who Filed In New Jersey, But Had Norplant Implanted
                   In Another Jurisdiction.........................................812
                 i.  New Jersey Choice Of Law Rules ...............................813
                ii.  Analysis Of New Jersey Choice Of Law Rules ...................814
             b.  Plaintiffs Who Filed In Jurisdictions Other Than New Jersey,
                   But Had Norplant Implanted In New Jersey .......................818
                 i.  New York Choice Of Law Rules And Analysis ....................818
                ii.  Illinois Choice Of Law Rules And Analysis ....................820
         3.  Plaintiffs Who Responded Individually To This Motion .................821
      C.  ANALYSIS OF SUMMARY JUDGMENT EVIDENCE REGARDING CAUSATION ...............823
      D.  SUMMARY OF THE COURT'S DECISION ON THIS MOTION ..........................828
 IV.  DEFENDANTS' MOTION FOR PARTIAL SUMMARY JUDGMENT
       REGARDING CONDITIONS FOR WHICH THERE IS NO EVIDENCE
       OF CAUSATION ...............................................................829
      A.  INTRODUCTION ............................................................829
      B.  ANALYSIS OF SUMMARY JUDGMENT EVIDENCE REGARDING CAUSATION ...............829
      C.  SUMMARY OF THE COURT'S DECISION ON THIS MOTION ..........................833
  V.  CONCLUSION ..................................................................833
      A.  DEFENDANTS' MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING THE
            LEARNED INTERMEDIARY DOCTRINE .........................................833
      B.  DEFENDANTS' MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING
            CONDITIONS FOR WHICH THERE IS NO EVIDENCE OF CAUSATION ................834
      C.  RAMIFICATIONS OF THE COURT'S RULINGS-THE CLOSE OF MDL NO. 1038...........835


I. BACKGROUND
This is a multidistrict products liability action involving the Norplant prescription contraceptive device manufactured by Defendants. In 1991, Defendants introduced Norplant to the market after more than two decades of research and development. Norplant is a long term, reversible birth control device that consists of six plastic capsules. See Fact Sheet: Norplant and You (Planned Parenthood Federation of America, Inc., New York, N.Y.), Jan. 1997, at 1, available at, http://www.plannedparenthood.org/birth-control/norplant.htm.
Each of these capsules contains the synthetic hormone levonorgestrel. Id. The capsules are implanted below the skin of a woman's upper arm and, while implanted, constantly release a small dose of levonorgestrel into the blood stream. Id. Levonorgestrel prevents pregnancy by keeping the ovaries from releasing eggs, thickening the cervical mucus, and deterring sperm from joining with an egg. Id. Statistics show Norplant to be a highly effective method of birth control: fewer than four out of 100 women who use Norplant for five years will become pregnant. Id. at 2.[6]
*800 Central to all claims of each Plaintiff in this litigation is the assertion that Defendants failed to adequately warn consumers and their prescribing physicians or healthcare providers about the dangerous side effects associated with Norplant. In their motion for partial summary judgment regarding the learned intermediary doctrine, Defendants seek summary judgment against all Plaintiffs claiming to have suffered any of the 26 primary side effects listed in the "Adverse Reactions" section of Norplant's physician labeling.[7] Defendants contend that, even if their labeling is shown to be inadequate, the learned intermediary doctrine requires Plaintiffs to put on evidence showing that the inadequate warnings proximately caused their alleged injuries, and they have failed to do so.
Defendants also move for partial summary judgment against all Plaintiffs who have allegedly suffered any side effect other than the 26 listed as "Adverse Reactions" in Norplant's labeling. Plaintiffs collectively allege more than 950 other side effects (hereinafter "exotic conditions").[8] In short, Defendants argue that summary judgment as to the exotic side effects is proper because Plaintiffs, who have the burden to prove causation, have not come forward with any scientifically reliable evidence on general causation.
While the extensive facts of this case are well documented in other orders and opinions and need not be fully recounted here, a brief overview of the procedural history is in order. Beginning in 1994, thousands of lawsuits were filed against Defendants in state and federal courts throughout the nation. Pursuant to 28 U.S.C. § 1407, the Judicial Panel on Multidistrict Litigation transferred all federal Norplant cases to this court for consolidated pretrial handling on December 6, 1994. 28 U.S.C. § 1407(a) ("When civil actions involving one or more common questions of fact are pending in different districts, such actions may be transferred [by the judicial panel on multidistrict litigation] to any district for coordinated or consolidated pretrial proceedings."). Once transferred to this court, Plaintiffs sought certification of a nationwide class of all persons who have suffered or may suffer injury as a result of using Norplant. The court denied that motion as premature on August 5, 1996, finding that bellwether trials were needed to assess the propriety of certifying such a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure.
*801 After several Plaintiffs were selected for the first of three bellwether trials and the parties had completed discovery, Defendants moved for summary judgment on the basis of the learned intermediary doctrine. Similar to the instant motion concerning the learned intermediary doctrine, Defendants argued that the doctrine required them to warn only Plaintiffs' prescribing physicians about the dangerous propensities of Norplant, not each individual patient, and that there was no evidence that Defendants had failed to adequately do so or that their allegedly inadequate physician warnings were the producing cause of Plaintiffs' injuries. In re Norplant Contraceptive Prod. Liab. Litig., 955 F. Supp. 700, 702-03 (E.D.Tex.1997), aff'd, 165 F.3d 374 (5th Cir.1999). The court found that the learned intermediary doctrine did indeed apply to the bellwether Plaintiffs' claims whether asserted under a theory of strict products liability, negligence, breach of implied warranty of merchantability, misrepresentation, or consumer fraud under the Texas Deceptive Trade Practices Act ("DTPA") because the claims were essentially claims for failure to warn.[9]Id. at 709, aff'd, 165 F.3d 374.
Because the bellwether Plaintiffs failed to produce any evidence that their prescribing physicians were unaware of Norplant's complained of side effects, or that "but for" Defendants' inadequate warning labels they would not have prescribed Norplant, the court found that the bellwether Plaintiffs failed to prove causation and granted Defendants' motion for summary judgment on March 4, 1997. Id. at 709-11, aff'd, 165 F.3d 374. In reaching that decision, the court declined to recognize an exception to the learned intermediary doctrine for prescription contraceptives and rejected the assertion that the doctrine should not apply because Defendants had engaged in an aggressive direct-to-consumer advertising campaign. Id. at 705-08, aff'd, 165 F.3d 374.
The bellwether Plaintiffs appealed the court's summary judgment ruling to the Fifth Circuit. On appeal, they argued that the learned intermediary doctrine is a common law defense that does not apply to statutes like the DTPA or to claims for fraud and misrepresentation; that the court should recognize a contraceptive exception to the doctrine given that physicians play a reduced role in the selection of contraceptives and cannot be expected to convey adequate warnings to patients under the circumstances; that the doctrine should not apply because Defendants aggressively marketed Norplant directly to consumers, thereby rendering inadequate the warnings provided to physicians; and finally, that the doctrine should not apply because the FDA required Defendants to provide warnings about Norplant's side effects. On January 29, 1999, the Fifth Circuit rejected each of the bellwether Plaintiffs' arguments and affirmed this court's ruling. See In re Norplant Contraceptive Prod. Liab. Litig., 165 F.3d 374 (5th Cir. 1999).
Shortly after the Fifth Circuit issued its opinion, Defendants filed the partial summary judgment motions now pending before the court. Not long thereafter, the parties advised the court that they were engaged in settlement negotiations and wanted the court to postpone consideration of Defendants' motions until the settlement process had run its course. In August *802 1999, Defendants began the process of making settlement offers that most eligible Plaintiffs in both state and federal cases were expected to accept. That prediction proved to be correct: over the next three years approximately 32,000 Plaintiffs accepted Defendants' settlement offer while another 2,970 either rejected it or failed to timely respond.
The court acknowledges the instant motions have been on file for three years, but, in the interests of judicial economy, the court wanted to wait and see which Plaintiffs would settle before ruling on the motions. Given the large number of Plaintiffs involved, however, the settlement plan moved slowly, taking several years to consummate. The last stipulations of settlement were received in April 2002. Now that the settlement process is complete, the time has come to resolve Defendants' motions.[10]See, e.g., MANUAL FOR COMPLEX LITIGATION, THIRD, § 31.132, at 253 (1995) (stating that the transferee judge is empowered to rule on motions for summary judgment) (citing In re Trump Casino Sec. Litig.  Taj Mahal Litig., 7 F.3d 357, 367-68 (3d Cir.1993)).
At this point, the court notes that, consistent with its findings in the first bellwether case, the claims of all remaining Plaintiffs are fundamentally grounded in the assertion that Defendants failed to warn them of Norplant's adverse side effects. Therefore, no matter how Plaintiffs characterize their specific claims in each individual complaint  i.e., strict products liability, negligence, fraud, misrepresentation, breach of warranty, et cetera  the court will treat Plaintiffs' claims against Defendants as failure to warn claims in analyzing these motions for partial summary judgment.

II. SUMMARY JUDGMENT STANDARD
Defendants seek partial summary judgment in this case pursuant to Rule 56 of the Federal Rules of Civil Procedure. FED.R.CIV.P. 56(b). Under Rule 56, summary judgment is proper if "the pleadings, depositions, answers to interrogatories, and admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter of law." Id. at 56(c). A material fact issue exists only if "the evidence is such that a reasonable jury could return a verdict for the nonmoving party." Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). To carry its summary judgment burden, Defendants must demonstrate that Plaintiffs have failed to establish an essential element of their cases. International Shortstop, Inc. v. Rally's, Inc., 939 F.2d 1257, 1264 (5th Cir.1991) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322-23, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986)). Because Plaintiffs bear the burden of proof at trial on the issues of adequacy of Defendants' warning labels and causation, Defendants are not required to "`produce evidence negating the existence of a material fact,'" but need "only ... point out the absence of evidence supporting [Plaintiffs'] case[s].'" Skotak v. Tenneco Resins, Inc., 953 F.2d 909, 913 (5th Cir.1992) (quoting Latimer v. Smithkline &amp; French Lab., 919 F.2d 301, 303 (5th Cir.1990)); In re Norplant Contraceptive Prod. Liab. Litig., 955 F.Supp. at 710 (citation omitted), aff'd, 165 F.3d at 377-78.
If Defendants satisfy their initial burden, the burden shifts to Plaintiffs to "identify specific evidence in the summary judgment record demonstrating that there *803 is a material fact issue concerning the essential elements" of their cases. Douglass v. United Services Auto. Ass'n, 79 F.3d 1415, 1429 (5th Cir.1996) (citation omitted). In that situation, Plaintiffs cannot rest on allegations or denials in the pleadings and must "do more than simply show there is some metaphysical doubt as to the material facts." Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986). Moreover, "conclusory allegations, speculation, and unsubstantiated assertions are inadequate to satisfy the nonmovant's burden." Douglass, 79 F.3d at 1429. Of course, all evidence must be viewed in the light most favorable to the nonmoving party and all reasonable inferences must be drawn in that party's favor. See Colson v. Grohman, 174 F.3d 498, 506 (5th Cir. 1999) (citing Anderson, 477 U.S. at 255, 106 S. Ct. 2505).

III. DEFENDANTS' MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING THE LEARNED INTERMEDIARY DOCTRINE/CAUSATION

A. INTRODUCTION AND RULES

In this case, Defendants invoke the learned intermediary doctrine as a bar to Plaintiffs' recovery. The learned intermediary doctrine provides an exception to the general rule imposing a duty on manufacturers to warn consumers about the risks of their products. See Reyes v. Wyeth Lab., 498 F.2d 1264, 1276 (5th Cir. 1974); Sterling Drug, Inc. v. Cornish, 370 F.2d 82, 85 (8th Cir.1966). Under the doctrine, a drug "manufacturer is excused from warning each patient who receives the product when the manufacturer properly warns the prescribing physician of the product's dangers." Porterfield v. Ethicon, Inc., 183 F.3d 464, 467-68 (5th Cir. 1999) (citing Alm v. Aluminum Co. of America, 717 S.W.2d 588, 591-92 (Tex. 1986)). Hence, a drug manufacturer's duty to warn consumers about the dangers of its prescription drugs extends only to the prescribing physician or healthcare provider, who acts as a "learned intermediary" between the manufacturer and the ultimate consumer and assumes responsibility for advising individual patients of the risks associated with the drug. See Skotak v. Tenneco Resins, Inc., 953 F.2d 909, 912 (5th Cir.1992). The manufacturer's duty to warn is limited to adequately informing the healthcare provider of any risks associated with the product's use. See Brooks v. Medtronic, 750 F.2d 1227 (4th Cir.1984); Porterfield, 183 F.3d at 467-68 (observing that the manufacturer relies on the physician to pass on its warnings). "Thus, a warning to the [healthcare provider] is deemed a warning to the patient; the manufacturer need not communicate directly with all ultimate users of prescription drugs." Kirsch v. Picker Intern., Inc., 753 F.2d 670, 671 (8th Cir.1985) (citation omitted). This is because the prescribing healthcare provider is a medical expert and can weigh the benefits of the medication against its potential dangers. Reyes, 498 F.2d at 1276-77.[11]
If the learned intermediary doctrine applies, Plaintiffs must prove the following in order to recover for failure to warn: (1) that the product warnings given by the drug manufacturer to healthcare providers are inadequate; and (2) that the inadequate warnings were a producing *804 cause of and/or proximately caused Plaintiffs' subsequent injuries. See Porterfield, 183 F.3d at 468.
Because the Judicial Panel on Multidistrict Litigation transferred these Norplant cases to this court pursuant to 28 U.S.C. § 1407, the undersigned is obligated to apply the substantive law of the transferor courts and treat each case as if it were pending in the district from which it was transferred. See In re Dow Sarabond Prods. Liab. Litig., 666 F. Supp. 1466, 1468 (D.Colo.1987) (citing In re Plumbing Fixtures Litig., 342 F. Supp. 756, 758 (J.P.M.L.1972) (citation omitted)); see also Van Dusen v. Barrack, 376 U.S. 612, 643-46, 84 S. Ct. 805, 11 L. Ed. 2d 945 (1964). Moreover, given that Plaintiffs' claims are in federal court on the basis of diversity jurisdiction, the court looks to the law of the forum state to determine which jurisdiction's law governs each case. See Huddy v. Fruehauf Corp., 953 F.2d 955, 956 (5th Cir.1992) (citing Klaxon v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496, 61 S. Ct. 1020, 85 L. Ed. 1477 (1941)) (citation omitted). While the vast majority of jurisdictions recognize and apply the learned intermediary doctrine to prescription drugs like Norplant, at least one state recognizes an exception to the rule that may significantly impact its applicability here. The Supreme Court of New Jersey has held that the doctrine does not apply when a drug manufacturer engages in direct-to-consumer advertising. Perez v. Wyeth Lab. Inc., 161 N.J. 1, 734 A.2d 1245 (1999). Massachusetts has exempted oral contraceptives from the reach of the learned intermediary doctrine. MacDonald v. Ortho Pharm. Corp., 394 Mass. 131, 475 N.E.2d 65 (1985).
Hence, when determining the applicability of the learned intermediary doctrine with regard to this motion, choice of law questions quickly arise. For example, if a hypothetical plaintiff who had Norplant inserted in New Jersey filed suit in Texas, an apparent conflict would arise between New Jersey law, which does not apply the learned intermediary doctrine to prescription contraceptives that are directly marketed to consumers, and Texas law, which does. In that instance, the court would have to apply Texas choice of law rules to determine which state's law governs. Because Texas follows the Restatement's "most significant relationship test," which presumes that the law of the state where the injury occurred should govern unless another state has a more significant relationship to the occurrence or the parties, it very well may be that New Jersey law would control and the learned intermediary doctrine would be inapplicable to this hypothetical plaintiff when considering the instant motion. See Torrington Co. v. Stutzman, 46 S.W.3d 829, 847-50 (Tex. 2000) (applying the "most significant relationship" test to resolve Texas choice of law issue); Sanchez v. Brownsville Sports Center, Inc., 51 S.W.3d 643, 668 (Tex. Ct. App.-Corpus Christi 2001) (citation omitted); RESTATEMENT (SECOND) OF CONFLICT OF LAWS § 6, 145 (1971). The above scenario is merely hypothetical.
As a practical matter, there will not be an actual conflict of laws with regard to the claims of most Plaintiffs who filed their suits in jurisdictions different from the one where their Norplant devices were surgically implanted because most jurisdictions would reach the same result under the learned intermediary doctrine. Nonetheless, the court will deal individually with Plaintiffs who either filed their lawsuits or had Norplant inserted in jurisdictions that limit the applicability of the learned intermediary doctrine in cases like these.
Defendants base their first motion for partial summary judgment on the learned intermediary doctrine and directed it exclusively at Plaintiffs who claim they suffer from one or more of the 26 primary side *805 effects listed in the "Adverse Reactions" section of Norplant's physician labeling. Defendants contend they are entitled to partial summary judgment with regard to those claims because there is no competent summary judgment evidence demonstrating that (1) Defendants failed to adequately warn Plaintiffs' prescribing healthcare providers about those side effects; and (2) the inadequate warnings were a producing cause of and/or proximately caused any alleged injuries. See Porterfield, 183 F.3d at 468.
Defendants' motion focuses on the second of those two elements  the causation prong  and emphasizes the absence of evidence showing that prescribing healthcare providers were unaware of Norplant's 26 primary side effects before they prescribed the drug, or that "but for" Defendants' inadequate warnings they would not have recommended Norplant to their patients. Defendants note, for example, that every healthcare provider to testify in a Norplant case thus far, either by affidavit, deposition, or at trial, has declared that he or she was aware of and adequately warned about the 26 potential side effects. Defendants argue that Plaintiffs' claims cannot survive summary judgment without a proper showing of causation.
Plaintiffs respond that the question of causation is still at issue in this litigation. They point to the fact that one state court jury in Jefferson County, Texas, found that Defendants' physician warnings were inadequate and that the inadequate warnings were the producing cause of injuries to four plaintiffs.[12] They also argue that, although all testifying healthcare providers have admitted to being aware of the 26 side effects prior to prescribing Norplant, there is a fact issue about whether they were adequately warned about the potential severity of the side effects for each Plaintiff.
Additionally, Plaintiffs argue that the learned intermediary doctrine has no application here because Defendants engaged in aggressive direct-to-consumer marketing and over-promotion of Norplant, thereby nullifying the impact of Defendants' physician warnings. According to Plaintiffs, the product information Defendants provided to consumers was misleading and deceptive. Plaintiffs further contend that an exception to the learned intermediary doctrine should be recognized for contraceptive drugs and that the doctrine does not apply to claims of misrepresentation and fraud, or violations of the DTPA.

B. APPLICABILITY OF THE LEARNED INTERMEDIARY DOCTRINE TO EACH CASE

Before analyzing the substance of Defendants' motion for partial summary judgment, the court must determine to what extent the learned intermediary doctrine governs Plaintiffs' failure to warn claims at issue. Determining whether the doctrine applies in each state or territory is essential to deciding this motion because such a determination will inform the court exactly which Plaintiffs' cases are subject to this motion.[13] After the court knows to whom the motion applies, it can proceed to resolve *806 whether the motion should be granted or denied as to those Plaintiffs.
Defendants correctly note in their motion that this court and the Fifth Circuit previously held that the learned intermediary doctrine defines Defendants' duty to warn of the potential risks associated with the use of Norplant. See In re Norplant Contraceptive Prod. Liab. Litig., 955 F. Supp. 700, 703-09, aff'd, 165 F.3d 374. The court's ruling in the first bellwether trial, however, does not foreclose all argument in the present cases. Since the bellwether Plaintiffs had Norplant implanted in Texas, the previous rulings interpreted the application of the learned intermediary doctrine under Texas state law only. This motion is much broader in scope because it applies to all of the active Plaintiffs who claim they suffer from one or more of the 26 primary side effects listed in the "Adverse Reactions" section of Norplant's physician labeling. These Plaintiffs come from disparate jurisdictions throughout the United States. Thus, to decide how many Plaintiffs are subject to this motion, the court must initially determine which jurisdictions apply the learned intermediary doctrine, and whether any jurisdictions apply a relevant exception to the doctrine. To make such determinations, the court will survey the substantive law of each state and territory within the jurisdiction of the United States regarding the learned intermediary doctrine.

1. Jurisdictions That Apply The Learned Intermediary Doctrine Without An Exception Relevant To Norplant

The overwhelming majority of jurisdictions to address the issue apply the learned intermediary doctrine to define a pharmaceutical company's duty to warn of risks associated with the use of a prescription drug like Norplant. As illustrated in the table below, the doctrine either applies or is recognized, without an exception relevant to the Norplant cases, in 48 states, the District of Columbia, and Puerto Rico.

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JURISDICTION         CASE LAW APPLYING THE LEARNED INTERMEDIARY DOCTRINE
----------------------------------------------------------------------------------------------
(1) Alabama          Stone v. Smith Kline &amp; French Lab., 447 So. 2d 1301, 1303 n. 2
                       (Ala.1984).
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(2) Alaska           Shanks v. Upjohn Co., 835 P.2d 1189, 1195 n. 6 (Alaska 1992)
                       (recognizing the learned intermediary doctrine under Alaska law)
                       (citing Polley v. GIBA-GEIGY Corp., 658 F. Supp. 420, 422-23
                       (D.Alaska 1987)).
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(3) Arizona          Byer v. Best Pharmacal, 577 P.2d 1084 (Ariz.1978); Piper v. Bear
                       Med. Sys., 180 Ariz. 170, 178 (Ariz.1993).
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(4) Arkansas         West v. Searle &amp; Co., 806 S.W.2d 608 (Ark.1991) ("[W]e are
                       convinced that the stated public policy reasons for the learned
                       intermediary doctrine are present with respect to oral
                       contraceptives.").
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(5) California       Carlin v. Superior Court, 920 P.2d 1347 (Cal.1996).
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(6) Colorado         Caveny v. CIBA-GEIGY Corp., 818 F. Supp. 1404, 1406 (D.Colo.
                       1992); Hamilton v. Hardy, 549 P.2d 1099 (1976) (applying the
                       learned intermediary doctrine to oral contraceptives), disapproved
                       of on other grounds by, State Bd. of Md. Exam'r v. McCroskey,
                       880 P.2d 1188 (Colo.1994).
----------------------------------------------------------------------------------------------
(7) Connecticut      Goodson v. Searle Lab., 471 F. Supp. 546 (D.Conn.1978) (applying
                       the doctrine to oral contraceptives); Vitanza v. Upjohn Co., 778
                       A.2d 829, 838-39 (Conn.2001).
----------------------------------------------------------------------------------------------
(8) Delaware         Lacy v. G.D. Searle &amp; Co., 567 A.2d 398, 400-01 (Del.1989) (applying
                       the doctrine to intrauterine devices).
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*807
District of          MacPherson v. Searle &amp; Co., 775 F. Supp. 417 (D.D.C.1991) (applying
  Columbia             the doctrine to oral contraceptives).
----------------------------------------------------------------------------------------------
(9) Florida          Felix v. Hoffmann-LaRoche, Inc., 540 So. 2d 102, 104 (Fla.1989);
                       Zanzuri v. G.D. Searle &amp; Co., 748 F. Supp. 1511 (S.D.Fla.1990)
                       (applies the doctrine to intrauterine devices, but a fact issue as to
                       whether the manufacturer supplied adequate warnings blocked
                       summary judgment).
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(10) Georgia         Presto v. Sandoz Pharm. Corp., 487 S.E.2d 70 (Ga.Ct.App.1997);
                       Walker v. Merck &amp; Co., 648 F. Supp. 931 (M.D.Ga.1986), aff'd
                       without op., 831 F.2d 1069 (11th Cir.1987) (applying the doctrine
                       to prescription vaccines).
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(11) Hawaii          Craft v. Peebles, 893 P.2d 138 (Haw.1995) (applying the doctrine to
                       breast implants).
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(12) Idaho           Silman v. Aluminum Co. of America, 731 P.2d 1267, 1270-71 (Idaho
                       1986) (taking guidance from a Texas case and applying the
                       doctrine).
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(13) Illinois        Martin by Martin v. Ortho Pharm. Corp., 661 N.E.2d 352 (Ill.1996)
                       (applying the doctrine to oral contraceptives).
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(14) Indiana         Ortho Pharm. Corp. v. Chapman, 388 N.E.2d 541 (Ind.Ct.App.1979)
                       (applying the doctrine to oral contraceptives).
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(15) Iowa            Petty v. United States, 740 F.2d 1428, 1440 (8th Cir.1984) (intimating
                       that the doctrine is part of Iowa's common law, but refusing to
                       apply it in a mass immunization context).
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(16) Kansas          Humes v. Clinton, 792 P.2d 1032 (Kan.1990) (applying the doctrine
                       to intrauterine devices).
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(17) Kentucky        Snawder v. Cohen, 749 F. Supp. 1473, 1480 (W.D.Ky.1990) (acknowledging
                       the doctrine, but not reaching the issue of whether it
                       applies in this case).
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(18) Louisiana       Mikell v. Hoffman-LaRouche, Inc., 649 So. 2d 75, 79-80 (La.Ct.App.
                       1994); Rhoto v. Ribando, 504 So. 2d 1119 (La.Ct.App.1987) (holding
                       that the warnings supplied by drug manufacturers adequately
                       informed the patient through her doctor of known risks associated
                       with normal use of their product).
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(19) Maine           Violette v. Smith &amp; Nephew Dionics, Inc., 62 F.3d 8, 13 (1st
                       Cir.1995) (recognizing and applying the doctrine under Maine
                       law).
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(20) Maryland        Odom v. G.D. Searle &amp; Co., 979 F.2d 1001, 1004 (4th Cir.1992)
                       (applying the doctrine to intrauterine devices under Maryland
                       law); Doe v. American Nat'l Red Cross, 866 F. Supp. 242, 248
                       (D.Md.1994); Lee v. Baxter Healthcare Corp., 898 F.2d 146 (4th
                       Cir.1990) (applying the doctrine to Maryland law in a breast
                       implant case).
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(21) Massachusetts   MacDonald v. Ortho Pharm. Corp., 475 N.E.2d 65 (Mass.1985)
                       (holding that the doctrine applies, but creating an exception for
                       oral contraceptives). But see Linnen v. A.H. Robins Co., Inc.,
                       No. Civ. A. 97-2307, 2000 WL 89379 (Mass.Super.Ct. Dec. 14,
                       1999) (refusing to extend the exception created in MacDonald to
                       fen-phen, arguing that MacDonald created a narrow exception to
                       the doctrine which is confined only to oral contraceptives where
                       the FDA required the manufacturer to warn the consumer directly).
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(22) Michigan        Reaves v. Ortho Pharmaceutical Corp., 765 F. Supp. 1287, 1291
                       (E.D.Mich.1991) (applying the doctrine to oral contraceptives);
                       see also this courts discussion in In re Norplant Contraceptive
                       Prod. Liab. Litig., 955 F. Supp. 700, 704-05 n. 21, 22 (E.D.Tex.
                       1997) (determining that the correct reading of Michigan law shows


*808
                       that the learned intermediary doctrine applies), aff'd, 165 F.3d 374
                       (5th Cir.1999).
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(23) Minnesota       Mulder v. Parke Davis &amp; Co., 181 N.W.2d 882 (Minn.1970);
                       Kociemba v. G.D. Searle &amp; Co., 680 F. Supp. 1293 (D.Minn.1988)
                       (applying the doctrine to intrauterine devices under Minnesota
                       law); Klempka v. G.D. Searle &amp; Co., 769 F. Supp. 1061, 1065 n. 4
                       (D.Minn.1991) (citing Kociemba).
----------------------------------------------------------------------------------------------
(24) Mississippi     Wyeth Lab., Inc. v. Fortenberry, 530 So. 2d 688, 691 (Miss.1988)
                       (applying the doctrine in a case involving paralysis after flu
                       vaccination).
----------------------------------------------------------------------------------------------
(25) Missouri        Johnston v. Upjohn Co., 442 S.W.2d 93, 94-95 (Mo.Ct.App.1969).
----------------------------------------------------------------------------------------------
(26) Montana         Davis v. Wyeth Lab., Inc., 399 F.2d 121, 130 (9th Cir.1968) (applying
                       the doctrine using Montana law); Hill v. Squibb &amp; Sons, E.R., 592
                       P.2d 1383 (Mont.1979) ("As a general rule, the duty of a drug
                       manufacturer to warn of the dangers inherent in a prescription
                       drug is satisfied if adequate warning is given to the physician who
                       prescribes it.").
----------------------------------------------------------------------------------------------
(27) Nebraska        Freeman v. Hoffman-La Roche, Inc., 618 N.W.2d 827 (applying the
                       doctrine in reference to the RESTATEMENT (THIRD) OF TORTS § 6).
----------------------------------------------------------------------------------------------
(28) Nevada          Allison v. Merck &amp; Co., 878 P.2d 948 (Nev.1994) (recognizing the
                       doctrine, but applying an exception for mass immunization to
                       manufacturer of measles, mumps, and rubella vaccine); Moses v.
                       Danek Med., Inc., No. CV-S-95-512PMP RLH, 1998 WL
                       1041279, *5 (D. Nev. Dec. 11, 1998) (applying the doctrine in a
                       case of spinal implantation).
----------------------------------------------------------------------------------------------
(29) New             Brochu v. Ortho Pharm. Corp., 642 F.2d 652, 656 (1st Cir.1981)
  Hampshire            (applying New Hampshire law); Nelson v. Dalkon Shield Claimants
                       Trust, No. 84-276-SD, 1994 WL 255392, *4 (D.N.H. Jun.8,
                       1994) (applying the doctrine to intrauterine devices under New
                       Hampshire law).
----------------------------------------------------------------------------------------------
(30) New Mexico      Serna v. Roche Lab., 684 P.2d 1187 (N.M.Ct.App.1984); Hines v. St.
                       Joseph's Hosp., 527 P.2d 1075 (N.M.Ct.App.1974).
----------------------------------------------------------------------------------------------
(31) New York        Martin v. Hacker, 185 A.D.2d 553, 554-55 (N.Y.App.Div.1992);
                       Lindsay v. Ortho Pharm. Corp., 637 F.2d 87 (2d Cir.1980) (applying
                       the doctrine to oral contraceptives under New York law).
----------------------------------------------------------------------------------------------
(32) North           Foyle v. Lederle Lab., 674 F. Supp. 530, 535-36 (D.N.C.1987) (applying
  Carolina             the doctrine after acknowledging the great weight of authority
                       supporting the doctrine's application "[t]his `learned intermediary'
                       doctrine requires that defendant's motion for summary judgment
                       on the claim of failure to warn be [granted].").
----------------------------------------------------------------------------------------------
(33) North Dakota    Harris v. McNeil Pharm., No. CIV 3:98CV105, 2000 WL 33339657,
                       *4 n. 4 (D.N.D. Sept.5, 2000) ("It is well recognized that the duty
                       an eithical [i.e., prescription] drug manufacturer owes to the
                       consumer is to warn only physicians or others permitted to
                       dispense prescription drugs of any risks or contraindications
                       associated with that drug.") (citing Stanbeck v. Parke, Davis and
                       Co., 657 F.2d 642, 643 (4th Cir.1981) (discussing the learned
                       intermediary doctrine)).
----------------------------------------------------------------------------------------------
(34) Ohio            Tracy v. Merrell Dow Pharm., Inc., 569 N.E.2d 975 (Ohio 1991)
                       (applying the doctrine to manufacturer of nicotine chewing gum);
                       Seley v. G.D. Searle &amp; Co., 423 N.E.2d 831 (Ohio 1981) (applying
                       the doctrine to oral contraceptives).
----------------------------------------------------------------------------------------------
(35) Oklahoma        Edwards v. Basel Pharm., 933 P.2d 298 (Okla.1997) (applying the
                       doctrine, but noting an exception for nicotine patches because the
                       FDA mandated direct warnings to consumers); McKee v. Moore,


*809
                       648 P.2d 21, 24 (Okla.1982) (applying the doctrine to intrauterine
                       devices).
----------------------------------------------------------------------------------------------
(36) Oregon          McEwen v. Ortho Pharm. Corp., 528 P.2d 522 (Or.1974) (applying
                       the doctrine to oral contraceptives); Allen v. G.D. Searle &amp; Co.,
                       708 F. Supp. 1142, 1148 (D.Or.1989) (applying the doctrine to
                       intrauterine devices under Oregon law).
----------------------------------------------------------------------------------------------
(37) Pennsylvania    Taurino v. Ellen, 579 A.2d 925, 928 (Pa.Super.Ct.1990) (applying the
                       doctrine to oral contraceptives); Brecher v. Cutler, 578 A.2d 481
                       (Pa.Super.Ct.1990) (applying the doctrine to intrauterine devices).
                       Puerto Rico Pierluisi v. E.R. Squibb &amp; Sons, Inc., 440 F. Supp.
                       691 (D.P.R.1977) (applying Puerto Rican law).
----------------------------------------------------------------------------------------------
(38) Rhode Island    Hodges v. Brannon, 707 A.2d 1225 (R.I.1998) (indicating that the
                       doctrine applies in Rhode Island because the court mentioned a
                       jury instruction given by the trial court showing that it had
                       applied the doctrine at trial).
----------------------------------------------------------------------------------------------
(39) South           Brooks v. Medtronic, Inc., 750 F.2d 1227, 1231 (4th Cir.1984)
  Carolina             (applying South Carolina law); Odom v. G.D. Searle &amp; Co., 979
                       F.2d 1001 (4th Cir.1992) (applying the doctrine to intrauterine
                       devices under South Carolina law).
----------------------------------------------------------------------------------------------
(40) South Dakota    McElhaney v. Eli Lilly &amp; Co., 575 F. Supp. 228 (D.S.D.1983) (applying
                       South Dakota law), aff'd, 739 F.2d 340 (8th Cir.1984).
----------------------------------------------------------------------------------------------
(41) Tennessee       Pittman v. Upjohn Co., 890 S.W.2d 425, 429 (Tenn.1994); Dunkin v.
                       Syntex Lab., Inc., 443 F. Supp. 121 (W.D.Tenn.1977) (applying the
                       doctrine to oral contraceptives under Tennessee law).
----------------------------------------------------------------------------------------------
(42) Texas           In re Norplant Contraceptive Prod. Liab. Litig., 955 F. Supp. 700,
                       703-05 (E.D.Tex.1997), aff'd, 165 F.3d 374 (5th Cir.1999);
                       Wyeth-Ayerst Lab. Co. v. Medrano, 28 S.W.3d 87, 91 (Tex.
                       Ct.App.-Texarkana 2000); Porterfield v. Ethicon, Inc., 183 F.3d
                       464, 467-68 (5th Cir.1999) (citing Alm v. Aluminum Co. of
                       America, 717 S.W.2d 588, 591-92 (Tex.1986)).
----------------------------------------------------------------------------------------------
(43) Utah            Barson v. E.R. Squibb &amp; Sons, Inc., 682 P.2d 832 (Utah 1984)
                       (recognizing that the duty of a prescription drug manufacturer is
                       to adequately warn the medical profession).
----------------------------------------------------------------------------------------------
(44) Virginia        Pfizer, Inc. v. Jones, 272 S.E.2d 43 (Va.1980) (holding that drug
                       manufacturer was not liable for warnings adequately given to
                       physicians).
----------------------------------------------------------------------------------------------
(45) Washington      Terhune v. A.H. Ruobins Co., 577 P.2d 975 (Wash.1978) (applying
                       the doctrine to intrauterine devices).
----------------------------------------------------------------------------------------------
(46) West Virginia   Pumphrey v. C.R. Bard, Inc., 906 F. Supp. 334 (N.D.W.Va.1995)
                       (applying the doctrine and promulgating two reasons why the
                       court believes that West Virginia would adopt the doctrine).
----------------------------------------------------------------------------------------------
(47) Wisconsin       Lukaszewicz v. Ortho Pharm. Corp., 510 F. Supp. 961, 963 (D.Wis.
                       1981) (recognizing the doctrine under Wisconsin law, but applying
                       an exception for oral contraceptives because federal regulations
                       require the manufacturer to warn the patient directly).
----------------------------------------------------------------------------------------------
(48) Wyoming         Jacobs v. Dista Prod. Co., 693 F. Supp. 1029, 1036 (D.Wyo.1988)
                       (applying Wyoming law).
----------------------------------------------------------------------------------------------

Accordingly, the learned intermediary doctrine applies or is recognized, without relevant exception, in the 48 states listed above, along with the District of Columbia and Puerto Rico. In jurisdictions where the doctrine is merely recognized and not specifically applied in the common law, the court will defer to the great weight of case authority, which shows that the doctrine is applicable in the majority of jurisdictions in the United States, and consider *810 the learned intermediary doctrine germane to the common law. Further, the highest courts in certain jurisdictions listed above have not yet decided the precise application of the doctrine. Instead, state appellate courts and federal district or appellate courts have applied the doctrine when analyzing state law. "Where the issues involved are ones upon which the state supreme court has not yet ruled, federal courts must attempt to predict how the state supreme court, if presented with the question, would decide the issue." In re Norplant Contraceptive Prod. Liab. Litig., 955 F.Supp. at 703-05 (citing Vernon v. City of Los Angeles, 27 F.3d 1385, 1391 (9th Cir.1994)), aff'd, 165 F.3d 374 (5th Cir.1999). For all of those jurisdictions, the court will make an Erie guess that each state supreme court would find the learned intermediary doctrine applicable regarding the Norplant cases. Id. at 703 n. 12 (stating that federal courts may consider lower state court opinions in making an Erie guess); see also Erie v. Tompkins, 304 U.S. 64, 58 S. Ct. 817, 82 L. Ed. 1188 (1938).
With reference to Vermont, which is not listed in the table above, the court could not find any case making reference to the learned intermediary doctrine when discussing Vermont law. It is possible that no state or federal court in Vermont has decided whether the doctrine applies in that state. Nonetheless, based on the sheer number of jurisdictions that apply the doctrine, the court will make an Erie guess that the Vermont supreme court, if presented with the issue, would hold that the learned intermediary doctrine applies in Vermont without an exception relevant to the Norplant cases.
Two more states merit further discussion: Massachusetts and New Jersey.[14] Massachusetts, as noted in the table above, recognizes and applies the learned intermediary doctrine, but its supreme court recognizes a special exception to the doctrine for oral contraceptives. See MacDonald v. Ortho Pharm. Corp., 394 Mass. 131, 475 N.E.2d 65 (1985). In MacDonald, the Massachusetts Supreme Court held that the learned intermediary doctrine does not shield a manufacturer of birth control pills from its duty to warn the consumer directly of the dangers inherent in the use of birth control pills. Id. at 68. The court declared that "[o]ral contraceptives ... bear peculiar characteristics which warrant the imposition of a common law duty on the manufacturer to warn users directly of associated risks." Id. at 69. Specifically, the court reasoned that oral contraceptives differ from other prescription drugs in five ways: (1) patients participate directly in decisions relating to the use of oral contraceptives; (2) the use of oral contraceptives presents substantial risks; (3) the FDA has explicitly required manufacturers of this particular oral contraceptive to provide the consumer with warnings directly; (4) the physician's role in prescribing oral contraceptives is limited; and (5) oral communications between physicians and consumers may be insufficient to fully apprise consumers of the product's dangers. Id. at 69-70.
Given the reasoning behind MacDonald and recent Massachusetts state court opinions, the court does not believe that MacDonald creates an exception to the learned intermediary doctrine that renders the doctrine inapplicable to the Norplant cases. First, Norplant is an implant and not an oral contraceptive. Although some concerns voiced by the Massachusetts Supreme Court may relate to Norplant since, like oral contraceptives, it is a prescription contraceptive, one major difference is apparent: with Norplant, the FDA did not expressly require Norplant's manufacturers to warn the consumer directly. Also, at least two Massachusetts state courts *811 interpreted MacDonald as a "narrow exception to the learned intermediary rule," thereby limiting its application to oral contraceptives only. "Massachusetts has not extended this narrow duty to warn consumers directly, even for manufacturers of other forms of birth control." Linnen v. A.H. Robins Co., Inc., No. Civ. A. 97-2307, 2000 WL 89379, at *2 (Mass.Super.Ct., Dec. 14, 1999) (citing Raimer v. Searle, Civil Action No. 870248, (Berkshire Super. Ct., Jan. 31, 1990) (holding that a manufacturer of intrauterine devices had no duty to warn the consumer about the product's risks where no federal regulations required the manufacturer to warn the consumer directly)). Thus, the court finds that the learned intermediary doctrine should be applied, without exception, to the Norplant cases in this multidistrict litigation to the extent Massachusetts law governs.
Consequently, the court will apply the doctrine, without exception, to any Plaintiff who both filed her case and had the Norplant device implanted in a state or territory listed in the table above, as well as Vermont. In looking at each case, if both jurisdictions are enumerated in the above table, the court need not conduct a conflict of laws analysis because no conflict exists when the learned intermediary doctrine applies or is recognized in the jurisdiction of filing and the jurisdiction of implantation.
A different problem arises with Plaintiffs who failed to supply the court with the jurisdiction in which Norplant was implanted. On February 17, 1998, the court signed an order "directing all joined plaintiffs in any single case filed on or after October 4, 1996, who have failed to allege in their original complaints the state in which each joined Plaintiff had the implantation of Norplant performed, to provide the court such information via an offer of proof on or before April 17, 1998."[15] Order of Feb. 17, 1998, at 1. The court warned that it would dismiss without prejudice all joined Plaintiffs who failed to provide the court with the requested information by the aforementioned deadline. Id. at 2. The court further ordered "all joined plaintiffs in any single case filing Norplant claims after [February 17, 1998] to allege in their original complaints the state in which Norplant implantation was performed for each joined plaintiff." Id. Thus, by now all pending Norplant Plaintiffs should have furnished the court with both the jurisdiction of filing and the jurisdiction of implantation.
Notwithstanding the previous order, the court believes that the most efficient resolution of the pending cases is by way of these motions for partial summary judgment. Accordingly, for purposes of deciding these motions, the court will proceed as follows: if Plaintiffs failed to supply the court with the state of implantation, or for some reason that information is not readily available, the court will assume the jurisdiction of implantation is the same as the jurisdiction in which Plaintiff filed her case. Thus, no choice of law analysis is necessary for those Plaintiffs.

2. The New Jersey Exception To The Learned Intermediary Doctrine In Norplant Cases

The New Jersey Supreme Court has held that the learned intermediary doctrine does not apply when a manufacturer of prescription drugs or medical devices markets its product directly to the consumer. In Perez v. Wyeth Lab. Inc., 161 *812 N.J. 1, 734 A.2d 1245 (1999), the New Jersey Supreme Court recognized the learned intermediary doctrine, but refused to apply it in a case involving the Norplant contraceptive device because it was advertised directly to consumers in popular magazines. 734 A.2d at 1248, 1257-58. The court reasoned that such advertisements allow patients to actively participate in the choice of medication. Id. at 1256-57. Additionally, the court determined that the advertisements "encroach" on the doctor patient relationship by encouraging consumers to ask for advertised products by name. Id. at 1256. The court found that consumer advertising of Norplant "alters the calculus" of the doctrine and "belies ... the premises on which the learned intermediary doctrine rests." Id. at 1254, 1256. "[W]hen mass marketing of prescription drugs seeks to influence a patient's choice of a drug, a pharmaceutical manufacturer that makes direct claims to consumers for the efficacy of its product should not be unqualifiedly relieved of a duty to provide proper warnings of the dangers or side effects of the product." Id. at 1247.
Since Perez, no other court in any jurisdiction has directly addressed an advertising exception to the learned intermediary doctrine, making New Jersey the only jurisdiction to recognize this exception. Accordingly, New Jersey's advertising exception renders the learned intermediary doctrine wholly inapplicable to Norplant cases in this multidistrict litigation, but only to the extent that this court is required to follow the substantive law of New Jersey in deciding the instant motion. This means that New Jersey law is in direct conflict with the law of every other jurisdiction in the United States.[16] Because the court must determine which jurisdiction's law to apply by looking at each individual case in this litigation, the court will examine pending cases that have a factual nexus to New Jersey and perform a choice of law analysis, if necessary.
The court will primarily consider the jurisdiction where each Plaintiff had the Norplant device implanted, as well as the jurisdiction in which each Plaintiff filed her case. If both of these states are New Jersey, no choice of law discussion is necessary because New Jersey law clearly applies in that case and, as such, the instant motion would not pertain to that Plaintiff. However, no remaining Plaintiffs fall into this category. In the event that a Plaintiff filed her case in a jurisdiction such as Texas, but had the Norplant device implanted in New Jersey, the court would need perform a choice of law analysis because Texas law directly conflicts with New Jersey law regarding the learned intermediary doctrine. In this scenario, because the court must apply the law of the state in which each case was filed, the court would utilize Texas choice of law rules to resolve which state's substantive law applies to that particular Plaintiff. See Huddy v. Fruehauf Corp., 953 F.2d 955, 956 (5th Cir.1992). Alternatively, if a Plaintiff filed her case in New Jersey, but Texas was the state of implantation, the court would apply New Jersey choice of law rules to that Plaintiff. After a comprehensive choice of law analysis in all necessary cases, the court will know with certainty to whom this motion applies.

a. Plaintiffs Who Filed In New Jersey, But Had Norplant Implanted In Another Jurisdiction

The first group of cases the court will examine are those wherein Plaintiffs *813 filed in New Jersey, but had the Norplant device implanted in another jurisdiction. Because Plaintiffs addressed in this section filed in New Jersey, its choice of law rules apply. Erny v. Estate of Merola, 171 N.J. 86, 792 A.2d 1208, 1212 (2002) (citing Fu v. Fu, 160 N.J. 108, 733 A.2d 1133 (1999)).

i. New Jersey Choice Of Law Rules

New Jersey recognizes the Restatement (Second) of Conflict of Laws when determining choice of law issues. Id. at 1213. Under section 172 of the Restatement, the law of the site of the conduct and injury provides the presumptively applicable law. Id. at 1215-16; RESTATEMENT (SECOND) OF CONFLICT OF LAWS § 172 (1971). New Jersey courts additionally employ a flexible "governmental-interest" analysis to determine which jurisdiction has the greatest interest in governing the specific issue that arises in the underlying litigation. Seiderman v. American Inst. for Mental Studies, 667 F. Supp. 154, 156 (D.N.J.1987) (citing Mellk v. Sarahson, 49 N.J. 226, 229 A.2d 625 (1967)). "The first prong of the governmental-interest test requires the Court to determine whether there is an actual conflict between the laws of the states involved." Erny, 792 A.2d at 1216 (citations omitted). Here, there is unquestionably an actual conflict between the application of the learned intermediary doctrine in New Jersey versus every other United States jurisdiction. The New Jersey Supreme Court fashioned an exception to the learned intermediary doctrine when a manufacturer of prescription drugs markets its product directly to consumers. Perez, 734 A.2d at 1257-58. In contrast, every other jurisdiction recognizes the learned intermediary doctrine without an exception for direct-to-consumer advertising. See Table Summarizing Case Law, supra, at 806-09. Those jurisdictions, though they may permit different exceptions to the doctrine, excuse a drug manufacturer from warning patients who receive its product when the manufacturer properly warns the prescribing healthcare provider of the product's dangers regardless of any marketing to consumers.
The second prong of the governmental interest analysis requires the court to determine the interests each jurisdiction has in applying the learned intermediary doctrine, or relevant exception, to the parties in this litigation. Erny, 792 A.2d at 1216 (citation omitted); see also Veazey v. Doremus, 103 N.J. 244, 510 A.2d 1187, 1189 (1986) (Courts must "identify the governmental policies underlying the law of each state and how those policies are affected by each state's contacts to the litigation and the parties.") (citations omitted). "If the contacts do not align with the policies, the state has no interest in applying its law." Erny, 792 A.2d at 1216-17 (citations omitted).
Five factors culled from section 145 of the Restatement guide courts in applying the governmental interest analysis: (1) the interests of interstate comity; (2) the interests of the parties; (3) the interests underlying the field of tort law; (4) the interests of judicial administration; and (5) the competing interests of the states. Id. (citing Fu, 733 A.2d at 1140-41); RESTATEMENT (SECOND) OF CONFLICT OF LAWS § 145 (1971). The primary factor is the competing interests of the states. Erny, 792 A.2d at 1217. Within that factor, the court should initially focus on the policies that the New Jersey Supreme Court intended to protect by applying the advertising exception to domestic concerns, and, then, whether applying the exception to the multistate situation will further those concerns. Id. (citing Fu, 733 A.2d at 1142).
The other four factors also require individual consideration. "When considering the interests of interstate comity, a court must determine `whether application of a competing state's law would frustrate the policies of other interested states.'" Id. *814 (quoting Fu, 733 A.2d at 1141). "When determining the interests underlying the field of tort law, a court must consider `the degree to which deterrence and compensation, the fundamental goals of tort law, would be furthered by the application of a state's local law.'" Id. (quoting Fu, 733 A.2d at 1141).
The court should give less weight to the final two factors in making choice of law determinations. The interests of the parties is relatively unimportant because "a person who causes an unintentional injury is not necessarily aware of the law that may be applied to the consequences of his actions." Id. (citing Fu, 733 A.2d at 1141). Lastly, the interests of judicial administration offer courts the opportunity to consider the "practicality of applying a specific law in a given situation; however, to the extent that that factor conflicts with a strong state policy, the factor yields." Id. (citing Fu, 733 A.2d at 1142).
To give context to the governmental interest analysis, the court also must review the actual contacts of the parties with each related jurisdiction. The factual contacts that the court considers in determining which jurisdiction's laws should apply include the following: (1) the place where the injury occurred; (2) the place where the conduct causing the injury occurred; (3) the domicile, residence, nationality, place of incorporation, and place of business of the parties; and (4) the place where the relationship, if any, between the parties is centered. Id. (citing Fu, 733 A.2d at 1142); see also Wuerffel v. Westinghouse Corp., 148 N.J.Super. 327, 372 A.2d 659, 662-63 (1977) (quoting RESTATEMENT (SECOND) CONFLICT OF LAWS § 145 (1971)).

ii. Analysis Of New Jersey Choice Of Law Rules

The court will proceed by noting the facts considered most significant to the governmental interest test. The court derived this factual information from close perusal of the record and by examining each Plaintiff's complaint or amended pleading. Because the court has already sifted through the specific facts of each case in preparing to draft this opinion, the court need not set forth the facts of each case here ad nauseam. Such attention to the minutia is unnecessary in this opinion and would prove tedious. This opinion will broadly present the facts gathered, noting any discrepancies or exceptions to the generalities where necessary.
(1) The place where the injury occurred: the court believes that the jurisdictions where Plaintiffs had Norplant implanted qualify as the places where their injuries occurred. There is no evidence indicating that any Plaintiff's injury occurred in a place other than the jurisdiction of implantation. Thus, for all Plaintiffs in this section, the places where their injuries occurred are jurisdictions other than New Jersey. None of the Plaintiffs who filed in New Jersey were implanted with Norplant in New Jersey.
(2) The place where the conduct causing the injury occurred: the court finds that the jurisdictions where Plaintiffs had Norplant implanted are also the places where the conduct causing the injuries occurred. No evidence suggests otherwise. Thus, for all Plaintiffs in this category, the conduct causing the injuries occurred in places other than New Jersey.
(3) The domicile, residence, nationality, place of incorporation, and place of business of the parties:
(a) Plaintiffs in this category reside in jurisdictions other than New Jersey.
(b) Defendant American Home Products Corporation is a Delaware corporation with its principal place of business in New Jersey. Defendant Wyeth-Ayerst Laboratories, *815 Inc., subsidiary of American Home Products Corporation, is a Delaware corporation with its principal place of business in Pennsylvania. Defendant Wyeth Laboratories, Inc., is a New York Corporation with its principal place of business in Pennsylvania.
(4) The place where the relationship, if any, between the parties is centered: the places where Plaintiffs had Norplant implanted are the places where the parties' relationships are centered. Plaintiffs in this category all had Norplant implanted in jurisdictions other than New Jersey.
The aforesaid contacts are relevant to the extent that they implicate the policies underlying the conflicting applications of the learned intermediary doctrine. Erny, 792 A.2d at 1218 (citing Fu, 733 A.2d at 1142).
The court next will apply the five factors drawn from section 145 of the Restatement to determine whether New Jersey or another jurisdiction, depending on the particular case, has the most significant relationship to the occurrence and parties in question. That determination is made by identifying the governmental policies underlying each jurisdiction's application of the learned intermediary doctrine and then deciding how the contacts listed above influence those policies. Id. at 1218. As mentioned above, the competing interests of the states is the primary factor, followed by the interests underlying tort law, the interests of interstate comity, the interests of the parties, and the interests of judicial administration. Id. (citation omitted).
First, the court will examine the competing interests of New Jersey as opposed to the other jurisdictions. As previously mentioned, the learned intermediary doctrine has long acted as an exception to a manufacturer's duty to warn by allowing a drug company to warn the healthcare provider instead of the patient directly. See Porterfield v. Ethicon, Inc., 183 F.3d 464, 467-68 (5th Cir.1999). State courts generally identify four theoretical justifications for the doctrine. First, states want to preserve the doctor-patient relationship, which could be undermined if patients received warnings from drug manufacturers that differed from their doctor's warnings. Perez, 734 A.2d at 1255 (citing Lars Noah, Advertising Prescription Drugs to Consumers: Assessing the Regulatory and Liability Issues, 32 GA. L.REV. 141, 157-59 (1997)). Second, physicians are in a better position to convey information to patients than manufacturers. Id. Third, manufacturers lack an efficient means to communicate warnings to individual consumers. Id. Finally, states are concerned that patients cannot comprehend complex medical information, and it is too burden-some for pharmaceutical companies to translate the medical jargon into understandable language. Id. At bottom, states that recognize the learned intermediary doctrine reduce the exposure of pharmaceutical corporations to liability for product warnings.
New Jersey also recognizes the learned intermediary doctrine in certain circumstances. Perez, 734 A.2d at 1250, 1257 ("`In New Jersey ... we accept the proposition that a pharmaceutical manufacturer generally discharges its duty to warn the ultimate users of prescription drugs by supplying physicians with information about the drug's dangerous propensities.'") (citation omitted). With the Perez decision, however, the New Jersey Supreme Court refused to apply the learned intermediary doctrine to Norplant because Defendants advertised Norplant directly to consumers. Id. at 1248, 1257-58. This decision was the first and only to recognize such an exception to the doctrine for Norplant and, in so doing, broke with every other jurisdiction on the application of the learned intermediary doctrine. See Table *816 Summarizing Case Law, supra, at 806-09. The Perez court reasoned that direct-to-consumer advertising undercuts all four theoretical justifications for the learned intermediary doctrine. Perez, 734 A.2d at 1255-56. The court also emphasized the increasingly important part played by patient choice in modern drug prescription. Id. at 1257. The court concluded that direct advertising unduly influences consumers and belies the necessity of a learned intermediary. Id. at 1247, 1257-58. Perez essentially declines to afford drug manufacturers the benefit of using the learned intermediary doctrine as a shield from liability if they attempt to influence consumers via advertising.
Thus, the policies underlying New Jersey's advertising exception to the learned intermediary doctrine promote accountability for drug manufacturers if they choose to advertise their products directly to consumers. Unlike New Jersey, however, every other jurisdiction considers the doctrine appropriate in litigation like Norplant. Some jurisdictions recognize different exceptions to the doctrine, but none carve out an exception for direct-to-consumer advertising. New Jersey's policies thus reflect the minority view regarding the scope of the learned intermediary doctrine. The overwhelming majority of jurisdictions either disagree or have not yet adopted the exception as law.
The court must next examine the interests of interstate comity and determine whether application of a competing state's law would frustrate the policies of other interested states. Erny, 792 A.2d at 1217. Plaintiffs at issue filed their cases in New Jersey and, thus, the court must consider its interests. But, keeping in mind the actual contacts of the parties, New Jersey is relatively unimportant: Plaintiffs' injuries and the conduct causing the injuries occurred in jurisdictions other than New Jersey; Plaintiffs and Defendants  except Wyeth-Ayerst Laboratories, Inc., which has its principal place of business in New Jersey  reside in jurisdictions other than New Jersey; and the places where the parties' relationships are centered are jurisdictions other than New Jersey. Hence, Plaintiffs' contacts with New Jersey are minimal at best. If the court decided to apply New Jersey law to the affected Plaintiffs, it would thwart the policies of many other jurisdictions in the United States.
In addition to the above factors, the court must consider how the laws in issue promote deterrence and compensation, the fundamental goals of tort law. Erny, 792 A.2d at 1217, 1220 (citation omitted). This factor favors applying New Jersey's advertising exception to the learned intermediary doctrine. New Jersey law expresses a "weightier interest" in both deterrence and compensation than do the laws of jurisdictions that apply the doctrine without the advertising exception. Id. at 1220. The advertising exception deters tortious conduct by drug makers by making inapplicable the doctrine protecting them if they advertise their products directly to consumers. Instead of shifting the responsibility to physicians and other healthcare providers, the New Jersey exception forces drug manufacturers to scrutinize their products and its accompanying warnings before advertising to the masses. Further, the exception provides patients another avenue toward compensation by allowing them to sue drug manufacturers for failure to warn when they could not do so before. The learned intermediary doctrine applied without the advertising exception, in contrast, limits who a patient can sue by guarding drug manufacturers from certain failure to warn claims.
The next task is to weigh the interests of the parties, which is relatively unimportant in the New Jersey choice of law rubric. *817 Plaintiffs are interested in applying the New Jersey advertising exception to the learned intermediary doctrine ushered in by Perez because it gives them the opportunity to maintain suit against Defendants as to the 26 "Adverse Reactions." As drug manufacturers, however, Defendants have an interest in applying the learned intermediary doctrine unimpeded by the advertising exception, making partial summary judgment proper as to the 26 "Adverse Reactions" alleged by Plaintiffs in this category. It is worth mentioning that all Plaintiffs who filed against Defendants in New Jersey did so prior to the Perez decision in 1999. Before Perez was decided by the New Jersey Supreme Court, New Jersey did not recognize an advertising exception to the doctrine.[17] Plaintiffs therefore did not file in New Jersey based on the advertising exception since state law changed in the midst of this litigation. Regardless, neither side's interests greatly affect the court's decision on this issue.
Finally, the court must consider the interests of judicial administration. As a practical matter, this factor is neutral. Applying New Jersey law to Plaintiffs who filed in New Jersey poses no problem to this court. Likewise, applying the laws of other jurisdictions should not prove burdensome.
The court acknowledges that these situations present close calls on the choice of law issue. After analyzing Plaintiffs' cases under New Jersey's choice of law analysis, the court finds that New Jersey law should not apply to these cases. Instead, the laws of jurisdictions with more significant contacts to each respective case should apply. The law applied will be different for each case depending on the facts, including where the injury occurred, the residences of the parties, and where the parties' relationship is based. But, ultimately, that analysis is unnecessary in this opinion because whichever jurisdiction's law applies, the learned intermediary doctrine will bar Plaintiffs' claims to the extent they allege the 26 "Adverse Reactions" listed on the Norplant labeling.
Although applying the laws of other jurisdictions undermines New Jersey's policies regarding advertising exception, the court concludes that the Restatement's presumption in favor of the law of the situs of the conduct and injury is not overcome in these cases. See RESTATEMENT (SECOND) OF CONFLICT OF LAWS §§ 145, 172 (1971). The policies put forth by New Jersey do not match up with the contacts in these cases, and "[i]f the contacts do not align with the policies, the state has no interest in applying its law." Erny, 792 A.2d at 1216-17 (citations omitted). Plaintiffs chose to file in New Jersey and Wyeth-Ayerst Laboratories, Inc.'s principal place of business is in New Jersey, but, aside from those two facts, none of the Plaintiffs in this category have any actual connection to New Jersey. New Jersey is neither the place where the conduct causing the injuries occurred nor where the injuries occurred, none of the Plaintiffs reside in New Jersey, and the parties' relationships are not centered in New Jersey. In short, New Jersey has only a slight factual nexus to Plaintiffs cases. Moreover, New Jersey adopted the advertising exception in 1999, which was two years or more after Plaintiffs filed their cases. The learned intermediary doctrine, which was the universal rule at that time, protected drug manufacturers from failure to warn claims when they issued proper warnings. Finally, to this day every jurisdiction but New Jersey *818 applies the learned intermediary doctrine without an exception for direct-to-consumer advertising. Therefore, Defendants motion for partial summary judgment regarding the learned intermediary doctrine applies to all Plaintiffs who filed in New Jersey, but had Norplant implanted in another jurisdiction.

b. Plaintiffs Who Filed In Jurisdictions Other Than New Jersey, But Had Norplant Implanted In New Jersey

The second group of cases are those wherein Plaintiffs filed in jurisdictions other than New Jersey, but had Norplant implanted in New Jersey. In such cases, the court employs the choice of law rules from the jurisdiction in which each Plaintiff filed her case to determine which jurisdiction's laws control. This analysis will also decide whether or not the learned intermediary doctrine applies. Fortunately for the court, very few Plaintiffs in this litigation had Norplant implanted in New Jersey, but filed somewhere else. These select Plaintiffs filed either in New York or Illinois, thus, limiting the court's choice of law analyses to the rules of two states. As such, the court will first examine the facts surrounding each Plaintiff who filed in New York under New York's choice of law rules to see whether New York or New Jersey substantive law governs. Then the court will do the same with Plaintiffs who filed in Illinois. If New Jersey law applies to any Plaintiff's case, neither the learned intermediary doctrine nor this motion will apply and her case likely will be remanded back to the district court where it originated.

i. New York Choice Of Law Rules And Analysis

Six Plaintiffs in this litigation had Norplant implanted in New Jersey, but filed in New York: (1) Rhonda Randazzo; (2) Linda Vitali (both 1:97-CV-7359); (3) Marie Badame (1:97-CV-7979); (4) Shaunda Taylor; (5) Rebecca Zenguis (both 1:97-CV-8125); and (6) Marva Christie (1:97-CV-8126). "When a case presents a potential choice of law issue, a court should first analyze whether there is an actual conflict between the laws in the different jurisdictions." Bodea v. Trans. Nat. Express, Inc., 286 A.D.2d 5, 8, 731 N.Y.S.2d 113 (N.Y.App.Div.2001). In these cases, there is an actual conflict between the laws of New Jersey and New York concerning application of the learned intermediary doctrine. New Jersey allows an exception to the learned intermediary doctrine when drug makers market their products directly to consumers. Perez, 734 A.2d at 1257-58. New York, however, applies the learned intermediary doctrine without the advertising exception. See Martin v. Hacker, 185 A.D.2d 553, 554-55, 586 N.Y.S.2d 407 (N.Y.App.Div.1992); Lindsay v. Ortho Pharm. Corp., 637 F.2d 87 (2d Cir.1980) (applying the doctrine to oral contraceptives under New York law).
The "interest analysis" test is the relevant analytical approach to choice of law issues in tort actions under New York law. See Schultz v. Boy Scouts of America, Inc., 65 N.Y.2d 189, 491 N.Y.S.2d 90, 480 N.E.2d 679, 684 (1985). "`[T]he law of the jurisdiction having the greatest interest in the litigation will be applied and the [only] facts or contacts which obtain significance in defining State interests are those which relate to the purpose of the particular law in conflict.'" Id. at 684 (quoting Miller v. Miller, 22 N.Y.2d 12, 290 N.Y.S.2d 734, 237 N.E.2d 877, 879 (1968)). Two separate inquires are thus required to determine which jurisdiction has the "greater interest" in the litigation: "(1) what are the significant contacts and in which jurisdiction are they located; and, (2) whether the purpose of the law is to regulate conduct or allocate loss." Padula v. Lilarn Props. Corp., 84 N.Y.2d 519, 620 N.Y.S.2d 310, *819 644 N.E.2d 1001, 1002 (N.Y.1994) (citation omitted).
As to the first inquiry, the court notes that the significant facts or contacts consist exclusively of the parties' domiciles and the place where the tort occurred. Schultz, 491 N.Y.S.2d 90, 480 N.E.2d at 684. Plaintiffs Marie Badame, Shaunda Taylor, Rebecca Zenguis, and Marva Christie are domiciliaries of New Jersey. Plaintiffs Rhonda Randazzo and Linda Vitali "do not reside in a defendant's state of incorporation or principal place of business," which means they are domiciliaries of states other than Delaware, New York, New Jersey, or Pennsylvania. See Randazzo and Vitali Compl. at 2 (1:97-CV-7359). Defendant American Home Products Corporation is a Delaware corporation with its principal place of business in New Jersey. Defendant Wyeth-Ayerst Laboratories, Inc., is a Delaware corporation with its principal place of business in Pennsylvania. Defendant Wyeth Laboratories, Inc., is a New York Corporation with its principal place of business in Pennsylvania. The place of the tort in all cases is New Jersey  the state in which each of the six Plaintiffs had Norplant implanted.
The court must next determine whether the purpose of the dichotomous learned intermediary policies in question is to regulate conduct or allocate loss. Padula, 620 N.Y.S.2d 310, 644 N.E.2d at 1002. "Conduct-regulating rules have the prophylactic effect of governing conduct to prevent injuries from occurring." Id. Where the conflicting laws implicate the appropriate standards of conduct, the law of the place where the tort occurred applies "because that jurisdiction has the greatest interest in regulating behavior within its borders." Id.; see also Schultz, 491 N.Y.S.2d 90, 480 N.E.2d at 684-85. "Loss allocating rules, on the other hand, are those which prohibit, assign, or limit liability after the tort occurs ...." Padula, 620 N.Y.S.2d 310, 644 N.E.2d at 1003 (emphasis added) (citations omitted). Where the conflicting laws relate to allocating losses that result from tortious conduct, a court should apply one of three rules set forth in Neumeier v. Kuehner, 31 N.Y.2d 121, 335 N.Y.S.2d 64, 286 N.E.2d 454 (1972).
The learned intermediary doctrine and the New Jersey advertising exception "embody both conduct-regulating and loss-allocating functions." Padula, 620 N.Y.S.2d 310, 644 N.E.2d at 1003. The learned intermediary doctrine regulates conduct by requiring drug manufacturers to give proper warnings to healthcare providers to prevent injuries from occurring. However, the doctrine also allocates loss as it limits a manufacturer's normal liability to warn patients of a product's dangers. New Jersey's advertising exception to the doctrine primarily regulates conduct because it does not allow drug makers to be shielded by the doctrine when they market to consumers. The court concludes that the learned intermediary doctrine and its relevant exception are primarily conduct-regulating rules, requiring that adequate warnings be given to healthcare providers or to patients directly, depending on the jurisdiction. Accordingly, the court must apply the law of New Jersey to the cases brought by Plaintiffs Rhonda Randazzo, Linda Vitali, Marie Badame, Shaunda Taylor, Rebecca Zenguis, and Marva Christie because New Jersey is the place where the torts occurred. Id. at 1002; see also Schultz, 491 N.Y.S.2d 90, 480 N.E.2d at 684-85. As a result, the instant motion for partial summary judgment regarding the learned intermediary doctrine does not apply to these Plaintiffs' cases. These six Plaintiffs' failure to warn claims remain as to any of the 26 "Adverse Reactions" alleged.


*820 ii. Illinois Choice Of Law Rules And Analysis

Four Plaintiffs in this litigation had Norplant implanted in New Jersey, but filed in Illinois: (1) Charlene Harris (1:97-CV-7789); (2) Deborah R. Campione; (3) Oneyda Fay; and (4) Dawn Lauterborn (all three 1:97-CV-7795). At the outset, the court observes that there is an actual conflict between New Jersey law and Illinois law regarding the applicability of the learned intermediary doctrine in this litigation. Illinois recognizes the learned intermediary doctrine, but does not acknowledge the advertising exception accepted in New Jersey. See Martin by Martin v. Ortho Pharm. Corp., 169 Ill. 2d 234, 214 Ill. Dec. 498, 661 N.E.2d 352 (1996) (applying the doctrine to oral contraceptives).
"In deciding choice-of-law questions in tort cases, Illinois follows the Restatement (Second) of Conflict of Laws and uses a most-significant-contacts approach similar to the one delineated in section 145." Wreglesworth by Wreglesworth v. Arctco, Inc., 316 Ill.App.3d 1023, 250 Ill. Dec. 495, 738 N.E.2d 964, 971 (2000). Courts governed by Illinois choice of law rules should apply the law of the place of injury unless another jurisdiction has a more significant relationship with the occurrence and the parties. Id.
Much like New Jersey law, the contacts to be evaluated under Illinois law include the following: (1) the place where the injury occurred; (2) the place where the conduct causing the injury occurred; (3) the domicile, residence, nationality, place of incorporation, and place of business of the parties; and (4) the place where the relationship, if any, between the parties is centered. Id.; RESTATEMENT (SECOND) OF CONFLICT OF LAWS § 145 (1971). But, in conducting a most-significant-contacts analysis, courts should not merely tally the relevant contacts. Wreglesworth by Wreglesworth, 250 Ill. Dec. 495, 738 N.E.2d at 971 (citation omitted). Rather, courts should apply an "interest analysis" which involves a distinct three step process: (1) isolate the issue presented; (2) identify the relevant policies embraced in the laws in conflict; and (3) examine the contacts and determine which jurisdiction has a superior interest in having its policy applied. Id. (citations omitted).
First, the precise issue presented regarding four Plaintiffs who filed in Illinois but were implanted in New Jersey is whether the learned intermediary doctrine bars their failure to warn claims, or whether the advertising exception in New Jersey law applies. Next, the court will examine Illinois' and New Jersey's contacts with the occurrences and the parties.
(1) The place where the injury occurred: the court notes that the four Plaintiffs in this category had Norplant implanted in New Jersey.
(2) The place where the conduct causing the injury occurred: the court finds that New Jersey also qualifies as the place where the conduct causing the injuries occurred.
(3) The domicile, residence, nationality, place of incorporation, and place of business of the parties:
(a) Plaintiff Charlene Harris is a domiciliary of New York state. Plaintiffs Deborah Campione, Oneyda Fay, and Dawn Lauterborn reside in New Jersey.
(b) Defendant American Home Products Corporation is a Delaware corporation with its principal place of business in New Jersey. Defendant Wyeth-Ayerst Laboratories, Inc., is a Delaware corporation with its principal place of business in Pennsylvania. Defendant Wyeth Laboratories, Inc., is a New York Corporation with its principal place of business in Pennsylvania.
*821 (4) The place where the relationship, if any, between the parties is centered: the place where the four Plaintiffs had Norplant implanted is the place where the relationships between the parties are centered. Plaintiffs in this category all had Norplant implanted in New Jersey.
The only relevant contact favoring Illinois is that Plaintiffs chose to file there. It would appear from simply glancing at these contacts that New Jersey law should apply because New Jersey has the more significant relationship with the occurrence and the parties. Wreglesworth by Wreglesworth, 250 Ill. Dec. 495, 738 N.E.2d at 972 (citations omitted). "That conclusion is reenforced by [a] review of the policies underlying the laws in conflict." Id. (citation omitted). New Jersey's exception to the learned intermediary doctrine for advertising stems from the affect advertising has on patients and the expanding role of patient choice in medicine. Perez, 734 A.2d at 1255-57. The learned intermediary doctrine as applied in Illinois protects pharmaceutical corporations from liability. To the extent that the two policies differ, the application of Illinois' rule would hinder the full realization of the underlying policy in New Jersey, which imposes a duty on drug manufacturers to directly warn consumers.
Taking into consideration New Jersey's and Illinois' respective contacts with the occurrence and the parties, as well as the policies underlying the two states' application of the learned intermediary doctrine, the court concludes that New Jersey has the superior interest in having its law and policies applied. See Kwasniewski v. Schaid, 153 Ill. 2d 550, 180 Ill. Dec. 320, 607 N.E.2d 214, 217 (1992) ("In deciding choice of law questions, Illinois courts will apply the law of the State where the tort occurred unless Illinois has a more significant relationship with the occurrence and with the parties."); Wreglesworth by Wreglesworth, 250 Ill. Dec. 495, 738 N.E.2d at 973 (citations omitted). Here, New Jersey is the state in which each of the four Plaintiffs were allegedly injured, and three out of the four reside in New Jersey. Illinois only matters in that Plaintiffs filed there. Thus, the contacts support New Jersey's stated policies regarding the advertising exception.
Accordingly, the court must apply the law of New Jersey to the cases brought by Plaintiffs Charlene Harris, Deborah Campione, Oneyda Fay, and Dawn Lauterborn. As a result, the instant motion for partial summary judgment regarding the learned intermediary doctrine does not apply to these Plaintiffs' cases. These four Plaintiffs' failure to warn claims remain as to any of the 26 "Adverse Reactions" alleged.

3. Plaintiffs Who Responded Individually To This Motion

Provost &amp;starf; Umphrey and Ness, Motley, Loadholt, Richardson &amp; Poole filed a response to the motion, which the court discussed above. In addition, a handful of Plaintiffs not represented by those firms responded individually. The court will now examine the individual responses to this motion and determine whether the motion applies to each Plaintiff.
Defendants stipulate that their motion for partial summary judgment regarding the learned intermediary doctrine does not pertain to the following Plaintiffs: (1) Penny Robinson; (2) Robert Robinson (both 1:95-CV-5069); (3) Susan Port (1:95-CV-5049); and (4) Barbara Bueno (1:95-CV-5077). See Defs.' Reply at 10-11. These Plaintiffs do not allege any of the 26 "Adverse Reactions."
Defendants argue that the motion should be granted as to Plaintiff Annette Caraveo ("Caraveo") (1:95-CV-5078) to the extent she alleges side effects within the 26 "Adverse Reactions." Plaintiffs' *822 response claims that Caraveo should be exempt from the motion because she complains about myasthenia gravis. Defendants, however, counter that Caraveo's interrogatory answers reveal her injuries to "include headaches, dizziness, pain in arm and tiredness." See Defs.' Reply at 11, Ex. 5. The court finds that such assertions fit within the 26 side effects. Moreover, Caraveo filed her claims in California, which is also where Norplant was implanted. Since California applies the learned intermediary doctrine to actions like Caraveo's, and because Caraveo did not present the court with any evidence that her prescribing healthcare provider did not know about the 26 possible side effects, Defendants' motion applies to the extent Caraveo alleges one or more of the 26 side effects. The motion, however, does not apply to Caraveo's claim for myasthenia gravis.
Plaintiff Brandy L. Linsner ("Linsner") (1:95-CV-5080) responded to Defendants' motion by submitting an unsigned affidavit. Her response states that she was diagnosed with polyarthralgia and exhibits symptoms compatible with fibromyalgia. See Linsner Aff. at unnumbered 2. Linsner also claims that she had Norplant removed because it caused her pain. Id. The court finds that Linsner's unsigned affidavit is not competent summary judgment evidence because it is comprised solely of unsworn statements. Rule 56 of the Federal Rules of Civil Procedure allows parties to submit sworn "affidavits" as evidence in support of and opposing summary judgment. FED. R. CIV. PROC. 56(e). It is well accepted, however, that courts may not consider unsworn statements as evidence in determining the propriety of summary judgment since such statements do not comply with the requirements of Rule 56(e). See Okoye v. Univ. of Tex. Houston Health Sci. Ctr., 245 F.3d 507, 515 (5th Cir.2001) (holding that an unsworn statement was not competent summary judgment evidence because it did not meet the requirements of Rule 56(e)) (citing Nissho-Iwai Am. Corp. v. Kline, 845 F.2d 1300, 1305-07 (5th Cir.1988)); see also Gordon v. Watson, 622 F.2d 120, 123 (5th Cir.1980) (citing Adickes v. S.H. Kress &amp; Co., 398 U.S. 144, 159, 90 S. Ct. 1598, 26 L. Ed. 2d 142 (1970); Piper v. United States, 392 F.2d 462 (5th Cir.1968); Jones v. Menard, 559 F.2d 1282, 1285 n. 5 (5th Cir.1977)). Because Linsner did not present the court with any competent summary judgment evidence showing that her prescribing healthcare provider did not know about the 26 side effects, this motion applies to Linsner to the extent that her claims fit within the 26 side effects. The motion, however, does not apply to Linsner's claims for polyarthralgia and fibromyalgia.
Plaintiff Ingrid Hakala ("Hakala") (1:97-CV-7794) sent a letter to Defendants' counsel, Williams &amp; Connolly, which they forwarded to the court as a response. In her letter, Hakala complains of the Norplant "tubes" moving in her arm and "pressing on a nerve." See Hakala Letter at unnumbered 2. She further states that, as a result of Norplant, she lost feeling in her arm and an infection developed. Id. at 2-3. The court finds that her complaints come within the 26 "Adverse Reactions." The "Adverse Reactions" warn of infection at implant site, pain at the implant site, removal difficulties, and musculoskeletal pain, which virtually match Hakala's complaints. Hakala filed in Illinois and Maryland was the state of implantation, both of which apply the learned intermediary doctrine in cases such as Hakala's. Because Hakala did not present the court with competent evidence showing that her prescribing healthcare provider did not know about the 26 possible side effects, Defendants' motion applies to Plaintiff Ingrid Hakala.
Plaintiff Christa White ("White") (1:99-CV-8945) filed a response letter alleging *823 that Defendants' motion does not apply to her because she complains of rheumatoid arthritis. See White Letter at unnumbered 1. Rheumatoid arthritis is not listed as one of the 26 side effects subject to this motion. Accordingly, this motion does not apply to White's claim of rheumatoid arthritis, but it does apply to White's claims that allege any of the 26 "Adverse Reactions."
Plaintiff Karan Zopatti ("Zopatti") (1:97-CV-7750) filed a response asserting that Defendants' motion does not apply to her because she complains of complications with pre-existing autoimmune disease. See Zopatti Resp. at 2. In their reply, however, Defendants point out that Zopatti describes her injuries caused by Norplant as "`heavy bleeding; absence of bleeding; prolonged bleeding; continued bleeding ... breast discharge; breast enlargement; arm pain at implant site; arm numbness or tingling; fatigue [and] muscle aches.'" Defs.' Reply at 10, Ex. 4. The court finds that the above complaints fall within the 26 "Adverse Reactions." Further, Zopatti filed suit and had Norplant implanted in California; thus, the learned intermediary doctrine applies in her case. Because Zopatti did not present the court with any evidence showing that her prescribing healthcare provider did not know about the possible side effects, the motion applies to Plaintiff Karan Zopatti.

C. ANALYSIS OF SUMMARY JUDGMENT EVIDENCE REGARDING CAUSATION

To overcome the learned intermediary doctrine where it applies, Plaintiffs must demonstrate both of the following: (1) that the product warnings given by the drug manufacturer to healthcare providers are inadequate; and (2) that those inadequate warnings were a producing cause of and/or proximately caused Plaintiffs' subsequent injuries. Porterfield v. Ethicon, Inc., 183 F.3d 464, 468 (5th Cir.1999). For Plaintiffs to prove that the allegedly deficient warnings proximately caused, or, with respect to strict products liability failure to warn claims, were a producing cause of Plaintiffs' injuries, even assuming the warnings are inadequate, Plaintiffs "must show that a proper warning would have changed the decision of the treating physician, i.e. that but for the inadequate warning, the treating physician would not have used or prescribed the product." Willett v. Baxter Int'l, Inc., 929 F.2d 1094, 1099 (5th Cir.1991).
The court must examine the motion to see whether it points out the absence of any genuine issue of material fact. Defendants' contend that the court must grant partial summary judgment regarding the learned intermediary doctrine because there is no evidence showing that the allegedly inadequate warnings on Norplant's physician labeling caused Plaintiffs' subsequent injuries. More specifically, Defendants argue that Plaintiffs' cases fail on the essential element of causation absent proof that each Plaintiff's prescribing healthcare provider was unaware of Norplant's 26 primary side effects when he or she prescribed the drug.
As its summary judgment evidence, Defendants first assert facts about Norplant that they deem "undisputed." They aver that Norplant was studied extensively before it was put on the market. Defs.' Mem. in Supp. of Mot. for Partial Summ. J. re the Learned Intermediary Doctrine/Causation at 3-4. Defendants also state that the FDA approved the physician labeling, which included a list of the 26 "Adverse Reactions" possible from Norplant's use. Id. Following FDA approval of Norplant, Defendants claim they implemented a training program designed to familiarize healthcare practitioners with Norplant. Id. at 4.
Next, Defendants offer the testimony of Anita Nelson, M.D. ("Dr.Nelson"), "a *824 board-certified obstetrician-gynecologist and Associate Professor of Obstetrics and Gynecology at the UCLA School of Medicine," for the proposition that all healthcare providers who counsel women about contraception should be familiar with the 26 side effects listed in Norplant's physician labeling. Id. at 5; Defs.' App. in Supp. of Wyeth's Four Mots. for Partial Summ. J., Volume 1, Tab 34 ¶¶ 1, 20-23. Defendants argue that Dr. Nelson's testimony "demonstrates that [P]laintiffs cannot present" proof that any prescribing physician or healthcare provider was unaware of the 26 side effects. Defs.' Mem. in Supp. of Mot. for Partial Summ. J. re the Learned Intermediary Doctrine/Causation at 8.
Dr. Nelson was aware of the Norplant contraceptive in the late 1980's from the many reports of its "efficacy and safety, which were appearing in the professional journals ...." Defs.' App. in Supp. of Wyeth's Four Mots. for Partial Summ. J., Volume 1, Tab 34 ¶ 8. She had some contact with patients enrolled in a study for Norplant at that time and found the patients were "very positive about the device." Id. at Tab 34 ¶ 8. In January 1991, Dr. Nelson participated in a three day Norplant provider training program at which she was given "extensive information about the constituents of the system, its mechanisms of action, and a detailed description of the side effects seen during the product development and testing worldwide." Id. at Tab 34 ¶ 11. The next month, Dr. Nelson created a course for training physicians and nurse practitioners about Norplant and subsequently trained more than 100 physicians in four-hour sessions over the next six months. Id. at Tab 34 ¶ 12. At those sessions, Dr. Nelson discussed how to select appropriate candidates for Norplant, what the expected side effects were, and any other technical issues about inserting and removing the device. Id. at Tab 34 ¶ 12. Over the following years, Dr. Nelson and her team provided training and hands-on experience to hundreds of other providers, including healthcare providers in the military, in migrant farm worker clinics, in HMOs, and Planned Parenthood clinics. Id. at Tab 34 ¶ 14. Dr. Nelson also observes that "Wyeth has provided extensive training materials to healthcare providers to learn about the Norplant Contraceptive System" throughout the years. Id. at Tab 34 ¶ 17.
Dr. Nelson then advises that Norplant was merely a novel "delivery system," but "the hormone it provided to protect women from unintended pregnancy ... was well known to healthcare providers." Id. at Tab 34 ¶ 18. This synthetic hormone that provides Norplant's only active ingredient is levonorgestrel, which has been used in birth control pills since the 1980's. Id. at Tab 34 ¶ 18. She claims that levonorgestrel's side effects are well known and are "virtually the same as we have seen in all hormonal contraceptive products since birth control pills were first introduced in 1960." Id. at Tab 34 ¶ 18.
Dr. Nelson states that the 26 side effects of Norplant described in the "Adverse Reactions" section of the physician labeling "reflect the experience of thousands of women enrolled in clinical trials around the world." Id. at Tab 34 ¶ 19. Further, over 300 articles were published on Norplant prior to its introduction into the United States market. Id. at Tab 34 ¶ 19. Dr. Nelson concludes that "any obstetrician-gynecologist, family practitioner, or other healthcare provider who as part of his or her regular practice counsels women about contraception would be familiar with the 26 side effects described as Adverse Reactions in the physician labeling."[18]Id. at Tab 34 ¶ 20.
*825 In addition, Dr. Nelson "reviewed portions of the deposition testimony of 34 healthcare providers who have testified in the Norplant litigation." Id. at Tab 34 ¶ 23. After reviewing this testimony, Dr. Nelson was not surprised that all of the providers "state that they were aware of the side effects listed in the Adverse Reactions section of the physician labeling when they prescribed Norplant." Id. at Tab 34 ¶ 23. Dr. Nelson goes further to say that she "would expect every medical professional whose regular practice included contraception counseling to testify to the same effect." Id. at Tab 34 ¶ 23. Defendants suggest to the court that every healthcare provider who has testified in any Norplant case has made clear that they were aware of the possible side effects listed in the "Adverse Reactions" section of the Norplant physician labeling before prescribing the drug to patients. Defs.' Mem. in Supp. of Mot. for Partial Summ. J. re the Learned Intermediary Doctrine/Causation at 11-15. Defendants therefore claim that such warnings were adequate. Based on Dr. Nelson's testimony and the fact that no physician or nurse practitioner has testified that he or she was unaware of Norplant's 26 potential side effects or that he or she would not have recommended Norplant had the physician warnings been different, Defendants contend that partial summary judgment is proper.
The court finds that Dr. Nelson's affidavit and Defendants' auxiliary evidence properly demonstrate that any competent healthcare provider would have been aware of the 26 "Adverse Reactions" listed in the Norplant physician labeling at the time he or she prescribed Norplant. Defendants therefore have met their initial burden to point out the absence of a genuine issue of material fact regarding the element of causation in Plaintiffs' claims. The burden now shifts to Plaintiffs to demonstrate through the production of probative evidence that there remains an issue of fact to be tried. In particular, Plaintiffs must offer summary judgment proof establishing a fact issue with regard to the element of causation. Plaintiffs must show that a different warning about the 26 side effects in the Norplant physician labeling would have changed the decision of the treating healthcare providers who prescribed Norplant. Put another way, Plaintiffs must show that the treating providers would not have prescribed Norplant if the physician labeling had been adequate. Their position is made difficult by the fact that Defendants included the 26 side effects in Norplant's physician labeling. Defendants also adduced reliable evidence suggesting that any healthcare provider who prescribed Norplant would have been aware of the 26 side effects.
Plaintiffs' attempt to obfuscate the intent of Defendants' motion by arguing that an issue of fact remains for the element of causation because Defendants must prove that the "inserting physician was aware of all possible risks involved in the use of Norplant ...." Pls.' Resp. at 2. However, Plaintiffs' assertion is incorrect. The present motion only deals with the 26 side effects listed in Norplant's physician labeling, not "all possible" risks involved with the use of Norplant.
The heart of Plaintiffs' response contends that, contrary to Defendants' assertions, several physicians have testified that there was medical information pertaining to Norplant's risks of which they were unaware at the time of insertion. Id. at 3. Plaintiffs offer the deposition testimony of Dr. Peter DeWet ("Dr.DeWet"), Nurse Bonita Anne George ("Nurse George"), Dr. Harold Maury Tatum ("Dr.Tatum"), Dr. *826 Charles Robert Moses ("Dr.Moses"), Dr. Louis John Kirk ("Dr.Kirk"), and Dr. William Price ("Dr.Price")  all healthcare providers who testified in a Norplant action in Jefferson County, Texas, and allegedly stated they were unaware of some information concerning Norplant's side effects. Plaintiffs maintain that their testimony raises a genuine issue of fact regarding causation because they essentially state that if Defendants had provided them with additional information about Norplant's risks, they would have provided such information to the patients; and that, after receiving the information, if the patients decided they did not want to use Norplant, they would not have inserted the product. Id. at 5. Plaintiffs' contentions will be scrutinized below, however, the court notes that this motion only deals with the prescribing healthcare provider's awareness of the 26 side effects listed in the "Adverse Reactions," not other miscellaneous information regarding Norplant about which providers may have been unaware. Moreover, to defeat summary judgment in this motion, Plaintiffs must show that a different warning regarding the 26 possible side effects would have changed the decision of the treating healthcare provider so that he or she would not have prescribed Norplant.
Having examined the testimony of the above mentioned healthcare practitioners, the court finds that Plaintiffs did not create a fact issue on causation because the evidence fails to show that any of the healthcare providers cited by Plaintiffs were unaware of the 26 side effects listed as "Adverse Reactions." See Defs.' Reply at 3-5. Dr. DeWet nowhere says that he was not aware of the 26 "Adverse Reactions." At most, he admits that he was aware that moodiness could be related to Norplant and the other side effects "possibly" could be as well. Pls.' Resp. Ex. 1 at 47-48. Nurse George indicates that a Norplant counseling booklet did not mention mood swings or depression as possible side effects. However, neither mood swings nor depression are listed as possible "Adverse Reactions" and, furthermore, Nurse George later mentions that she would have prescribed Norplant regardless of her knowledge. Id. Ex. 2 at 119, 122. Nowhere in Dr. Tatum's testimony does he claim that he was unaware of the 26 common side effects at issue. Id. Ex. 3 at 57, 61-62. And Dr. Moses never states that he was not aware of the 26 side effects; rather, he believes Defendants' warnings "adequately advised [his] patient as to what to expect from the use of ... Norplant." Id. Ex. 4 at 61. He does say that the warnings on the physician labeling did not set forth the severity of each side effect; however, whether the healthcare providers were aware of the severity of the side effects before prescribing Norplant is not the issue in this motion. Id. Ex. 4 at 48. The issue is whether a warning was given which notified the physician of each side effect. Likewise, Dr. Kirk does not claim he was unaware of the side effects. In fact, he unequivocally states that he "knew what the side effects were." Id. Ex. 5 at 37. Much like Dr. Kirk, Dr. Price explicitly acknowledges that he was familiar with the side effects listed in the physician labeling provided by Defendants. Id. Ex. 24 at 20-21.
It is clear to the court that Plaintiffs have failed to prove that even a single healthcare provider who prescribed Norplant was not fully aware of the 26 side effects listed as "Adverse Reactions" in the Norplant physician labeling. None of the healthcare providers expressly cited by Plaintiffs state that any additional information regarding the 26 side effects would have altered their decisions to prescribe Norplant. Further, the testimony of these six healthcare practitioners is not directly relevant to this case because there is absolutely *827 no evidence that they prescribed Norplant to any Plaintiff in this suit.[19]
Plaintiffs also issue two collateral attacks on Defendants' motion, both of which were already discussed by this court in its earlier opinion, In re Norplant Contraceptive Prod. Liab. Litig., 955 F. Supp. 700, 703-05 (E.D.Tex.1997), aff'd, 165 F.3d 374 (5th Cir.1999). First, Plaintiffs argue that the learned intermediary doctrine does not apply to Plaintiffs because Defendants engaged in direct-to-consumer marketing. Pls.' Resp. at 20-29. This argument is repetitive and lacks merit in all jurisdictions, except New Jersey. The Fifth Circuit reasoned that "[t]his argument is critically weakened by the absence of any evidence on the record that any of the ... plaintiffs actually saw, let alone relied, on any marketing materials issued to them" by Defendants. In re Norplant Contraceptive Prod. Liab. Litig., 165 F.3d 374, 379 (5th Cir.1999). The same deficiency of evidence is present in the instant cases. Plaintiffs offer no evidence that any single Plaintiff saw Norplant advertising and was influenced by it. Moreover, as evidenced by the law in the Fifth Circuit and every other jurisdiction in the United States, apart from New Jersey, direct-to-consumer advertising does not negate the applicability of the learned intermediary doctrine. As noted, however, those ten Plaintiffs whose cases are governed by the substantive law of New Jersey are exempt from this motion. Perez v. Wyeth Lab. Inc., 161 N.J. 1, 734 A.2d 1245, 1257 (1999).
Second, Plaintiffs contend, in the alternative, that the learned intermediary doctrine only applies to Plaintiffs' failure to warn claims rooted in strict products liability, and not their misrepresentation, fraud, or DTPA claims. Pls.' Resp. at 29-31. The court finds Plaintiffs' argument flawed. This motion applies not only to those Plaintiffs whose cases arise under Texas law, but also to Plaintiffs whose cases arise under the laws of many other jurisdictions. Because the DTPA is the law only in Texas, it does not apply to the majority of Plaintiffs subject to this motion. It appears that this argument in Plaintiffs' response to the instant motion was drawn verbatim from their response to Defendants' motion for summary judgment filed in 1997 relating to the first bellwether trial; nonetheless, the court will address it briefly.
This court, in In re Norplant Contraceptive Prod. Liab. Litig., 955 F. Supp. 700, aff'd, 165 F.3d 374, held that the learned intermediary doctrine applied to the bellwether Plaintiffs' claims of strict liability, negligence, misrepresentation, implied warranty, and those claims brought under the DTPA because "each claim is based upon failure to warn." 955 F. Supp. at 709, aff'd, 165 F.3d at 378. Subsequently, the Fifth Circuit affirmed, distinctly stating that the learned intermediary doctrine applies to claims made under the DTPA. In re Norplant Contraceptive Prod. Liab. Litig., 165 F.3d 374, 378 (5th Cir.1999). Thus, Plaintiffs' argument that the learned intermediary doctrine does not bar their misrepresentation, fraud, or DTPA theories is unavailing; the doctrine applies to all of Plaintiffs' claims premised on Defendants' alleged failure to warn patients *828 about Norplant's possible 26 "Adverse Reactions."
The court concludes that Plaintiffs have not established a fact issue regarding the element of causation. They have not met their burden because they have failed to show that a different warning in the Norplant physician labeling would have changed the decision of the practitioners who prescribed Norplant to these Plaintiffs. The totality of the evidence submitted by both sides indicates that all of the healthcare providers who prescribed Norplant were aware of the 26 common side effects in question when they prescribed it. As a result, the court finds that Defendants are entitled to partial summary judgment on Plaintiffs' failure to warn claims as to the 26 side effects listed as "Adverse Reactions" in Norplant's physician labeling.

D. SUMMARY OF THE COURT'S DECISION ON THIS MOTION

Having concluded that this motion should be granted as to 26 side effects alleged by numerous Plaintiffs, the court will summarize the results of its decision. Overall, Defendants' motion for partial summary judgment regarding the learned intermediary doctrine is GRANTED in part and DENIED in part.
This motion covers all Plaintiffs to the extent they allege any of the 26 primary side effects listed in the "Adverse Reactions" section of Norplant's physician labeling. See, supra, at 800 n. 7 (enumerating the "Adverse Reactions"). Generally, this motion is GRANTED as to those numerous Plaintiffs who claim they suffer any of the 26 "Adverse Reactions." Plaintiffs in this category both filed their cases and had Norplant implanted in jurisdictions other than New Jersey.
Defendants' motion is GRANTED as to those Plaintiffs who filed individual responses merely joining with the overarching response filed by Provost &amp;starf; Umphrey and Ness, Motley, Loadholt, Richardson &amp; Poole. Plaintiffs in this category include all remaining Plaintiffs represented by Parker &amp; Parks, all remaining Plaintiffs represented by Sybil Shainwald, P.C. (of counsel is Allen &amp; Lippes), as well as Plaintiff Jaylee Smith (1:96-CV-5431). Partial summary judgment is also GRANTED against those Plaintiffs who filed their cases in New Jersey, but had Norplant implanted in a different jurisdiction.
Several Plaintiffs not mentioned above filed individual responses to this motion for partial summary judgment: Annette Caraveo, Brandy L. Linsner, Ingrid Hakala, Christa White, and Karan Zopatti. Defendants' motion is GRANTED as to Plaintiffs Annette Caraveo (1:95-CV-5078), Brandy L. Linsner (1:95-CV-5080), and Christa White (1:99-CV-8945) to the extent they allege any of the 26 side effects. Defendants motion is also GRANTED as to both Ingrid Hakala (1:97-CV-7794) and Karan Zopatti (1:97-CV-7750). Hakala and Zopatti do not allege side effects aside from the 26 in question.
The motion is DENIED as to Plaintiffs Penny and Robert Robinson (1:95-CV-5069); Susan Port (1:95-CV-5049); and Barbara Bueno (1:95-CV-5077) by stipulation of the parties. These Plaintiffs do not allege any of the 26 "Adverse Reactions" listed in the Norplant labeling. It is also DENIED with respect to Plaintiffs Rhonda Randazzo and Linda Vitali (1:97-CV-7359); Marie Badame (1:97-CV-7979); Shaunda Taylor and Rebecca Zenguis (1:97-CV-8125); Marva Christie (1:97-CV-8126); Charlene Harris (1:97-CV-7789); and Deborah Campione, Oneyda Fay, and Dawn Lauterborn (1:97-CV-7795) because New Jersey law applies to their cases.
*829 In sum, this motion is GRANTED as to 2,956 Plaintiffs. This number includes all Plaintiffs except the ten who have asserted claims governed by New Jersey law, and the four Plaintiffs with respect to whom this motion is inapplicable by stipulation of the parties.

IV. DEFENDANTS' MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING CONDITIONS FOR WHICH THERE IS NO EVIDENCE OF CAUSATION

A. INTRODUCTION

Defendants' motion for partial summary judgment regarding conditions for which there is no evidence of causation exclusively pertains to all of the 950-odd side effects, or exotic conditions, alleged by Plaintiffs, but not covered in the Norplant physician labeling. See Defs'. Mem. in Supp. of Mot. for Partial Summ. J. re Causation at 1; Defs.' App. in Supp. of Wyeth's Four Mots. for Partial Summ. J., Volume 2, Tab 35 (listing over 950 complained of side effects). The Norplant physician labeling provides warnings for healthcare providers only as to the 26 side effects listed as "Adverse Reactions." The 26 side effects are the subject of the motion for partial summary judgment analyzed directly above. No warnings were given as to the 950 exotic conditions, however, and, thus, the learned intermediary doctrine cannot apply to them. Healthcare providers who have not been sufficiently warned of a drug's harmful effects cannot be considered learned intermediaries. See Hansen v. Baxter Healthcare Corp., 309 Ill.App.3d 869, 243 Ill. Dec. 270, 723 N.E.2d 302, 312 (1999) (citation omitted); see also Porterfield, 183 F.3d at 467-68 (opining that a product manufacturer is excused from warning each patient who receives the product only when the manufacturer properly warns the prescribing physician of the product's dangers). Thus, separate analysis concerning the 950-odd exotic conditions is necessary to determine if partial summary judgment is proper.
Because it is imperative to explain the ramifications of this motion, the court reiterates that this motion only applies to the more than 950 exotic conditions alleged by Plaintiffs. This is not to say that each Plaintiff alleges all of the 950 conditions. The 950 number serves as the total number of exotic conditions alleged when considering all of Plaintiffs' complaints and interrogatory answers as presented to the court by Defendants. Therefore, this motion covers every single condition alleged by every Plaintiff in this litigation, excluding the 26 "Adverse Reactions" dealt with in Defendants' motion for partial summary judgment regarding the learned intermediary doctrine. This motion applies to all Plaintiffs regardless of which jurisdiction's law governs and regardless of the court's ruling on Defendants' motion concerning the learned intermediary doctrine. If the court grants this motion, judgment will be entered in favor of Defendants and against every Plaintiff's claim that asserts any of the exotic conditions.

B. ANALYSIS OF SUMMARY JUDGMENT EVIDENCE REGARDING CAUSATION

Defendants contend that partial summary judgment is proper as to more than 950 exotic conditions because Plaintiffs have not put forth scientifically reliable evidence of general causation. Defendants argue that Plaintiffs have the burden to prove causation as to the exotic conditions because causation is an essential element of their failure to warn claims.[20]
*830 Causation is a fundamental element of Plaintiffs' failure to warn claims, as well as any other tort claim. Habecker v. Copperloy Corp., 893 F.2d 49, 54 (3d Cir.1990) ("Causation is an essential element of a products liability (or any other tort) action."); see also RESTATEMENT (SECOND) OF TORTS § 430 (1965). Defendants claim that to prove causation Plaintiffs must proffer evidence establishing both (1) general causation  that Norplant implants are capable of causing Plaintiffs' alleged exotic conditions or injuries; and (2) specific causation  that Norplant did, in fact, cause each condition in each individual case. Rutigliano v. Valley Bus. Forms, 929 F. Supp. 779, 783 (D.N.J.1996) (citing DeLuca by DeLuca v. Merrell Dow Pharm., Inc., 911 F.2d 941, 958 (3d Cir. 1990) (stating that testimony must be able to support a jury finding both general and specific causation); In re Agent Orange Prod. Liab. Lit., 611 F. Supp. 1223, 1250, aff'd, 818 F.2d 187 (2d Cir.1987) (opining that to prove specific causation, plaintiff's expert must first prove general causation and follow by excluding other possible causes of injury)). The court agrees with Defendants' characterization of causation since the causation requirements in failure to warn claims are similar in all United States jurisdictions.
Thus, Defendants may discharge their burden of demonstrating there is no genuine issue of material fact as to causation by showing an absence of evidence concerning general causation. Celotex Corp. v. Catrett, 477 U.S. 317, 322-23, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986); FED.R.CIV.P. 56(c). In this motion, general causation addresses whether Norplant is capable of causing any of the exotic conditions alleged by Plaintiffs. Rutigliano, 929 F.Supp. at 783.
Evidence of general causation must be provided in the form of expert testimony that satisfies the requirements of Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 113 S. Ct. 2786, 125 L. Ed. 2d 469 (1993) and Rule 702 of the Federal Rules of Evidence. Norplant is a prescription drug and knowledge of its capabilities is based on scientific or other specialized information requiring interpretation by experts in the field. Id. at 589-91, 113 S. Ct. 2786 (reasoning that the trial judge must act as a "gatekeeper" to ensure that all expert testimony or evidence to be heard at trial is not only relevant, but also reliable in cases where essential elements of a plaintiff's case are entirely dependent upon expert testimony); FED.R.EVID. 701 (stating that lay witnesses cannot testify to opinions or inferences based on scientific, technical, or other specialized knowledge within the scope of Rule 702). As Defendants properly point out, "[u]nder Daubert, admissible expert testimony must be based on `scientific knowledge,' that is, knowledge grounded in and based upon the `methods and procedures of science' and `supported by appropriate validation.'" Defs.' Mem. in Supp. of Mot. for Partial Summ. J. re Causation at 3 (citing Daubert, 509 U.S. at 589-90, 113 S. Ct. 2786).
Defendants further specify that epidemiological evidence is the most useful type of expert evidence to prove general causation. Defs.' Mem. in Supp. of Mot. for Partial Summ. J. re Causation at 4 (citing Brock v. Merrell Dow Pharm., Inc., 874 F.2d 307, 311 (5th Cir.1989); Allen v. Penn. Eng'g Corp., 102 F.3d 194, 197 (5th Cir.1996)). They believe this court has previously emphasized the importance of epidemiological evidence to prove that pharmaceutical products cause the conditions attributed to them. Id. at 5. In fact, this court has acknowledged the importance of epidemiological evidence that is "statistically significant" in providing a scientific basis for causation in the Norplant litigation. Before the court granted summary judgment against the five bellwether *831 Plaintiffs, the court granted Defendants' motion in limine to bar the bellwether Plaintiffs' argument that Norplant caused mood changes at a rate ten times higher than the incidence of mood changes in IUD users because there was no "statistically significant" epidemiological evidence to support their argument. See Order Granting Defs.' Mot. in Limine to Bar Argument that the Incidence of Mood Changes was Ten Times Higher in Norplant Users Compared to IUD Users (Feb. 20, 1997). The court explained that "[e]pidemiological data that is not `statistically significant' cannot provide a scientific basis for an opinion on causation." Id. at 2 (citing Allen v. Penn. Eng'g Corp., 102 F.3d 194, 197); see also Defs.' App. in Supp. of Wyeth's Four Mots. for Partial Summ. J., Volume 1, Tab 33 ¶¶ 6, 8 (outlining the importance of statistically significant epidemiological data in determining general causation). Therefore, the court will extend its former statement on epidemiological evidence to each of the exotic conditions put forth by Plaintiffs.[21]
To prove the absence of evidence on general causation, Defendants offer the affidavit of Dr. Stephen Heartwell ("Dr.Heartwell"), an epidemiologist who serves as associate professor and Director of the Division of Maternal Health and Family Planning in the Department of Obstetrics and Gynecology at the University of Texas Southwestern Medical School. Id. at 6-7; Defs.' App. in Supp. of Wyeth's Four Mots. for Partial Summ. J., Volume 1, Tab 33. Dr. Heartwell states that there is no scientifically reliable evidence establishing that Norplant causes the exotic conditions or any conditions not listed on the physician labeling. Defs.' Mem. in Supp. of Mot. for Partial Summ. J. re Causation 6; Defs.' App. in Supp. of Wyeth's Four Mots. for Partial Summ. J., Volume 1, Tab 33 ¶ 13. He bases his statements on scientific data obtained during the Phase III Norplant clinical trials and a review of the medical literature relied on by Plaintiffs' experts in this litigation. Defs.' App. in Supp. of Wyeth's Four Mots. for Partial Summ. J., Volume 1, Tab 33 ¶ 13.
Phase III clinical trials generally are "intended to determine the safety and efficacy of a pharmaceutical product" in preparation for a New Drug Application filed with the FDA. Id. at Tab 33 ¶ 4, 5. "In a clinical trial, a control group is used as a basis for comparing the experiences of users of the product (the study group) with those who are not users of the product." Id. at Tab 33 ¶ 5. Dr. Heartwell reports that "[b]y using a control group, researchers are able to determine generally whether adverse events occur more frequently, less frequently, or with the same frequency in the study group (product users) as in ... similar persons not using the product." Id. at Tab 33 ¶ 5. "Researchers also use tests of statistical significance to determine whether observed differences may be due to chance." Id. at Tab 33 ¶ 6. "If a statistically significant difference is not observed between the study group and the control group with respect to a particular adverse effect, the clinical trial provides no scientific evidence that the product is related to the adverse effect." Id. at Tab 33 ¶ 8 (emphasis added).
The Norplant Phase III clinical trials consisted of two studies using control groups, including more than 2,400 women who used the Norplant implant device. Id. at Tab 33 ¶ 9. In these trials, the control *832 group involved women using a Copper-T Intrauterine Contraceptive Device ("IUD") for birth control. Id. at Tab 33 ¶ 9. The results of the Norplant Phase III clinical trials showed that, "[a]part from bleeding irregularities, the only conditions as to which a statistically significant increase in reporting was observed among women using Norplant" in contrast "to women using the Copper-T IUD were headache, nervousness, changes in appetite, weight gain, dermatitis, acne, nausea, mastalgia (breast tenderness), ovarian enlargement, diseases of the hair, and dizziness"  all of which are enumerated as potential "Adverse Reactions" in the Norplant physician labeling. Id. at Tab 33 ¶ 10. Dr. Heartwell believes that the Norplant Phase III clinical findings "did not show a statistically significant association between Norplant use and any of the [exotic] side effects ...." Id. at Tab 33 ¶ 11.
Dr. Heartwell also discusses his review of the medical literature relied on by Plaintiffs' experts in the instant litigation. He declares that "[n]one of these articles report any controlled epidemiological studies that show a statistically significant association between Norplant use and any of the [exotic] side effects ... or an increased risk of any of the [exotic] side effects ... in women using Norplant or in Norplant users compared to any control group." Id. at Tab 33 ¶ 12.
Based on the scientific data gleaned from the Norplant Phase III clinical trials, coupled with a review of the medical literature relied on by Plaintiffs' experts, Dr. Heartwell concludes that there is "no reliable scientific evidence that Norplant can cause any of the [exotic] side effects ..., or even that Norplant creates an increased risk of these conditions." Id. at Tab 33 ¶ 13. Thus, the court finds that Defendants have met their initial burden to point out the absence of a genuine issue of material fact regarding the element of causation in Plaintiffs' claims regarding the exotic conditions. The burden now shifts to Plaintiffs to demonstrate through the production of probative evidence that there remains an issue of fact to be tried. In particular, Plaintiffs must offer summary judgment proof establishing a fact issue with regard to general causation. They must adduce affirmative evidence that an allegedly defective drug is capable of causing the complained-of conditions. See Fontenot v. Upjohn Co., 780 F.2d 1190, 1196 (5th Cir.1986).
Instead of producing expert testimony, however, Plaintiffs argue that Defendants filed their motion prematurely because no discovery has been conducted other than the preliminary interrogatories, which do not request information concerning specific scientific causation. Plaintiffs' argument is not well taken: "[a] claim that further discovery ... might reveal facts which the plaintiff is currently unaware of is insufficient to defeat" a motion for summary judgment. Washington v. Armstrong World Indus., Inc., 839 F.2d 1121, 1123 (5th Cir.1988) (citing Woods v. Fed. Home Loan Bank Bd., 826 F.2d 1400, 1414-15 (5th Cir.1987)); Fontenot, 780 F.2d at 1195-96 (noting that conclusory allegations do not suffice when no evidence supports them) (emphasis added). Plaintiffs have not submitted affidavits under Rule 56(f) stating any reasons why they are unable to meet their burden of proof in response to this motion for partial summary judgment. FED.R.CIV.P. 56(f). Furthermore, Plaintiffs have had ample time in the three years since this motion was filed to engage in discovery on general and/or specific causation. Plaintiffs have not been prohibited from engaging in such discovery.
Plaintiffs also argue that Daubert does not apply to this motion because they have the right to offer their own lay testimony regarding the injuries and damages they *833 allegedly received as a result of using Norplant. Pls.' Resp. at 2-3. They specifically contend that Daubert is only applicable to expert testimony and Plaintiffs are not experts, but they will offer their own testimony as to the injuries caused by Norplant. Id. In essence, Plaintiffs believe that Defendants are merely seeking to limit Plaintiffs' right to testify about their specific conditions and injuries  i.e., about specific causation. However, Defendants' motion for partial summary judgment regarding causation attacks Plaintiffs' dearth of evidence on "general" causation, not specific causation. The threshold issue on causation is general causation, which requires expert testimony, not personal and specific testimony as to each claim. Rutigliano, 929 F. Supp. 779, 783 (D.N.J.1996) (citing In re Agent Orange Prod. Liab. Lit., 611 F. Supp. 1223, 1250 (E.D.N.Y. 1985) (commenting that the plaintiff's expert must prove general causation before proving specific causation)) (citation omitted); see also Allison v. McGhan Med. Corp., 184 F.3d 1300, 1320 (11th Cir.1999). Further, Defendants agree that Plaintiffs have a right to testify about their specific ailments, but correctly assert that Plaintiffs themselves are not qualified to testify about whether Norplant is capable of causing the exotic conditions. Defs.' Reply at 3. Plaintiffs instead must adduce expert testimony, preferably in the form of epidemiological data, to establish general causation in this litigation. They have failed to do so.
Notably, in the three years since Defendants filed this motion for partial summary judgment, Plaintiffs have not produced a shred of evidence or expert testimony that supports an association between Norplant and any of the exotic conditions. When, as here, the moving party has carried its burden under Rule 56(c), its opponent must present more than a metaphysical doubt about the material facts. Washington, 839 F.2d at 1123 (citing Matsushita Elec. Indus. Co. Ltd. v. Zenith Radio Corp., 475 U.S. 574, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986)). Plaintiffs' negligible arguments, however, do nothing more than convey a metaphysical doubt about the material facts, if even accomplishing that. Defendants' motion for partial summary judgment, along with Dr. Heartwell's affidavit, gave Plaintiffs ample opportunity to present expert testimony demonstrating that some scientific data supports a causal association between Norplant and the exotic conditions, but Plaintiffs have failed to offer any such evidence in response. As a result, the court finds that Defendants are entitled to partial summary judgment on Plaintiffs' failure to warn claims as to the more than 950 exotic conditions alleged.

C. SUMMARY OF THE COURT'S DECISION ON THIS MOTION

Defendants' motion for partial summary judgment on conditions for which there is no evidence of causation is therefore GRANTED. The motion covers every Plaintiff who alleges that Norplant produced any side effect not among the 26 listed in Norplant's labeling as "Adverse Reactions."

V. CONCLUSION

A. DEFENDANTS' MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING THE LEARNED INTERMEDIARY DOCTRINE

After reviewing the evidence on record, the court concludes that, when viewed in the light most favorable to Plaintiffs, the summary judgment evidence supports the finding that there are no genuine issues of material fact regarding the element of causation in Plaintiffs' failure to warn claims to the extent Plaintiffs assert any of the 26 side effects itemized as "Adverse Reactions" in the Norplant physician labeling. The court finds that the learned intermediary doctrine applies in all cases not governed by New Jersey substantive *834 law. Plaintiffs have failed to produce evidence overcoming the doctrine in that they do not show that the purportedly inadequate warnings on Norplant's labeling were either a producing cause of and/or proximately caused Plaintiffs subsequent injuries. Nor do they proffer evidence confirming that any of Plaintiffs' treating healthcare providers would not have prescribed Norplant had the labeling been different. Defendants, however, provide the affidavit of Dr. Anita Nelson, which establishes that the healthcare providers who prescribed Norplant were aware of the 26 "Adverse Reactions." Therefore, "Wyeth's Motion For Partial Summary Judgment Re The Learned Intermediary Doctrine/Causation" is hereby GRANTED in part and DENIED in part.
Unless specified below, this motion is GRANTED as to all Plaintiffs who claim they suffer any of the 26 "Adverse Reactions," including Plaintiffs who filed suit and had Norplant implanted in jurisdictions other than New Jersey; Plaintiffs who filed suit in New Jersey, but had Norplant implanted in a different jurisdiction; and Plaintiffs who filed individual responses joining with the response filed by Provost Umphrey and Ness, Motley, Loadholt, Richardson &amp; Poole.
Moreover, Defendants' motion is GRANTED as to Plaintiffs Annette Caraveo (1:95-CV-5078), Brandy L. Linsner (1:95-CV-5080), and Christa White (1:99-CV-8945) to the extent they allege any of the 26 side effects. It is also GRANTED as to both Ingrid Hakala (1:97-CV-7794) and Karan Zopatti (1:97-CV-7750) because they complain only of side effects enumerated as "Adverse Reactions."
Defendants' motion is DENIED as to Plaintiffs Penny and Robert Robinson (1:95-CV-5069), Susan Port (1:95-CV-5049), and Barbara Bueno (1:95-CV-5077) by stipulation of the parties because none of these Plaintiffs alleged any of the 26 "Adverse Reactions." The motion is also DENIED with respect to Plaintiffs Rhonda Randazzo and Linda Vitali (1:97-CV-7359); Marie Badame (1:97-CV-7979); Shaunda Taylor and Rebecca Zenguis (1:97-CV-8125); Marva Christie (1:97-CV-8126); Charlene Harris (1:97-CV-7789); and Deborah Campione, Oneyda Fay, and Dawn Lauterborn (1:97-CV-7795) because New Jersey law applies to their cases.

B. DEFENDANTS' MOTION FOR PARTIAL SUMMARY JUDGMENT REGARDING CONDITIONS FOR WHICH THERE IS NO EVIDENCE OF CAUSATION

The court further concludes that, when viewed in the light most favorable to Plaintiffs, the summary judgment evidence supports the finding that there are no genuine issues of material fact regarding the element of causation in Plaintiffs' failure to warn claims to the extent Plaintiffs assert any of the side effects beyond the 26 "Adverse Reactions." This motion does not rely on the learned intermediary doctrine. In this motion, Plaintiffs, who have the burden of proof at trial and must come forward in response to a motion for partial summary judgment with some evidence on each element of their claims, submit no expert testimony on general causation. Defendants, on the other hand, advance the affidavit of Dr. Stephen Heartwell, which shows there is no scientifically reliable evidence establishing that Norplant causes any of the exotic conditions. Because there remains no issue of fact to be tried, "Wyeth's Motion For Partial Summary Judgment Re Conditions For Which There Is No Evidence Of Causation" is hereby GRANTED as to all Plaintiffs' claims in this litigation that assert any of the exotic conditions.[22]


*835 C. RAMIFICATIONS OF THE COURT'S RULINGS THE CLOSE OF MDL NO. 1038

By granting these two motions for partial summary judgment simultaneously, the court terminates nearly all remaining non-settling Plaintiffs and their claims in the Norplant multidistrict litigation proceedings. In fact, the court grants summary judgment in favor of Defendants and against 2,960 Plaintiffs in 710 cases, as listed in the attached Appendix A. The few Plaintiffs persisting in the wake of these motions are those who maintain claims that survive the motion for partial summary judgment regarding the learned intermediary doctrine because New Jersey law governs. Of those ten Plaintiffs, their six cases endure only to the extent they assert any of the 26 "Adverse Reactions." Judgment will be entered in favor of Defendants with respect to every other claim in this litigation.
The court's ruling on these two motions for partial summary judgment therefore completes the centralized pretrial proceedings pertaining to Multidistrict Litigation number 1038 ("MDL No. 1038"). See In re Dept. of Energy Stripper Well Exemption Litig., 472 F. Supp. 1282 (J.P.M.L. 1979). All but ten Plaintiffs are terminated from the litigation by judgment of this court. In re Asbestos Litig., 7 F. Supp. 2d 93, 95 (D.Mass.1998) (citing R. MULTIDIST. LIT. 14, now 7.6 ("Actions terminated in the transferee district court by valid judgment, including ... summary judgment, ... shall not be remanded by the Panel and shall be dismissed by the transferee district court.")); 28 U.S.C. § 1407(a). Thus, in accordance with 28 U.S.C. § 1407(a) and Rule 7.6 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation, the court suggests that the Judicial Panel on Multidistrict Litigation remand the cases of the ten remaining Plaintiffs to their respective transferor districts because "`pretrial proceedings [for all Plaintiffs] have run their course.'" In re Asbestos Litig., 7 F.Supp.2d at 94 (citing Lexecon Inc. v. Milberg Weiss, 523 U.S. 26, 118 S. Ct. 956, 962, 140 L. Ed. 2d 62 (1998)); 28 U.S.C. § 1407(a) ("Each action ... transferred shall be remanded by the panel at or before the conclusion of ... pretrial proceedings to the district from which it was transferred unless it shall have been previously terminated."). Listed below are the names of the remaining ten Plaintiffs, their assigned MDL No. 1038 case numbers, and the district courts and divisions from which they were transferred:
(1) Plaintiffs Rhonda Randazzo and Linda Vitali (1:97-CV-7359) were transferred from the Southern District of New York, New York Division;
(2) Plaintiff Marie Badame (1:97-CV-7979) was transferred from the Southern District of New York, White Plains Division;
(3) Plaintiffs Shaunda Taylor and Rebecca Zenguis (1:97-CV-8125) were also transferred from the Southern District of New York, White Plains Division;
(4) Plaintiff Marva Christie (1:97-CV-8126) was transferred from the Southern District of New York, White Plains Division;
(5) Plaintiff Charlene Harris (1:97-CV-7789) was transferred from the Northern District of Illinois, Eastern Division; and
*836 (6) Plaintiffs Deborah R. Campione, Oneyda Fay, and Dawn Lauterborn (1:97-CV-7795) were also transferred from the Northern District of Illinois, Eastern Division.
The court recommends that the Judicial Panel on Multidistrict Litigation remand these cases to the aforesaid districts with instructions to apply New Jersey substantive law to Plaintiffs' remaining claims. It is so ORDERED.

APPENDIX A

Case
Number        Plaintiffs
1:94cv5001    Lisa Skinner
1:94cv5002    Roseanne Mitchell
1:94cv5005    Susan Williams
1:94cv5008    Deadra Lillie
              Randy Lillie
1:94cv5009    Robin Malain
1:94cv5012    Del Baird
1:94cv5013    Lynette Vogel
1:94cv5015    Cathy Bernish
1:94cv5017    Christina Horner
              Jane Doe
              Bonnie Abbot
              Elva Gutierrez
              Jane Doe
1:94cv5026    Jennifer Khuu
1:94cv5028    Earserlene Smith
1:94cv5029    Melissa Wilkerson
1:94cv5032    Lydia Oliver
1:95cv5045    Patricia Herron
1:95cv5048    Denise Hobbs
              Hazel Cox
              Shelly Martin
              Juliette Davis
1:95cv5049    Susan Port
1:95cv5057    Jewel Cannon
1:95cv5058    Linda Millette
              Particia Pledger
1:95cv5063    Barbara Morrison
1:95cv5069    Penny Robinson
              Robert Robinson
1:95cv5071    Linda Anderson
              Ladonna Dark
1:95cv5072    Tonya Redding
1:95cv5077    Barbara Bueno
1:95cv5078    Annette Caraveo
1:95cv5080    Brandy Linsner
1:95cv5081    Tammy Binet
1:95cv5087    Sam Robins
              Dana Robins
1:95cv5089    Jerri Ware
              James Ware
1:95cv5092    Patricia Matson
1:95cv5093    Latrice Lee
              Marlissa Locke
1:95cv5098    Yara Allen
              Ginger Alliss
              Shawnnee Booth
              Antonietta Capocasa
              Stacy Carter
              Serese Gilbert
              Nickiey Kochell
              Debbie Lade
              Janet Lindsey
              Kim Mikel
              Jeannie Miller
              Cindy Moreman


*837
              Lora Nelson
              Eileen Weber
1:95cv5106    Rosalyn Mattingly
1:95cv5111    Nicole Peterson
1:95cv5115    Lisa Rioux
1:95cv5128    Nancy Garza
1:95cv5148    Amanda Mungia
1:95cv5155    Mary Hagee
1:95cv5160    Mary Brown
              Melissa Brown
1:95cv5166    Angela Coble
              Melody Harvey
              Rebecca House
1:95cv5172    Tessa Campbell
              Jamie Campbell
1:95cv5173    Joan Armstrong
              Daniel Becnel, Jr
1:95cv5174    Crystal Elam
1:95cv5175    Tracy Gonzales
              Jessica Gonzalez
              Elizabeth Gonzalez
              Gudelia Gutierrez
1:95cv5176    Angela Ryals
1:95cv5177    Esther Salinas
1:95cv5179    Cindy Henderson
              Graciela Hernandez
1:95cv5182    Daniel Becnel, Jr
1:95cv5184    Mitzie Hubert
              Tina Hughes
1:95cv5187    Janice Griffin
1:95cv5198    Kelley Jackson
1:95cv5199    Alasha Fowler
1:95cv5200    Christina Dehnel
1:95cv5204    Teresha Collins
1:95cv5208    Ivory Celestine
1:95cv5212    Jacquelin Branch
1:95cv5213    Vicky Belvin
1:95cv5216    Mechelle Caldwell
1:95cv5220    Ramona Avalos
1:95cv5225    Michelle Mouton
1:95cv5226    Franchell Whitefield
1:95cv5227    Kimberline Williams
              Traci Williams
1:95cv5228    Ta-Ta Wilson
1:95cv5229    Lisa Wooten
1:95cv5233    Lisa Waites
1:95cv5239    Dawana Thomas
1:95cv5241    Anita Richardson
              Marietta Riddel
1:95cv5248    Judy Seay
1:95cv5249    Paula Scott
1:95cv5260    Emilia Medrano
1:95cv5261    Suzi Renshaw
1:95cv5262    Mia Reed
              Virginia Reyes
1:95cv5269    Lee Ann Phipps
1:95cv5270    Quinta Moore
1:95cv5274    Robin Leveston
1:95cv5275    Arienna Adams
1:95cv5279    Autumn Powell
1:95cv5284    Michelle Naranjo
              Sandra Nava
1:95cv5301    Yen Phan
1:95cv5319    Rosalind Barthelemy
              Gary Barthelemy
              Nekitha Tyler
              Edna Williamson
1:95cv5320    Shamar Carpenter
1:95cv5323    Jenny Sauceda
              Carlos Sauceda
1:95cv5325    Hong Huynh
1:95cv5327    Cindy Price
              Laura Riley
              Ronda Hampton
              Penny Burchett
              Tammy Limings
1:95cv5332    Amber Carr
              Brenda Miller
1:95cv5334    Veronica Anderson
1:95cv5335    Elizabeth Brownfield
              Stephanie Feinman
1:95cv5339    Renee Nolasco
              Tressa Rickard
              Sophia Rivera
              Felipe Rivera
              Nisa Stevens
              Lynnae' Thompson
              Debra Walker
              Becky Weeks
              Gregory Weeks
1:95cv5340    Zilke Lewis
1:95cv5341    Clemente Zamora
1:95cv5359    Angela Erbes
1:95cv5360    Kimberly Beverage
1:95cv5361    Malena Medina
1:95cv5364    Tiffany Walker
1:95cv5366    Cynthia Rodriguez
1:95cv5369    April Montague
1:96cv5384    Angela Garland
1:96cv5385    Monica Glenn
1:96cv5388    Amanda Smith
1:96cv5396    Kimberly Davis
              Michelle Meyer
              Mark Meyer
              Annette Rivera
              Michael Rivera
              Sonya Rogers
              Dorothy Toney
              Damien Toney
1:96cv5397    Tracy Vollenweidner
              Steven Vollenweidner
1:96cv5401    Timmy Ammons
1:96cv5410    Kimberly Weeks
              Shurma Herrington
              Jeannine Jones
              Pamela Wipff
1:96cv5414    Latorrie Baines
1:96cv5424    Latasha Allen
              Mattie Allen
              Troy Allen
              Alodie Bab
              Roger Bouffe, II


*838
              Latonia Brisco
              Yolanda Brisco
              Howard Buckner
              Jasmine Buckner
              Bertha Christoph
              Shawanda Ferrell
              Dwayne Johnson
              Xiomara Ramos
              Olivia Richardson
              Rose Smith
1:96cv5431    Jaylee Smith
1:96cv5433    LaTonya Elloie
              Steven Elloie
1:96cv5434    Barbara Miller
              Johnny Miller, III
              Subeana Ducros
              Lakeisha Howard
1:96cv5437    Michelle Pretel
1:96cv5447    Gina Trampusch
              Peter Trampusch
1:96cv5452    Louise Martinez
1:96cv5458    Shelly Schafer
              Tracy Portis
1:96cv5459    Alicia Williams
1:96cv5460    Marcy Behrendt
              Mathew Behrendt
1:96cv5468    Sonya Walker
1:96cv5476    Shelly Ming
1:96cv5483    Aurelia Bautista
              Alicia Carcione
              Mary Delgado
              Lynn Dempsey
              Maria Hinojosa
1:96cv5490    Melissa Kennedy
1:96cv5492    Barbara Godwin
1:96cv5496    Velma Hollingshed
1:96cv5499    Wendy Sanders
1:96cv5505    Rachelle Risley
              Ana Rodriguez
1:96cv5521    Dawn Beaty
1:96cv5523    Nina Dickerson
1:96cv5532    Delores Hernandez
1:96cv5535    Cherryl Williams
1:96cv5542    Sofia Sanchez
1:96cv5543    Angelique Freeman
1:96cv5544    Dana Stedham
              Lillian Acuna
              Ana Paredes
              Monica Harris
              Dolores Pon
              Stacy Sanchez
1:96cv5545    Susana Cuellar
              Michelle Mendoza
              Joe Mendoza
              Cecilia Vargas
              Julain Pecian
              Cynthia Vela
1:96cv5547    Mekisha Walker
              Marion Winsier
1:96cv5548    Sundon Lewis
              Derrick Lewis
              Lisa McClelland
              Shayne McClelland
1:96cv5549    Evelyn Leyba
              Richard Rodriquez
              Maria Lozano
              Tina Rodriquez
1:96cv5550    Alma Aguilar-Greenwood
              Steven Greenwood
              Victoria Emerson
              Paulakai Furgerson
              Barry Furgerson
1:96cv5552    Bonnie Garcia
              Victoria Hansen
1:96cv5553    Penny Gonzales
              Douglas Gonzales, Jr.
              Virginia Hammond
              Jeremy Hammond
1:96cv5556    Kimberly Richard
1:96cv5557    Diana Pritchett
              Curtis Pritchett
              Lanisha Smith
1:96cv5558    Kimberly Hobbs
              Ricky Hobbs
              Marilyn McWilliams
              Oram McGee
              Bethany Meade
              Sister-Sherry Odom
1:96cv5561    Flor Ayala
              Cassandra Carter
1:96cv5563    Pamela Peek
              Ines Rivera
              Jose Guillen
1:96cv5564    Juanita Lowe
              James Lowe
1:96cv5565    Rose Brown-Leonard
              Robert Leonard
              Stacie Green
              Kevin Green
1:96cv5569    Lashondra Johnson
1:96cv5571    Lashonda Ingram
              Shyhonda Turner
              Danita LaFrance
              Shannon Samson
              Nyia Williams
              Gail Stockman
              Nekitha Tyler
              Shawn Pansy
              C'lester Jackson, Jr.
              C'lester Jackson, III
              Christian Jackson
              Valarie Gubert
              Lark Heston
              Arionna Ducre
              Jamika Wynder
              Jalissa Wynder
              Johnny Hicks
1:96cv5572    Delisa Grant
              Lisa Johnson
1:96cv5573    Roni Huerepue
              Deborah Martin
              Tammy Medina


*839
              Lisa Munoz
              Yolanda Lazareno
              Antoinette Neyuenshwander
              Elaine Olibas
              Sharon Padilla
              Jennifer Parra
              Veanna Pitts
              Diana Rodriguez
              Laura Rowser
              Maile Saavedra
1:96cv5574    Olga Velasquez
              Teresa Womack
1:96cv5578    Perline Williams
1:96cv5579    Lisa Moore
1:96cv5580    Kathleen Schenck
              Tonette Smith
              Rebecca Williams
1:96cv5582    Jennifer Neill
              Elizabeth Ray
1:96cv5585    Zoe Merlos-Tooker
              Alexander Merlos
1:96cv5586    Dody Shelton
1:96cv5587    Tammie King
              James King, Jr.
              Deborah Williams-Bailey
1:96cv5589    Diana Land
              Michael Land
1:96cv5590    Martha Garza
              Luis Garza
1:96cv5591    Kara Davis
              John Davis
              Greta Williams
              Prennis Williams
1:96cv5592    Deana Magelors
              Bridget Moody
              Hanga Moody
              Judy Sutton
1:96cv5597    Shannon Hardin
              Michelle Howard
              Jeffrey Howard
1:96cv5598    Cathilene Hoffman
              Edward Hoffman
              Brenda Pickens
1:96cv5602    Trudy Bellaire
1:96cv5603    Paula Hooper
              Willie Jeff
              Gwendolyn Jefferson
              Jamie King
              Wendy Langley
              Kenneth Lott
1:96cv5604    Rutina Buckner
1:96cv5607    Rebecca Welch
              Ashton Welch
1:96cv5608    Maria Ramon
              Kimberly Waldrip
              Johnny Waldrip
1:96cv5609    Christin Contie
              Paul Contie
              Sadie Muniz
              Fernando Muniz
1:96cv5610    Lilian Ayala
              Ruben Ayala
1:96cv5611    Kathy Johnson
1:96cv5612    Carletta Angelly
              James Angelly
1:96cv5632    Shelby Bartholomew
              K. Smith
1:96cv5645    Jocelyn Garcia
              Pedro Garcia
1:96cv5676    Teresa Haley
1:96cv5697    Cherr-ree Hagans
1:96cv5703    Kathy Sain
1:96cv5708    Melissa Proctor
              Tina Mills
1:96cv5731    Dawn Deibele
1:96cv5736    Jodi Pearson
              Julie Pemberton
              Gwen Pigeon
1:96cv5737    Deanna Papineau
1:96cv5741    Joanna Klinkbeil
1:96cv5744    Lisa Alexander
1:96cv5746    Crystle Coburn
1:96cv5750    Debra Jones
1:96cv5752    Marcus Davis
              Irandesha Davis
              Karla Williams
              Kendall Williams
              Quinnika Williams
              Shannon Evans
              Janelle Evans
              Shanelle Evans
              Danielle Evans
              Gaylon Gilbert
1:96cv5762    La'Shon Willis
1:96cv5765    Carrie Gandolph
1:96cv5784    Yen Vu
1:96cv5785    Rebecca Dwyer
1:96cv5786    Brenda Ezell
1:96cv5787    Jacqueline Reese
1:96cv5799    Jennifer Armstrong
1:96cv5801    Shannon Cooke
              Sherry Cooke
1:96cv5821    Kim Comer
1:96cv5824    Brandie Carnes
              Tonya Walker
1:96cv5825    Pamela Thomas
1:96cv5839    Sabrina Odom
1:96cv5842    Rebecca Wernli
1:96cv5867    Pam Griffin
              Matthew Griffin
1:96cv5870    Cheryl Jackson
1:96cv5876    Tonia Pouncey
1:96cv5882    Davika Lakhram
1:96cv5883    Tamara Cummings
1:96cv5884    Kay Smith
1:96cv5886    Ronda Vogel
1:96cv5892    Lavelle Velez
1:96cv5896    Emily Morrison
1:96cv5912    Camille Hines
1:96cv5916    Melanie Goodman
1:96cv5918    Ilia Santini
1:96cv5922    Jacqueline Moore


*840
1:96cv5982    Nancy Kummer
              Jilletta Wright
              Tara Clayton
              Milly Giles
1:96cv5984    Leicole Henderson
1:96cv5985    Dawn Shoenen
              Marcia Anthony
              Aisha McGuire
1:96cv5986    Sonya Collins
              Wendy Fruechtenicht
              Detra Bryant
              Pamela Brown
              Cheryl Little
              Keisha Brown
              Krystal McAtee
              Rebecca Miller
              Heather Stahl
              Michelle Andrews
              Tracy Bratcher
              Kimberly White
              Mary Reardon
              Lisa Hughes
              Rebecca Wiegand
              Carmenlita Smith
              Nedra Blue
              Yolanda Duke
              Mona Hayes
              Melanie Cummins
1:96cv5987    Tara Rogers
              Nicole Atkins
              Cynthia Repine
              Kimberly Beauchamp
              Stacy Lewis
              Melissa Collins
              Rebecca Brown
              Jennifer McClintock
              Rebecca Stotts
              Tammy Howell
              Jayne Burris
              Mary Troupe
              Debran Scott
              Cindy Blanton
              Vicky Leppert
              Malisica Byrd
              Shannon Ludwick
              Julia Hilligross
              Paula Abell
1:96cv5991    Charlotte Schoenagel
1:96cv5993    Kera Holton
1:96cv5994    Kathleen Davis
1:96cv5995    Michele Slaughter
1:96cv5996    Jennifer Schieb
              Deanna Jonas
1:96cv5997    Darcy Webb
1:96cv6034    Hillary Smith
              Viola Buckner
1:96cv6035    Claudia Garcia
1:96cv6037    Tracie Brown
              Nora Elkarany
              Nicole Peterson
1:96cv6045    Annette Flanagan
1:96cv6048    Kimberly McAdams
1:96cv6051    Selena Robles
1:96cv6053    Bernadine Washington
1:96cv6058    Charema Carson
1:96cv6063    Stephanie Harmon
1:96cv6070    Michelle Miller
              Jenifer Oliva
1:96cv6081    Bernekia Stanford
1:96cv6084    Mary Taylor
1:96cv6098    Kimberly Lum
1:96cv6107    Lisa Burgess
1:96cv6112    Summer Gilson
1:96cv6113    LaOllie Taylor
1:96cv6122    Margaret Murphy
1:96cv6132    Tammi Medders
1:96cv6136    Annette Jernigan
1:96cv6145    Melinda Botto
1:96cv6158    Darnie Hibbler
1:96cv6161    Karen Johnson
1:96cv6162    Monica Williams
1:96cv6166    Tina Moore
              Fiesta Murphy
              Shala Perry
1:96cv6167    Vera Mineard
1:96cv6171    Kathy Kuzma
              Melinda Lovaglio
1:96cv6172    Trina Irwin
              Tommiesina Johnson
1:96cv6174    Susan Duet
1:96cv6175    Alicia Chisholm
1:96cv6176    Nicho Bolden
1:96cv6186    Cathy Hutchinson
1:96cv6200    Angela Sanford
1:96cv6205    Raquel Brown
1:96cv6223    Iva Whitlock
              Vernoica Boyles
              Ollie Williams
              Vanessa Norwood
              Loyce Barclay
              Veronica Barrientos
              Cyndi Briggs
              Jennifer Bird
              Irence Ayala
              Taghreed Awad
              Michelle Washington
              Gwendolyn Smith
              Rachel Stuart
              Sherry Clifford
              Amy Beers
              Lisa Northcutt
              Sandra Cox
              Vickie Alley
              Cammi Green
              Lucy Nipp
1:96cv6224    Fabianne Nunn
              Maria Trejo
              Kimberly Martin
              Janice Peirce
              Misty Lawrence
              Debra Johnson
              Lessie Rogers-Brown


*841
              Tammy Buckley
              Felicia Willis
              Tara Stengel
              Tonya Wallace
              Toni Perry
              Martha Lopez
              Brandy Perry
              Lashonda Moss
              Brandi Hardin
              Pamela Allen
              Kristie Bobien
1:96cv6225    Kimberly Yarnell
              Laurie Short
              Carrie Robertson
              Monica Spigner
              Laquette Lockett
              Aretha Scott
              Sharonda Williams
              Sherri Long
              Sharon Morehouse
              Twyla Osborne
              Tahnya Lewis
              Priscilla Sampson
              Karen Wagoner
              Stacy Murray
              Shelly Mitcham
              Pamela Price
              Denita Sanders
              Annabell Duron
              Taree Singleton
              Carrie Roberts
              Crystal Bruane
              Cheryl Braune
1:96cv6226    Lisa Hefner
              Eileen Hayes
              Priscilla Hernandez
              Wendy Cheum
              Anntionette Strawn
              Kretha Ballard-Brown
              Tammy Wheeler
              Lawanda Parramore
              Robin Haynes
              Robin Yancey
              Tasha Stafford
              Sarah Mitchell
1:96cv6227    Carla Hervey
              P Perkins
              Crystal Calkins
              LaWanda Clay
              Dina Minicucci
              Jessica Williams
              Christi Kellar
              Nora Brown
              Gracie Alvizo
              Amber Adkins
              Kristie Acosta
              Jackie Allen
              Angela Whitmer
              Michelle Hinson
              Melody Huerta
              Jennifer Marxmiller
              Debra McCarter
              Sharon McGetter
1:96cv6228    Jeanne Flores
              Oneida Flores
              Shawna Gibson
              Patricia Gifford
              Martha Garcia
              Mary Goodwin
              Shelly Gable
              Marlese Kemp
              Christina Kemp
              Mona Lamm
              Sherri Jones
              Bridgette Johunkin
              Joyce Kennon
              Julieta Corral
              Jami Johnson
              Aldrema Conerly
              Tina Smith
              Darlene Duckworth
              Amy Fisher
1:96cv6229    Robin Dye
              Cheryl Elder
              Brandy Elbert
              Candy Elliot
              Pauline Diaz
              Tanya Ellis
              Tammy Ellis
              Lajuanna Emery
              Lynn Dempsey
              Jean Crawford
              Keri Crooks
              Lisa Craker
              Rhonda Chapman
              Sherry Crouch
              Cemonia Crowder
              Vickie Baylor-McLendon
              Bridgette Davis
              Regina Cruz
              Jolene Holt
              Latasha McGuire
              Marcella Holland
              Donna Holdridge
              Kathleen Hodges
              Debra Howard
              Cheryl Hudson
              Carol Young
1:96cv6230    Latasha Jackson
              Holly McElroy
              Traci Proctor
              Lisa Pryor
              Shirley Radford
              Rachel Reagan
              Mary Rusher
              Wanda Taylor
              Elizabeth Primo
              Rose Gomez
              Rebecca Gowin
              Mira Goode
              Joana Gonzales
              Delma Sosa


*842
1:96cv6231    Angela Rettig
              Shenequil Jackson
              Jana Robertson
              Cherry Jenkins
              Carlotta Johnson
              Dalia Resendez
              Jeanette Henderson
              Maria Rodriquez
              Lori Handy
              Ernestina Rodriquez
              Jennifer Jones
              Staci Wallace
              Tyra Walker
              Jamie Wherry
              Cheryl Carroll
              Delannia Reed
1:96cv6232    Kristi Thornhill
              Bridget Rose
              Amy Reynolds
              Debbie Foster
              Robbin Ohipps
              Tracy Timm
              Cynthia Taylor
              Shannon Riley
              Annette Calhoun
              Denise Riley
              Wendy Riley
              Kendra Toney
              Shonetta Henderson
              Shanetta Robinson
              Luci Thompson
              Jennifer Tobin
              Tammy Townsend
              Vanessa Urdialez
              Thao Le
              Nancy Reyna
              Crystal Romesburg
1:96cv6233    Karen Morrow
              Susan McKinnerney
              Shawana Reed
              Diane Vasquez
              Tammy Smith
              Tisha Jeffery
              Jennifer Morrison
              Amy Lawrence
              Maria Price
              Valarie Smith
              Paula Yocham
              Laura Thompson
              Tamesha Mosley
              Mary Leming
              Sandra Patterson
              Tricie Washington
              Jacqueline Thomas-Hicks
              Felicia Scurlock
              Tracy Wooly
              Laura Wise
              Jossie Scott
              Louanda Schodts
              Bobbie Martin
1:96cv6234    Gerrianna Patton
              Debra Sims
              Beverly Gonzales
              Vickie Farris
              Christine Burke
              Crystal Hays
              Shelly Story
              Jessica Gailey
              Maria Rodriquez
              Carolyn Jones
              Loretta Caldwell
              Cherree Reed
              Cantrel Laury
              Susan Stanfield
              Erin Rutledge
              Michelle Stanberry
              Valarie Hill
1:96cv6235    Lisa O'Boyle
              Veronica Cook
              Antonia White
              Alondria White
              Angel Hampton
              Ortencia Trujillo
              Persephone Burks
              Deanine Castro
              Anitha Mireless
              Torsha Johnson
              Rosaura Mergarenjo
              Dekieska Tate
              Toni Pope
              Cassandra Mills
              Laura Phillips
              Gwen Muller
              Shalina Migura
              Heather Berry
              LaJuana Phillips
              Tammy Johns
1:96cv6236    Elizabeth Gatlin
              Michelle Hernandez
              Patricia Lee
              Juanita Bowen
              Rena Kitrell
              Ragan Kirby
              Esmeralda Wilkerson
              Jackie Kohr
              Lanisha Smith
              Robin Frazier
              Sheila Wilson
              Helen German
1:96cv6237    Rebecca McCaffety
              Tammy Marling
              Amanda Martin
              Benita Bryant
1:96cv6238    Camona Taylor
              Debbie Wheat
1:96cv6239    Commanda Logan
              Sophia Lora
              Jenne Lunsford
              Violet Miller
              Angela Moore-Thompson
              Ethal Moore
              Anita Morris


*843
              Dana Nail
              Toni Ochoa
              Teresa Reynolds
              Emily Walzier
1:96cv6240    Tonya Adams
              Saundra Allen
              Andrea Amos
              Tammy Byars
              Lisa Callahan
              Melanie Canava
              Angela Davis
              Armandina Fennell
              Lori Foster
              Amy Hail
              Charlotte Heist
              Carri Lewis
1:96cv6270    Tracey Milburn
1:96cv6273    Victoria Johnson
1:96cv6275    Yvonne Walls
1:96cv6282    Charlene Barnhard
1:96cv6289    Yulonda Young
1:96cv6290    Jacqueline Williams
1:96cv6294    Lisa Chillingworth
1:96cv6297    Virginia Hall
1:96cv6316    Nancy Espinosa
              Ernest Espinosa
              Gina Horton
              Ann McAlister
              Shennika Simmons
1:96cv6321    Deborah McCavey
              Cindy Tompai
              Mary Wagner
              Tasha Wimberly
1:96cv6322    Ashia James
              Vickie James
              Teresa Jones
              Michele Wilson
1:96cv6323    Bridgett McKnight
              Brittain Smith
1:96cv6324    Debbie Boldue
              Laurie DuBose
              Melissa Grant
              Regina Roberts
              Carol Wells
              Desiree Boomer
1:96cv6325    Lakisha Cherry
              Minnie Faust
              Marcella Muller
              Kendra Parker
              Vickie Vaughn
1:96cv6335    Dawn Aguilar
1:96cv6339    Crystal Drettwan
1:97cv6340    Cecilia Puente
              Cesar Puente
1:97cv6343    Jamie Amato
              Jeanette Harmon
              Vanessa Stivey
              Theresa Wells
              Tiphany Wilkerson
1:97cv6345    Shayne Mosteller
1:97cv6361    Pamela Smith
1:97cv6387    Suzanne Evatt
1:97cv6465    Christy Hunt
1:97cv6602    Melissa Thompson
1:97cv6948    Brenda Taylor
1:97cv7029    Bonnie Zimmerman
1:97cv7163    Kathy Reams
1:97cv7310    Rebecca Castleberry
              Lari Cochran
              Kimberly Doke
              Tammy Hopkins
              Constance Jones
              Lisa Lewis
              Elizabeth Morrison
              Bridget Motley
              Michelle Murphy
              Pamela Pearce
              Mandy Strickland
              Janel Stueve
              Carleen Thomas
              Barbara Wade
              Tonya Walden
              Martha Winberry
1:97cv7313    Tracy McClain
              Rene Medina
1:97cv7314    Lisa Blasnek
1:97cv7317    Jamaeka Wilson-Webb
1:97cv7319    Tiffany Jacobson
1:97cv7325    Juanita Razz
1:97cv7333    Kristeen Frost
1:97cv7341    Valerie Caskey
              Josephine Crothers
              Mary Smith
1:97cv7345    Regina Moses
1:97cv7347    Reinella Coates
1:97cv7352    Kim Williams
1:97cv7355    Christina Franco
1:97cv7356    Carolette Meadows
              Karla Soto
              Diana Suarez
              Elsie Virella
1:97cv7360    Charolette Jefferson
1:97cv7361    Kelly-Jo Butler
              Brenda Howe
1:97cv7369    Valorie Whatley
1:97cv7371    Susan Martin
1:97cv7376    Katherine Boyd
1:97cv7398    Shelia Thompson
1:97cv7410    Melinda Andrews
              Iliana Griffin
              Phyllis Hymon
              Darlene Parish
              Tammy Roane
1:97cv7413    Tamara Demers
              Lisa Lopez
1:97cv7414    Tina Campbell
1:97cv7416    Angela Chakeris
1:97cv7417    Janel Bennett
              Mr. Bennett
              Wendy Cloer
              Moses Cloer
              Yvette Wilson


*844
              Terry Wilson
1:97cv7419    Allison Guarino
1:97cv7420    Tina Bullard
              Andrea Fields
              Karen Hardiman
              Shenita Harris
              Sarah Hearne
              Tiheema Howell
              Jennifer Hunt
              Tammy Johnson
              Charlene McCray
              Michelle Price
              Cynthia Quick
              Kisha Owens
1:97cv7429    Jeanne Sample
1:97cv7456    Shirley Keys
              Craig Keys
              Anthony McAffee
1:97cv7457    Marylin Coburn
              Annie Donaldson
              Pamela Small
1:97cv7458    Patricia Carvalho
              Paulette Sinclair
1:97cv7459    Michael Baldino
              Dayna Mooney
              Philip Mooney
              Patricia Pike
              Owen Pike
1:97cv7460    Gwendolyn Anderson
              Otilia Figueroa
              Geovona Mann
              Lenora Moreland
              Sonya Nelms
1:97cv7461    Judy Berg
              Robert Berg
              Libia Demers
              Roland Demers
              Marilyn Eloranta
              Harri Eloranta
              Oscar Gonzalez
              Rosario Gonzalez
              Rafael Gonzalez
1:97cv7463    Laura Crosby
              Shannon McLeland
1:97cv7466    Tawana Robinson
1:97cv7476    Sandra McElmurry
1:97cv7481    Kara Stumpff
1:97cv7490    Katy Goodman
1:97cv7498    Dianna Siebert
              Michael Seibert
              Colby Seibert
1:97cv7499    Jose Fernandes
              Tricia Morgan
              Thomas Morgan
              Stacy Antonakis
1:97cv7500    Nemoneshia Verner
1:97cv7501    Laura Martinez
1:97cv7502    Regina Lawrence
1:97cv7508    Kendal Alkire
              Machell Jordan
1:97cv7531    Shawn Fujita
1:97cv7533    Sheila Johnson
1:97cv7563    Shannon Champagne
1:97cv7568    Regina Hale
1:97cv7569    Bessie Walker
              Brenda Woodard
              Kathy Richardson
1:97cv7574    Stefanie Deem
              Melody Donley
1:97cv7580    Tarri Kimes
1:97cv7582    Velia Dominquez
              Trinidad Hernandez
1:97cv7584    Kathy Birschbach
              Linda Lane
              Theresa Wolfe
1:97cv7589    Sirena Batek
              Jacqueline Cook
              Misty Jaco
              Kim Laughlin
              Kerry Logsdon
              Cintia Martinez
              Heidee Tiner
              Consuella Williams
              Michelle Alcorta
1:97cv7590    Yolanda Aguirre
              Angelina Cerini
              Belinda Flores
              Irma Garcia
              Angela Griffin
              Leticia Hernandez
              Deborah Watkins
              Lisa Adams
              Berda Allen
              Tracy Anderson
              Pamela Atherton
              Donna Branscum
              Angela Bryant
              Sandra Bustinza
              ChaSondra Butler
              Stephanie Cade
              Maria Castillo
              Ruth Ortiz-Cloves
1:97cv7591    Mitzi Walter
              Stephanie Warren
              Rebecca Watson
              Brenda Watson
              Melissa Watson
              Baisha Williams
              Felicia Wilson
              Janet Wise
              Nicole Zamora
              Tanya Matthews
              Crystal McAdoo
              Bobbie McCloud
              Karen McCoy
              Jo McDonough
              Dana McLain
              Jennifer Mesker
              Shannon Miller
              Natasha Mitchell
              Sonia Moore
              Sharma Moreno


*845
              Tameka Norman
              Jasmine Parkinson
              Brenda Perales
              Reina Phillips
              Denise Pratt
              Tara Pruitt
1:97cv7592    Tina Turner
              Dorothy Tuya
              Kimberly Ussery
              Veronica Valencia
              Tiffany Vanek
              Melissa Vasquez
              Alfreda Walker
              LaTonya Walker
              Regina Walker
              Sharonda Walker
              Dytra Walton
              Regina Warner
              Cheryl Washington
              Shirley Washington
              Thresir White-Christie
              Chrissy Wiggins
              Latricia Wiggins
              Jennifer Wilbanks
              Baisha Williams
              Cynthia Williams
              Mary Williams
              Nicole Williams
              Nyree Williams
              Tonya Williams
              Nicole Willis
              Arika Woods
              Susan Woods
              Selia Ybarra
1:97cv7593    Brenda Witt
              Amy Holland
              Kimberly Agnew
              Jacqueline Aldredge
              Stephanie Alexander
              Kellie Allen
              Jacqueline Anderson
              Kimberly Andrews
              Lynessa Andrews
              Yarnell Baker
              Paula Barjer
              LaTonya Barnes
              Michele Beachum
              Rachel Benivamonde
              Peggy Black
              Tammy Boatwright
1:97cv7594    Gabriella Sanchez
              Katherine Sexton
              Crystal Shaffer
              Sabrina Shepherd
              Melissa Sheppard
              Pashaa Simmons
              Chandra Smith
              Jennifer Smith
              Patricia Smith
              Tanya Smith
              Rita Sparks
              Jimmie Sparrow
              Karin Stanfiel
              Sandy Stewart
              Crystal Strange
              Angela Taylor
              Dinesha Thomas
              Tamiko Thomas
              Kelli Towery
              Sandra Trevino
              Patricia Rocha
1:97cv7595    Valerie Richardson
              JoAnn Rios
              Kristi Rodecap
              Marsha Royers
              Cheryl Rozell
              Brandi Rutter
              Jenny Morales
              Patches Raines
              Cynthia Ramirez
              Angela Redden
              Saundra Reynolds
              Joette Rioz
              Valerie Roberts
              Gayla Rutledge
              Rosario Sanchez
              Stacy Sims
              Sherry Skinner
              Cynthia Smitherman
              Pamela Stewart
              Evelyn Taylor
              DeAnn Turner
              Louisa Vidaurre
1:97cv7596    Patti-Jo Moore
              Tonya Moore
              Sandra Morales
              Christina Munrose
              Angela Munson
              Kamelia Osborne
              LaToya Owens
              Lisa Parsons
              Iesha Patterson
              Gena Pierce
              Jennifer Plunkett
              Rhonda Pointer
              Ereka Price
              Sermalia Price
              Jennifer Pringle
              Lanna Ramsey
              Lisa Randon
              Shoa Razvi
              Helen Redmon
1:97cv7597    Amanda Kilgore
              Santillia King
              Sarah Krempl
              Sherry LaFleur
              Serena Lane
              Kimberly Lanza
              Yolanda Lerma
              Angelita Lopez
              Sharon Loring
              Teresa Magallon


*846
              Lucille Mares
              Barbara Martin
              Kimberly McKellar
              Terra McQuay
              Liza Medel
              Beverly Miller
              Cinda Miller
              April Mizzles
              Shalesha Mock
              Yolanda Monks
1:97cv7598    Catrina Harris
              Marilyn Harris-Howard
              Dianne Hasley
              Shelitha Hawkins
              Jessi Hiberd
              Lakeisha Hicks
              LaTricha Holmes
              Mary Hosea
              Pamela Hosea
              Dimitri Howard
              Demetria Hutch
              Yolanda James
              Audrey Johnson
              Rhonda James-Hampton
              Desirra Johnson
              Ferlinda Johnson
              Helen Johnson
              Kristie Johnson
              Melinda Johnson
              Sandy Johnson
              Vivienne Johnson
              Carole Jones
              Dorothy Jones
              Jacklyn Jones
              Kelly Junkin
              Kelli Kelly
              Marlene Kerschen
1:97cv7599    Leslie Harris
              Melissa Harris
              Shannon Harris
              Angela Heady
              JoAnn Heredia
              Shannon Hetzel
              Katrina Hill
              Hellen Hooper
              Anita Hylen
              Angie Jackson
              Misty Jenkins
              Marlena Jimmerson
              Angela Johnson
              Pamela Johnson
              Jana Kennedy
              Valerie Lackey
              Patricia Limon
              Monica Lopez
              Sherwanda King
1:97cv7600    Kyeirdea Edwards
              Angelica Flores
              Sonya Flowers
              Anita Ford
              Becky Frerichs
              Raquel Gamboa
              Brandi Garcia
              Betty George
              Serena Gilbert
              Sonia Girdy
              Ofelia Gonzalez
              Inez Goodman
              Jennifer Goodrich
              Kimberly Gore
              Jody Gossett
              Sonia Green
              Tonya Green-Sykes
              Bridget Griffin
              Cherie Griffin
              Crystal Grumbles
              Nichole Hall
              Judith Halley
              Lisa Hancock
              Beverly Harris
1:97cv7601    Robbin Crenshaw
              Marta Croom
              April Curtis
              Lurie Deloff
              Louise Denney
              Cynthia Dorries
              Lana Fultz
              Sharri Gardner
              Crystal Gibson
              Tammy Gibson
              Sue Gober
              Mary Brown
              Kathy Cabler
              LaDawn Capps
              Mariana Chacon
1:97cv7602    Lisa Cisneros
              Rhonda Clark
              Judy Hambrick
              Windy Hill
              Stacey Stowe
              Leah Loomis
              Doris Nash
1:97cv7603    Donna Thompson
              Christine Standish
              Bonita Johnson
              Melissa Russell
              Deanna O'Neil
              Tina Baron
              Clarice Evans
              Angela Jump
              Carol Sharp
              Dawn Kayes
              Robyn Lattan
              Catherine Grant
              Beulah Degen
1:97cv7604    Kristin Warren
1:97cv7620    Angeglica Davila
1:97cv7625    Elizabeth Lavazza
1:97cv7630    Wendy Platt
1:97cv7638    Alice Koehlmoos
1:97cv7647    Sheila Davis
              Karen Bird


*847
              Candice Anderson
              Maureen Capozzoli
              Lisa Montgomery
              Latetia King
              Debbie Graham
              Elizabeth Dhaeseleer
              Kathy Davis
1:97cv7648    Tamara Ayers
              Jackie Berenbrock
              Carmela Deshon
              Leagh Cassell
              Holly Jewell
              Karen Kerbyson
              Joanna Schmidt
              Barbara Bridges
              Uda McCaleb
              Linda Miles
1:97cv7649    Kathy Austin
              Janie Brewington
              Pamela Carter
              Melissa Collins
              Tera Haney
              Tammy McCandless
              Barbara Murray
              Ronda O'Shields
              Glinda Stewart
              Tammy Turner
1:97cv7650    Michele Adgurson
1:97cv7651    Dawn Clarke
              Rene Darbyshire
              Irene Gomez
              Deborah Houghton
              Debbie Houston
              Patricia Lackey
              Frances Lawler
              Cathy Richardson
              Carrie Stewardson
1:97cv7652    Candace Berry
              Belynda Bottoms
              Margaret Coon
              Tammy Prine
              Tammie Shoemaker
              Jennifer Smith
              Linda Street
              Dianna Thomas
              Lori Wren
1:97cv7653    Bobbie Cole
              Vanessa Gibson
              Kathryn Kaczorowski
              Tia Knotts
              Beth Kunz
              Tammy Leonard
              Rachel Smithson
              Tracy Snyder
              Brandy Stewart
              Karen Wheeler
1:97cv7654    Melissa Westbrook
              Jamie Malone
              Melissa Holder
              Terri Lafferty
              Robyn Tom
              Bobbie Sadler
              Tracey Young
              Debra Wilson
              Angie Sams
              Posha Honeycutt
              Janie Bogue
1:97cv7655    Stacie Johnson
              Shane Lewis
              Jamie Mendez
              Cheryl Reed
1:97cv7656    Tomma Celuch
              Brandi Christian
              Delores Frazier
              Kirston Rodriguez
              Jodi Yonts
1:97cv7657    Vallera Butler
              Yvonne Essick
              Laurie Locker
              Renee Thomas
              Kerrie Accornero
              Cherly Adams
              Jacqueline Alameda
              Charlene Alba
              Antonia Albano
              Joanne Apodaca
              Melloney Bailey
              Alexis Blanchard
              Siobain Bonilla
              Michelle Brooks
              Germaine Brown
              Margaret Campbell
              Maria Carrasco
              Rani Carveo
              Dianna Cervantes
              Sherlene Chavez
              Vaness Clark
              Michelle Cohen
              Michelle Colsell
              Xandralyne Connors
              Tonya Cox
              Michelle Culbertson
              Sheryl Davis
              Tracy Davis
              Rolinda Dees
              Anja Dellith
              Rebecca DeRouchey
              Cari Esposto
              Lindsey Ewald
              Natalie Fales
              Maria Ferguson
              Selina Fernandes
1:97cv7658    Catherine Burke
              Catherine Belding
              Tracy Hoobyar
              Alice Quinn
              Robin Rittenhouse
              Cynthia Trux
1:97cv7659    Kimberly Hill
              Catherine Morant
              Denise Murray
              Crystal Myers


*848
              Debbie Schmidt
              Shelly Lemon
              Jennifer Webb
              Victoria Williams
1:97cv7660    Mandi Clark
              Kimberly Edwards
              Catherine Mangino
              Melissa Tester
1:97cv7661    Lisa Cole
              Kristina De La Rosa
              Tara Deck
              Norma De La Cruz
              Lydia Delgado
              Gracie Dominguez
              Valerie Dominguez
              Bridget Erekson
              Karen Evans
              Juanita Fears
              Terri Franks
              Carmen Garcia
              Katina Gee
              Penny Goodwin
              Kim Harvey
              Natasha Harvey
              Monica Heredia
              Norma Hermosillo
              Christie Hobbs
              Misty Huff
              Veronica Johnson
              Tabatha MacDowell
              Cristina Curiel
              Carla Collingsworth
1:97cv7662    Lori Vaughn
              Stacey Wagner
              Patricia Flynn
              Karen Hougas
              Ayanna Hart
              Lee Seiber
1:97cv7663    Donna Johnson
              Carolyn Owings
              Tracy Wilson
1:97cv7664    Tia Cox
              Lisa Pounds
              Dawn Williamson
              Dawn Haymond
              Katea Johnson
1:97cv7665    Katrina Longhat
              Serene Schwenneker
1:97cv7666    Pamela Flores
              Paula Ford
              Valerie Fuqua
              Raelynn Gotchell
              Maria Haase
              Laura Henry
              Stacy Holder
              Lori Iribarren
              Lisa Isle
              Gina Jones
              Kelly Jordan
              Dawn Karpinski
              Tracy Kavanaugh
              Danielle Kempa
              Julie Kettering
              Stephanie Kiernan
              Leslee Logan
              Kari Logsdon
              Amanda Martin
              Paula McAlany
              Elizabeth McClelland
              Donise McDaniels
              Stephanie McLaren
              Jacqueline Merritt
              Anush Morales
              Tammy Morales
              Kendra Munroe
              Susan Neese
              Alicia Norgaar
              Lesa Omara
              Raylene Ortega
              Marlina Palomino
1:97cv7667    Phyliss St. Thomas
1:97cv7668    Jennifer-Wells Dumas
              Yolanda King
              Shirl Brown
              Theresa Brown
              Jamie Flippo
              Michelle George
              Shellie Hinsley
              Jenisu Latham
              Kerri Nall
              Angel Reina
              Salena Miller
              Princess Miranda
              Elizabeth Moore
              Melinda Moore
              Norma Morua
              Annita Oxford
              Paula Palmer
              Sharon Pringle
              Anita Ramos
              Michelle Riddle
              Sharon Rincon
              Angela Sandoval
              Roxanne Segovia
              Lyn Spiller
              Rosa Torres
              Melissa Townsend
              Katrina Tutt
              Doris Vaughn
              Angela Watlington
              Joann Woods
1:97cv7669    Deirdre Lindsey
1:97cv7670    Kelly Chipps
              Jan Hite
1:97cv7671    Carrie Campbell
              Lorie Haley
              Lavonne Love
              Stephanie Moore
              Lori Smith
              D.J. Wigley
1:97cv7672    Marva Jones
              Becky Thornton


*849
              Carrie Urquhart
              Tina Steele
              Amy Vanhorn
              Shawnte Maye
              Karen McConnell
              Deundra Mitchell
              Scottie Moody
              Kathleen Oneal
              Lisa Harris
              LoAnn Blanton
              Sonya Donaldson
              Jane Cunningham
1:97cv7673    Michelle Seay
1:97cv7676    Sheli Willetts
1:97cv7677    Amy Rivera
              Kris Margid
              Lisa Jarrell
              Tammy Guthrie
              Sonia Smith
1:97cv7678    Tamara Evans
1:97cv7679    Stephanie Woisard
              Druecilla Stephens
              Dena Gennings
              Holly Jefferson
              Peggy Neal
              Destiny Gossett
              Kira Brown
              Tracie Gulley
              Deborah Price
              Tammy Araujo
1:97cv7680    Heather Hamlet
              Lisa Hudson
              Michele McCaskill-Miller
              Kerry Sanderson
              Sheree Spanier
              Rosetta Stephenson
              Carolyn Stewart
              Isauel Valenciano
1:97cv7681    Angela Wagner
              Bonnie Kruszewski
              Allison Braje
              Melissa Rockefeller
              Peggy Marsh
              Francine Levallee
              Laqurdia Robinson
              Holly Powell
              Samantha Parker
              Dorothy Nowatski
              Dawn Snyder
              Doreen Hale
              Jennifer Simmons
              Felecia Thomas
1:97cv7682    Mickelle Tomlin
              Carol Staron
              Denise Martin
              Jodie Nezdoba
              Laura Kennedy
1:97cv7683    Victoria Melendez-Smith
              Naomi Taylor
              Wendi Snyder
              Anissa Smothers
              Trea Jones
              Julia Jones
              April Friar
              Isobel Fitzpatrick
              Diana Bess
              Angela Bennett
              Cindy Campbell-Mosley
1:97cv7684    Susan Shear
1:97cv7685    Michelle Sather
              Stacey Lloyd
              Petrina Hill
              Christina Garvin
1:97cv7686    Elana Basham
              Carlena Buckner
1:97cv7687    Zanetta Parks
              Gabrielle Parra
              Kristie Paulas
              Joyelle Miller-Phillips
              Oralia Ramirez
              Jayne Reizner
              Enma Rodriguez
              Marisela Sanchez
              Theimba Seaich
              Tracey Shepard
              Rebecca Sinclair
              Paula Smith
              Kiana Reeves
              Joyce Trent
              Sherri Vidaurri
              Kimberly Hall-Sisson
              Heidi Aranson
              Billi Coday-Terry
              Desiree Thayer
              Kristian Thomas
              Elyn Timmermans
              Rachelle Valverde
              Mayra Vides
              Nicole Waddell
              Racheal Welch
              Robin Wilder
              Laquinta Williams
              Danniele Zmak
1:97cv7688    Jennifer Randall
              Jenith Cowley
              Amy Olsen
1:97cv7689    Angella Paloni
              Betsy Galindo
1:97cv7690    Tricia Myers
              Ramoncita Pena
              Tori Moore
              April Wormly
              Katherine Coulombe
              Karen Dunn
              Annette Garcia
              Dawn Petties
1:97cv7696    Heidi Hack
              Shannon Haupt
              Gwendi Hopkins
              Keeshan Jones
              Michelle Toth
1:97cv7712    Joy McGregor


*850
1:97cv7719    Warnell Farrell
1:97cv7733    Stacey Phillips
1:97cv7735    Denise Trujillo
1:97cv7736    Jennifer Drew
1:97cv7744    Brie Ellul
1:97cv7749    Carmen Morrell
1:97cv7750    Cecilia Garcia
              Alicia Risueno
              Karen Zopatti
1:97cv7753    Norma Aguirre
              Ty Buchanan
              Gail Wilkins
1:97cv7756    Roberta Armour
1:97cv7757    Rosie Taylor
1:97cv7758    Michelle Casey
              Lori Bauer
1:97cv7759    Irene Roskovensky
              Dorothy Smith
              Shawna Mead
              Piedad-Bayona Vizcaino
              Diane Thompson
              Melissa McKinney
              Patricia Kelly
              Colleen Valente
1:97cv7761    Sheri Gage
              Monique McCabe
1:97cv7762    Janina Bowman
              Priscilla Calhoun
              Joy Stanley
1:97cv7763    Kim Keeran
              Tammy McDaniels
1:97cv7764    Michell Detour
              Nina Day
1:97cv7765    Michelle Leary
1:97cv7767    Kelly Pezolano
              Jennifer Brown
              Stacey Burnworth
              Teresa Carroll
1:97cv7770    Shari Davis
1:97cv7771    Janise Bryson
              Anna Camden
              Sharon Campbell
              Tonita Channel
              Rachel Chism
              Brenda Christiansen
              Amy Conners
              Paula Cress
              Kurtinya DeBoe
              Marna DeClue
              Jessica Dick
              Christina Dillon
              Julie Dominquez
1:97cv7773    Heather Weir
1:97cv7774    Laurell Bailey
              Lisa Barrett
              Erma Major
              Kristina Palmer
              Penny Shabeeb
              Carmen Washington
              Debbie Alford
              Kenya Collins
              Debbie Lax
              Meredith Smith
1:97cv7775    Nicole Chambers
              Judi Romanski
              Nilsa Cruz
1:97cv7776    Migdalia Luga
1:97cv7777    Tammy Griffin
1:97cv7779    Charlene Armstrong
              Kim Jensen
1:97cv7780    Trina Boone
              Johanna Jones
1:97cv7782    Kathryn Marshall
              Yeyette Sanford
              Suzanne Pitt
1:97cv7783    Mary Hazlewood
              Tina Campbell
1:97cv7784    Susan Edney
1:97cv7785    Alice Weir
              Holly Baker
1:97cv7787    Lisa Downing
              Angela West
              Pauline Estes
1:97cv7789    Barbara Lasalla
              Gretchen Hughes
              Loretta Glenn
              Rosa Corporan
1:97cv7790    Haven Hachmeister
              Nadine Wellington
1:97cv7791    Angelica Garcia
              Margie Henderson
1:97cv7792    LaChasta Giles
1:97cv7794    Ingrid Hakala
1:97cv7795    Kara Williams
1:97cv7796    Vivian Brown
              Denise Couplin
1:97cv7798    Kristin Ross
1:97cv7799    Julie Nordsven
1:97cv7801    Marlena Odom
              Marisol Duque
1:97cv7804    Virginia Peterson
1:97cv7805    Christy Johnson
1:97cv7806    Margaret Boland
              Mitzi Gentry
              Felicia Lewis
              Kimberly Davis
1:97cv7807    Terri Asher
              Sandra Cox
              Rochelle Dixon
              Kimberly Farrell
              Brandie Freeman
              Debbie Imhof
              Lisa Murphy
              Lisa Rarick
              Candi Sisk
              Correna Swaney
              Stephanie Thompson
1:97cv7808    Rhonda Durham
1:97cv7809    Candace Clark
              Mona Cowen
1:97cv7810    Julie Hughes
              Angela Thibodeaux


*851
1:97cv7811    Christina Askew
              Linda Brown
              Tawanda Parks
              Stephanie Chambers
1:97cv7812    Tonya Buschette
              Joy Wakonabo
              Carol Brown
1:97cv7814    Julie Zemple
1:97cv7815    Connie Bellinger
              Bethann Briere
              Jacqueline Tarver
              Lisa Seneca
              Paulette Skinner
              Stacey Sequin
              Markina Cosby
              Christine Barringer
              Kendra Wetmore
              Elaina Morgan
              Nancy Marshall
              Virginia Fuhs
              Brenda Chadwick
              Sue Nelson
              Janene Bouck
              Melanie Bates
              Kelly Baurle
              Cindy Christensen
              Bridget Sanderson
              Heather Wolf
              Ida Dufault
              Laura Ferris
              Marge Mendez
              Tina Evans
              Dacey Wills
              Jeanine Vautrin
              Delia Phelps
              Christine Reynolds
              Lisa Langdon
              Tina Shatraw
1:97cv7837    Laura Castronuovo
1:97cv7839    Linda Weikal
1:97cv7865    Sharon McConnell
              Tami McPherson
1:97cv7868    Rochelle Davis
              Lisa Everidge
              Lashanda Flether
              Trenda Goodman
              Felecia Liddell
              Shannon Page
              Tamara Tate
              Zelantra Williams
              Christine Wooton
              Susan Boyett
              Molisia Braswell
              Ashley Busby
              Terri Finley
              Kimberly Fuschini
              Michelle Hall
              Catina Howell
              Nancy Howell
              Becky Humphries
              Anita Jones
              Lula Knight
              Shebretia Livingston
              Pamela Manning
              Barbara Pryor
              Wendy Richardson
              Loyetta Weston
              Sandra Hedrick
              Lisa Arceneaux
              Gail Stockman
1:97cv7884    Jan Meeks
1:97cv7885    Michele Riley
              Angela Rolland
1:97cv7893    Amy Knifer
1:97cv7912    Amy Knifer
1:97cv7917    Shondrikkeyia Gee
              Roosevelt Travis
              Hanoi Gonzalez
1:97cv7926    Christine Lemastres
1:97cv7927    Mary Shinault
1:97cv7948    Tracey Dickerson
1:97cv7968    Marya Marvin
1:97cv7976    Sandra Brewer
              Jackye Brim
              Carolyn Britten
              Kathrene Brunson
              Connie Burroughs
              Maria Chavez
              Belinda Cheney
              Lorie Chumley
              Kara Clawson-Labrot
              Tamika Cleveland
              Lola Coffman
              Lashown Cousar
              Tina Craig
              Delana Crawford
              Dawn Crawley
              Lisa Crocran
              Patricia Daniels
              Tammy Darty
              Cynthia Davenport
              Carlesha Davis
              Angela Dickerson
              Wendy Echols
1:97cv7977    Angelica Remes
1:97cv7978    Theresa Hardy
              Laketa Sutton
1:97cv7993    Tina Barlar
1:97cv8027    Hope Dasher
1:97cv8045    Brandy Adams
1:97cv8049    Tammy Akana
              Isabella Alcantra
              Roberta Casabar
              Cara Castro
              Jelena Clay
              Dena Dooley
              Ann Dugos
              Laurie Freimark
              Furyisa Gagnon
              Lisa Kuahuia
              Kimberly Kuloloia-Juan
              Stacey Martin


*852
              Brandy Mulock
              Milly Orquia
              Erica Poveda
              Lititia Sakai
              Dina Wessel
1:97cv8068    Natasha Alvarado
              Melissa Bell
              Cathy Benoy
              Coleen Bertram
              Karla Bestul
              Kimberly Blalock
              Trisha Brieske
              Stefanie Bunch
              Terry Buttweiler
              Tina Butzer
              Melissa Cornish
              Jordeana Deallenbach
              Collette Davis
              Dana Bernetzke
              Amanda Dycus
              Suzanne Falter
              Stephanie Grambort
              Shelly Grosskreuz
              Donna Hammond
              Jennifer Hayward
              Cynthia Holm
              Yolanda Holmes
              Jada Jackson
              Peggy Jamerson
1:97cv8070    Tammy Johnson
1:97cv8080    Amntina Payano
1:97cv8089    Andrea Radke
1:97cv8093    Maria Martinez
1:97cv8094    Deborah Pogue
1:97cv8123    Natalie Melero
              Jessica Velez
              Ndia Mangual
1:97cv8129    Aretha Tucker
1:97cv8132    Vorita Ackley
              Carolyn Sturm
1:97cv8133    Shirley Newsom
              John Newsom
1:97cv8134    Julie Williams
1:97cv8173    Darlene Patrick-Aust
1:97cv8179    Ralph Cole
              Buddy Simpson
1:97cv8180    Antonio Solorio
1:97cv8184    Vickie Copeland
1:97cv8198    Peggy Tallent
1:97cv8200    Alycia Worth
              David Worth
1:97cv8204    Felicia Howard
1:97cv8205    Joann Fausphoul
              Myarla Poullard
1:97cv8210    Steven Sanchez
1:97cv8219    Carla Brady
              Veronica Ham
              Teresa Smith
1:97cv8226    Marisol Martinez
1:97cv8250    Harold Smith
              Renee Smith
1:97cv8256    Latrise Mitchell
              (Jane Doe) Moody
              Michelle Oberholzer
              Afa Olguin
              Kristeen Parnow
              Phyllis Patterson
              Patricia Preyer-Jones
              Mary Rescigno
              Maria Rjorla
              Carmen Roberts
              Tammi Robinson
              Debra Rodriguez
              Heather Rossman
              Ocotolan Rouse
1:97cv8257    Nancy Miranda
1:97cv8265    Karen Edgett
              Jennifer Atkinson
              Shelly Martin
              Ronda Green
              Trevon Anderson
              Lesa Davis
              Juliette Davis
1:97cv8268    Sundae Weems
              Malissa Whitfield
              Kimberly Wilkerson
              Lydia Williams
              Stacy Yost
1:97cv8269    Royce Murray
              Anne Nehring
              Karen Newton
              Bernadine Orwan
              Barbara Patterson
              Sabrina Perrin
              Mechelle Porter
              Santanya Ramsey
              Terri Redd
              Kristie Rheubottom
              Sharon Richardson
              Terri Schrack
              Sharrisse Scott
              Ann Spencer
              Pearl Tate
              Sheila Taylor
              Chenchira Trotter
              Angela Walters
1:97cv8270    Katherine Freeman
              Virginia Glickman
              Japonica Harding
              Shannon Hardwick
              Ceneria Hirschowitz
              Jacquette Hopkins
              Linda Horton
              Kimberly Johnson
              Keri Klausing
              Nichole Lassiter
              Tomiko Lovette
              Mary McAllister
              Lyndi McDowell
              Danielle Medley
              Glenda Mellinger
              Marquette Mitchell


*853
1:97cv8271    Ruth Arvin
              Tawanda Baker
              Theresa Banks
              Janie Battle
              Pamela Boom
              Katina Brown
              Rachel Carter
              Kimberly Clemons
              Angela Coale
              Donna Cohen
              Shakita Cunningham
              Shyreese Daniel
              Lynette Dudley
1:97cv8305    Robert Williams
1:97cv8309    Angela Jensen
              Richard Jensen
1:97cv8310    Sandy Miller
              Robert Miller
1:97cv8312    Angela Holmes
              Lisa Mandell
              Tammy Benner
1:97cv8315    Jessica Font
              Osvaldo Font
1:97cv8325    Debby Allen
              Soraya Ayala
              Pamela Brown
              Marie Chavez
              Nicole Ciulla
              Sharmari Coates
              Rosa Dunning
              Georgina Fatam
              Kimberly Fields
              Terry Frank
1:97cv8327    Kathryn Bedgood
              Randy Bedgood
1:97cv8328    Rosalea Segura
1:97cv8329    Rebecca Young
1:97cv8333    Denise Clark
1:97cv8335    Susan Lariviere
              Tammy Latham
1:97cv8336    Laura Kimbrell
1:97cv8337    Justina Guy
              Cindy Hammett
              Christine Harvey
              Debra Hayworth
1:97cv8339    Felecia McGruder
              Lakisha Oliver
1:97cv8342    Kimberly Faulks
1:97cv8348    Anita Williams
1:97cv8350    Loree Williams
1:97cv8358    Tammy Latham
1:97cv8359    Laura Kimbrell
1:97cv8361    Justina Guy
1:97cv8362    Cindy Hammett
1:97cv8363    Christine Harvey
1:97cv8364    Debra Hayworth
1:97cv8372    Lakisha Oliver
1:97cv8381    Janet Flanders
1:97cv8384    Kimberly Foster
1:97cv8393    Athena Curry
1:97cv8397    Tammy Spears
1:97cv8398    Patricia Ragan
1:97cv8409    Bernice Anderson
1:97cv8414    Iris Rodriguez
1:97cv8421    Michelle Hardley
              Deshonda Hines
              Carla Johnson
              Jacklyn Jones
              Sherry Lewis
              Jennifer Liebersbach
              Holley Lowe
              Sherry Lowe
              Karen Marin
              Ann McKee
1:97cv8422    Stacey Swenson
              Kyra Tepaski
              Jody Thomas
              Gina Trampush
              Tara Tyler
              Rebecca Vanderwal
              Colleen Wehrly
              Susan Williams
              Tracey Wood
              Kim Zarcone
              Cherilyn Present
              Cynthia Batiste
              Nina Mills
              Regina Prosser
              Sabrina Edmond
              Star Montgomery
              Donna Webb
              Shirley Dickson
              Tammy Boren
              Gloria Lawai
              Christiane Gincore
1:97cv8424    Amy Sifuentes
              Ciro Sifuentes
1:97cv8427    Betty Moore
              Loretta Grigg
              Annie Nguyen
1:97cv8428    Takesha Knox
1:97cv8432    Lisa Sterling
1:97cv8433    Christine Franks
1:97cv8434    Monique Diamond
              Shannon Wilson
1:97cv8435    Chandler Joyce
              Amanda Nix
1:97cv8437    Golden Bradford
1:97cv8439    Rosa Thomas
              Tammy Shelton
              Connie Strickler
              Sheila Walters
1:97cv8440    Tammy Brzezinski
              Elizabeth Belcher
1:97cv8443    Stephanie Burnham
              Jacqueline Burns
              Meladie Carlson
              Terri Casnel
              Deandra Clan
              Aelena Collinson
              Yolanda Curry
              Alyssa Daniel


*854
1:97cv8444    Angela Deloach
              Jeannie Dobbs
              Adrienne Fayard
              Amber Ferguson
              Faith Ford
              Erika Foster
              Ronda Fulgham
              Jacqueline Garrett
              Kathleen Gillum
1:97cv8445    Samantha Gwaltney
              Amanda Hayes
              Jacqueline Hayes
              Frankie Hemphill
              Jana Hoda
              Tina Husband
1:97cv8446    Robin Kane
              Elizabeth Kleinshmidt
              Lisa Langley
              Christy Lapniewsky
              Rene Leonard
              Isakina Little
1:97cv8447    Crystal Lucas
              Sandra Lumpkin
              Meda Magnusen
              Belinda Martin
              Ginger Bergeron
              Jacqueline McClinton
              Mary McConnell
              Angel McGee
              Angel McGee
              Mary Millwood
1:97cv8448    Venescia Owens
              Sophia Parish
              Temeka Parker
              Robin Pascual
              Latoya Phillips
              Robin Posey
              Varnieca Price
              Barbara Randle
1:97cv8449    Stephanie Roberson
              Glenda Rogers
              Darlana Ryan
              Amy Smith
              Tamia Smothers
              Bridget Sproles
              Lisa Stone
              Cynthia Stonecypher
1:97cv8450    Randie Bostick
1:97cv8451    Sonya Thompson
              Ellen Turner
              Angela Waltman
              Jeffrey White
              Carlotta Williams
              Rhonda Williams
1:97cv8452    Anjanette Broome
              Tammy Grier
              Amanda Haley
              Kandy Nichols
              Dawn Beckel
              Sherry Sissom
1:97cv8453    Darlene Walters
              Julia Mitchell
              Neckida Young
              Angela Singleton
              Brandi Smathers
              Margo King
              Noretta Coley
1:97cv8454    Karen Adams
              Tonia Bangs
              Joyce Bateman
              Tammie Bell
              Sherri Bobinger
              Stephanie Brown
1:97cv8494    Maribel Miron
              Adrienne Ramirez
1:97cv8496    Asia Ludlow
1:97cv8505    Laverne Steivey
1:97cv8506    Carlos Martinez
1:97cv8507    Francine Kucan
              Jennifer Maile
1:97cv8510    Dayna Pennington
              Murphy Pennington
1:97cv8511    Nicole Weaver
              Lietrese Rogers
              Tiffany Weakley
1:97cv8517    Evelyn Islam
1:97cv8522    Quileisha Jones
1:97cv8523    Tommie Paulk
1:97cv8526    Willie Malone
              Versoal Turner
1:97cv8527    Diana Rosado
              Adriana Morales
1:98cv8533    C Smith
1:98cv8536    Karen Bailey
1:98cv8539    Gale Brown
1:98cv8541    Rubie Castro
              Kari Denison
              Teresa Fuentes
1:98cv8553    Terri Jamison
1:98cv8555    Jody Sangster
              Azalia Vazquez
1:98cv8556    Jan Bolemis
              Heather Brown
              Patricia Emond
              Anne Goyer
              Christine Graff
              Lisa Green
              Stephanie Inscore
              Denise Laroche
              Rebecca Major
              Sandra Moldonaro
              Melisa Pestana
              Virginia Reidy
1:98cv8563    Ashley Stringer
1:98cv8567    Stacey Jackson
1:98cv8577    Monique Burton
              Betty Cole
              Angela Daniels
1:98cv8578    Julie Forbus
              Cynthia Gore
              Linda Greer
              Lena Hall


*855
              Stacy Hardy
              Johnette Harper
              Tomica Harris
              Annzetta Hayes
              Glenna Higbee
1:98cv8579    Catherine Johnson
              Tina Johnson
              Toni Johnson
              Sylvia Leech
1:98cv8580    Sylvia Mallard
              Glenda Mangrum
              Jolene Manuel
              Tammy Meeks
              Amanda Moran
              Leanne Netto
              Tiffany Nistor
              Tasha Perkins
1:98cv8581    Constance Peterson
              Sharon Roach
              Latarsha Shaw
              Tracie Shelton
1:98cv8582    Tysha Stewart
              Dawn Swanson
              Dawn Thornton
              Pamela Vasser
1:98cv8583    Natasha Williams
1:98cv8590    Lena McElroy
1:98cv8595    Shannon Sandefur
1:98cv8604    Maureen Bailey
1:98cv8605    Gloria Bell
1:98cv8607    Debra Brumback
1:98cv8609    Theresa Clay
1:98cv8612    Sonya Copeland
1:98cv8615    Beverly Diamond
1:98cv8618    Deborah Fitzpatrick
1:98cv8638    Kimberly Smith
1:98cv8644    Laurie Abney
1:98cv8651    Jennifer Baker
1:98cv8653    Cynthia Basemore
1:98cv8655    Kimberly Bate
1:98cv8660    Nancy Berry
1:98cv8661    Laurie Abney
1:98cv8666    Sotonyio Bonner
1:98cv8670    Laurie Abney
1:98cv8671    Jeanette Bryant
1:98cv8677    Sandra Calhoun
1:98cv8678    Faye Callaway
1:98cv8679    Holly Candellas
1:98cv8681    Amy Childs
1:98cv8686    Akuiller Cole
1:98cv8693    Margie Cunningham
1:98cv8694    Samantha Daniels
1:98cv8695    Alesia Carlette
1:98cv8698    Shawanna Davis
1:98cv8699    Virginia Davis
1:98cv8700    Cathy Dean
1:98cv8704    Terri Doxey
1:98cv8708    Sharon Eason
1:98cv8710    Lori Elmendorf
1:98cv8714    Latarria Farlar
1:98cv8729    Paula Grabowski
1:98cv8732    Jennifer Griffin
1:98cv8734    Beverly Gulledge
1:98cv8737    Tiwanda Hampton
1:98cv8739    Amanda Harding
1:98cv8740    Alisha Harris
1:98cv8745    Natasha Hooks
1:98cv8749    Misty Hunter
1:98cv8752    Altovise Jackson
1:98cv8767    Tammy Lee
1:98cv8776    Sarah Mims
1:98cv8777    Katherine Mitcham
1:98cv8786    Felicia Nelson
1:98cv8787    Amy Nicholson
1:98cv8792    Michelle Ogdon
1:98cv8794    Dorothea Oliver
1:98cv8801    Jeanette Phillips
1:98cv8805    Joyce Porter
1:98cv8810    Angela Randall
1:98cv8815    Audrey Robinson
1:98cv8816    Shorne Robinson
1:98cv8818    Celetha Roquemore
1:98cv8823    Jennifer Sanders
1:98cv8825    Jennifer Scott
1:98cv8828    Rosemary Simmons
1:98cv8831    Debra Smith
1:98cv8838    Shaundra Smith
1:98cv8839    Spanjatta Smith
1:98cv8840    Terry Smith
1:98cv8850    Veronia Stubbs
1:98cv8851    Melanie Suddeth
1:98cv8853    Katina Toler
1:98cv8858    Robin Wade
1:98cv8860    Terry Wall
1:98cv8863    Tamisha Wells
1:98cv8865    Lisa White
1:98cv8869    Tamiko Wimberly
1:98cv8875    Katheryn Parrish
1:98cv8882    Karen Teems
1:98cv8885    Tamela Allen
1:98cv8887    Carlene Young
1:98cv8889    Sheryl Gowdy
              John Gowdy
              Jessica Gowdy
              Christopher Gowdy
              Rebecca Gowdy
1:98cv8890    Tina Spear
1:98cv8894    Pamela Maleveaux
              Maribel Contretas
1:98cv8899    Michelle Johnson
1:98cv8901    Victoria Kresse-Troxell
1:98cv8904    Sandra Clemons
              Evelyn Elliot
              Ollie Hill
              Lisa Jensen
1:98cv8905    Christine Pate
1:98cv8913    Charnell Mims
              Demeko Parker
              Deborah Pope
              Kimberly Pressley
              Celina Robinson
              Michelle Stallworth


*856
              Robin Steadman
              Cynthia Taylor
              Tammy Walker
              Natasha Wheeler
1:98cv8917    Ly Perry
1:98cv8920    Lisa Cloyd
1:98cv8923    Bridget Lindner
              Kathryn Peoples
1:98cv8929    Lacresha Montgomery
              Yvonne Salazer
              Jennifer Kinnard
              Emma Ayon
              Dorothy Nieto
              Wakesha Bolen
              Anna Friedlander
              Tina Sotelo
              Sandra Ortiz
              Tracy Ray
              Delma Chavez
1:98cv8930    Kristal Garcia
              Lisa McCellon
              Heidi Murdock
1:98cv8935    Sherilyn McKenzie
1:99cv8937    Virginia Bozeman
1:99cv8942    Angela Glisson
1:99cv8945    Christa White
1:99cv8950    Janice Airy
              Seda Avartanian
              Angela Bonner
              Tonya Bouillion
              Kristy Bush
              Julie Carter
              Lorelei Flook
              Angel Freeman
              Debra Furrh
              Gina Galicia
              Abby Garza
              Beverly Gonzalez
              Monica Grant
              Shameka Griffith
              Bonnie Henderson
              Pamela Henderson
              Joyce Henry
              Shanna Hipp
              Carla Hornbuckle
              Melony Houston
              Anita Howard
              Yolette Jackson
              Shannon Johnson
              Twanna Johnson
              Stephanie Kiker
              Vanessa Mays
              Jeaneen Morris
              Belinda Morrison
              Shelly Myers
              Catherine Roche
              Michelle Uzzell
              Magdalena Velaquez
              Monisha Williams
              Jacquelin Eaglin
1:99cv8951    Cynthia Beste
              Tonya Buschette
              Weyaka Cavanaugh
              Anita Cloud
              Maria Cloud
              Consuelo Defoe
              Judy Drift
              Ingrid Gross
              Nicki Heisler
              Janice Holstein
              Cynthia Jackson
              Kristine Manning
              Connie Neadeau
              Barbara Robinson
              Joy Wakonabo
              Cynthia Wriskey
              Jennifer Lacey
              Redfish Candace
              Hattie Dunham
              Carol Brown
              Tammy Blair
              Michelle German
              Martha Lemay
              Melva Clifford
              Melanie Maconnell
              Tracy Tallman
1:99cv8952    Laura Lee
              Christine Bennett
              Heather Brown-Johnson
              Rhonda Bruce
              Roberta Cooper
              Kathryn Finley-Volkert
              Brenda Book
              Amy Hensley
              Tamara Janicke
              Constance Johnson
              Elizabeth Jones
              Tina Morris
              April Richardson
              Kimberly Seagraves
              Gina Townsend
              Joni Wilson
              Dana Adams
              Valarie Finn
              Kris Lambert
              Tina Mahaffey-Simon
              Michelle Parson
              Paula Smith
              Cora Stonewell
              Lisa Stratton
              Rachel Walsh
              Mary Williams
              Paula Beaty
              Sara Buckley
              Lori Cox
              Tracy Campell
              Angela Griffin
              Linda Jones
              Peggy Crim
              Lisa Grimes
              Sharon Ivy
              Melinda Williams


*857
              Elizabeth Adkins
              Donna Bardenwerper
              Kimberly Brooks
              Barbara Meyer-Spidwell
              Christina Ruckin
              Paula Young
              Angela Barriger
              Cathey English
              Patricia Gast
              Crystal Gonzales
              Terrie Gossett
              Peggy Hitchcock
              Valerie Kent
              Melissa Martinez
1:99cv8953    Aimee Reasoner
              Sheilah Mathis
              Karen Mooney
              Kristin Nighswonger
              Angela Reed
              Sheri Riddle
              Rina Sheilds
              Jill Streit
              Donna Teels
              Lisa Townsley
              Sheri Vincen
              Misty Bowman
              Debra Bradshaw
              Pauletta Brown
              Cheryl Bruckman
              Melissa Brundige
              Michelle Bucher
              Connie Cobb
              Polly Daniel
              Michelle Davis-Prince
              Teri Dollard
              Angela English
              Nancy French
              Lakeshia Hampton
              Rebecca Herron
              Christina Hill
              Pamela Hoskins
              Sherry Ingram
              Kristi Jeffress
              Dena Jennings
              Gwendy Mann
              April McCauley
              Elizabeth McCollum
              Robin McSpadden
              Rose Merrell
              Sadie Mills
              Monica Mitchell
              Jennifer Morrow
              Carol Nichols
              Cathy Reynolds
              Tammie Schlude
              Katrina Solley
              Melinda Stackle
              Betty Talley-Pruitt
              Jennifer Tatum
              Dawn Terry
              Khristina Ward
              Linda White
              Yvonne Whitner
              Christine Willis
1:99cv8954    Tina Schmidt
              Kelley Winkle
              Rhonda Horton
              Robyn Chistensen
              Karen Serrano
              Cindi Cave
              Faye Cox
              Julie Kats
              Susan Paggeot
              Pamela Robotham
              Susan Burzynski
              Kerry Crise
              Cynthia Cox
              Linda Martinson
              Jerriann Picton
              Tonya Richmond
              Sharon Wilson
              Candi Bellanger
              Robin Knox
              Cynthia Slemin
              Tammy Anderson
              Melynda Arnold
              Selina Bryant
              Theresa Burkett
              Sabrina Burley
              Anjanee Carter
              Johnette Carter
              Jennifer Carter
              Lori Collins
              Lateasha Copeland
              Yolanda Cornelious
              Linda Crews
              Tammy Cummings
              Debbie Daniels
              Glenda Franklin
              Betty Fritz
              Christina Fulton
              Shirley Gardner
              Vickie Glass
              Bettina Griffin
              Mary Griffin
              Brenda Grubbs
              Linda Hart
              Johanna Hill
              Michelle Hughes
              Randie Johnson
              Jodi Jones
              Patricia Jones
              Ruby Larkins
              Joy Lashley
1:99cv8955    Heather Gilbertson
              Marnell Keller
              Fanthom Mason
              Martha Vann
              Sandy Ballenger
              Relinda Drake
              Amanda Durham
              Sherri Farley


*858
              Paula Gorff
              Melissa Green
              Lisa Hannawell
              Natalie Harris
              Anita Hooper
              Roxanne Hopple
              Natasha Hutchinson
              Vickie Jenkins
              Wendi Jones
              Angela Maddox
              Jennifer Martin
              Shannon Stephens
              Libby Worley
              Debra Wolfe
              Brandy Bentley
              Jodi Branscom
              Katherine Carney
              Dala Clutter
              Jerie Crabtree
              Jennifer Fortner
              Christy Frank
              Misty Frank
              Angela Gibson
              Connie Henson
              Trischa Johnson
              Angela Jones
              Marlo Keith
              Kimberly Lewis
              Angeline May
              Robin Meadows
              Nicolle Randolph
              Deanna Smith
              Anne Marie Stephens
              Kimberly Sturman
              Donna Tolle
              Jackie Vitali
              Kathy Walke
              Angela Bennett
              Donna Blankenship
              Doris Bowers
              Tiffany Brown
              Melissa Cunningham
1:99cv8956    Tara Minnick
              Teresa Ford
              Sally Foster
              Jill Fox
              Elizabeth Gould
              Jessica Hall
              Tina Harry
              Rebecca Hosey
              Tanya King
              Marie Mallow
              Angela Pullin
              Elizabeth Raley
              Patricia Rotsolk
              Tammy Rowe
              Laurie Sample
              Melinda Shepherd
              Heather Stultz
              Pamela Swartz
              Melissa Taylor
              Helen Thornton
              Vickie Wilkerson
              Anne Wilkins
              April Morgan
              Angela Manuel
              Melissa Martinez
              Angel McDonald
              Susan McKinley
              Tonya McNab
              Latishie McNair
              April Mercer
              Donna Mincey
              Amy Moon
              Sandra Moon
              Suzi Morris
              Patricia Moss
              Angela Nash
              Delisa Renew
              Maria Riley
              Rebecca Sellers
              Joy Skelton
              Debbie Smith
              Jennifer Smith
              Pamela Smith
              Cindy Steedley
              Jennifer Tawzer
              Tracy Taylor
              Diane Williams
              Tammy Williams
              Duretta Billedeaux
              Eileen Hoyt
1:99cv8957    Dawn Anson
              Christina Burris
              Tamara Clark
              Diana Cody
              Vickie Cooper
              Leslie Duncan
              Palora Fowler
              Shiela Gilbert
              Enola Hicks
              Sara Hillis
              Kimberly Hubbard
              Misti King
              Tam Le
              Heather McCarty
              Yolanda McDuffie
              Lavenia McFarland
              Mary Miller
              Rebecca Minton
              Linda Price
              Stephanie Parker
              Tracie Standlee
              Sherry Snyder
              Tabitha Sixkiller
              Brenda Russ
              Tina Strunk
              Elizabeth Teague
              Stacy Tevebaugh
              Maria Gonzalez
              Mary Hayden
              Lisa Jordan


*859
              Kay Joslin
              Eveline McCombs
              Norine Papiese
              Robyn Werham
              Mei Torgeson
              Peggy Dick
              Brandy Groves
              Nicole Lamotte
              Melissa Makler
              Jodi McLellan
              Rebecca Listol
              Tara Steele
              Deborah Williamson
              Toynette Hill
              Karen Leblanc
              Chandra Allen
              Kelly Adams
              Deedre Anderson
              Erica Blackman
              Julie Deluca
1:99cv8959    Sheri Ketchins
              Linda Valdivieso
              Kimberly Dorsey
              Kimberly Griffin
              Bridgett Kennedy
              Brandy Quinn
              Teneshia Smith
              Shantrell Cains
              Kristy Stevenson
              Regina Scott
              Angelle Keeney
              Nicole Hicks
              Rogina Shaw
              Stacey Clark
1:99cv8960    Jennifer Wilson
1:00cv8961    Latoya Skillman
1:00cv8962    Alene Adams
              Deidre Bean
              Lesta Burgess
              Julie Burris
              Shana Crosby
              Katrina Herring
              Rebecca Krouse
              Annette Lee
              Robin March
              Dana Miguez
              Marie Morgan
              Ginger Newton
              Angela Owens
              Rae Ayers
              Tamara Burnett
              Evelyn Childress
              Brenda Courtney
              Jessica Ebert
              Holly Grisby
              Teresa Herndon
              Tammy Ketchum
              Shana McDonald
              Tanganyika Reed
              Julie Rhea
              Tawanda Sherrin
              Norma Simpson
              Violet Snow
              Johnetta Taylor
              Jennifer Vaughn
              Kathy Vieux
              Crystal Walton
              Davena Wartchow
              Vatesta Washington
              Jamsey Weaver
              Debra Whitten
              Jennifer Williams
              Tamma Woulfe
1:00cv8963    Amy Anderson
              Jodi Anderson
              Eva Bales-Bone
              Melissa Bedford
              Melissa Buntt
              Helen Byrum
              Connie Carson
              Angela Clark
              Kearl Coke
              Crystal Coulson
              Laura Gildhouse
              Lesa Gray
              Jennifer Green
              Felicia Gregory
              Melanie Johnson
              Vanetta Johnson
              Kelli Jones
              Ginger Kirkland
              Katrina Lemley
              Stephanie Lusby
              Lea Malone
              Linda McCaul
              Antoni McPherson
              Elizabeth Michael
              Adrian Moore
              Talisa Newton
              Regina Owens
              Jennifer Peevy
              Lorie Ray
              Lori Readnour
              Peggy Rose
              Angela Rucker
              Ronda Shepherd
              Diana Smith
              Cindy Stanley
              Shawna Steele
              Amanda Stroud
              Linda Sweezy
              Stacey Ward
              Cathy Wilson
              Marilyn Wood
              Laura Kemp
1:00cv8964    Tammy Ellis
              Catherine Bailey-Morgan
              Regina Baker
              Angie Balentine
              Christina Barnhill
              Trina Beadle
              Dawnya Rice


*860
              Debbie Blower
              Lee Breedlove
              Elnora Bridges
              Kelley Burris
              Cynthia Chapman
              Lisa Chatham
              Telisa Chavez
              Linda Cross
              Karla Donaldson
              Sandy Ferrell
              Lorraine Flournnoy
              Brandy Ford
              Leigh Freeman
              Tracy Goad
              Denise Green
              Shelly Hickman
              Helena Horton
              Michelle Jackson
              Katherine Kilpatrick
              Tammy Lambert
              Sherri Jones
              Sally McIntosh
              Georgina Meis
              Monique Murrell
              Sonya Powell
              Nikki Parton
              Natasha Rosaker
              Natasha Russell
              Jamie Schwarz
              Cynthia Shaw
              Alicia Smith
              Deborah Smith
              Lisa Smith
              Kim Sowers-Hanson
              Angela Spencer
              Robin Stevens
              Brandi Blower
              Sharon Tatum
              Adron Bowen
              Christina Weins
              Sarah Willis
              Stephanie Martin
1:00cv8965    Tracy McDowell
              Miriam Garrafa
1:00cv8966    Sherall Jackson
1:00cv8967    Shannon Brown
              Paula Osborne
              Melissa Owen
              Jacqueline Poniewierski
              Sondra Slone
              Laura Smith
              Cynthia Robertson
              Gail Robert
              Angela Thacker
              Jennifer Wert
              Mary Wilson
              Loretta Wilson
              Tina Williams
              Terri Wright
              Susan Padgett
              Katina Pannell
              Lisa Payton
              Tia Plowman
              Patty Sallaz
              Christine Shultz
              Melody Shelton
              Veola Shenk
              Missy Davis
              Jennifer Deeter
              Joyce Donan
              Kyra Hartwig
              Kimberly Allen
              Shannon Allen
              Melissa Baker
              Mindy Barker
              Conda Mann
              Krissi Handwerger
              Tammy Harston
              Candy Matthews
              Dina Mazurek
              Beverly McCarty
              Cassie McCarty
              Tamara Letcher
              Lisa Lewis
              Anna Carroll
              Dana Collins
              Dorothy Joiner
              Jerilyn Kaid
              Barbara Jones
              Terri Bates
              Natasha Burris
              Holly Bartlett
              Linda Barnhardt
              Rosa Ozemok
              Linda Parker
1:01cv8968    Susan Aguayo
              Gerald Aguayo

NOTES
[1]  On March 11, 2002, American Home Products Corporation officially changed its corporate name to Wyeth, and Wyeth-Ayerst Laboratories became Wyeth Pharmaceuticals. Special Announcements, at http://www.wyeth.com/news/special.asp (last visited August 6, 2002).
[2]  See "Memorandum Of Points &amp; Authorities In Opposition To Wyeth's Four Motions For `Partial' Summary Judgment On Behalf Of Barbara Bueno And Annette Caraveo," filed on May 9, 2000 (Dkt.# 745); "Affidavit Opposing Defendant's Four Motions For Summary Judgment," filed on May 1, 2000, on behalf of Brandy L. Linsner (Dkt.# 2); "Response Of Plaintiff Karan L. Zopatti To Wyeth's Four Motions For Partial Summary Judgment," filed on May 15, 2000 (Dkt.# 751); "Plaintiff's Response To Defendant Wyeth-Ayerst Laboratories' Motions For Partial Summary Judgment," filed on May 16, 2000 on behalf of Penny and Robert Robinson (Dkt.# 753); "[R]esponse to the[] motions for partial Summary Judgment," filed on May 15, 2000, by Plaintiff Christa White; and Response letter to the Law Offices of Williams &amp; Connolly, L.L.P., from Plaintiff Ingrid Hakala, filed on May 30, 2000 (Dkt.# 4).
[3]  See "Plaintiffs' Response To Defendants' Motions For Partial Summary Judgment Re The Learned Intermediary Doctrine, Adequacy Of Norplant Labeling And Conditions For Which There Is No Evidence Of Causation," filed on May 15, 2000, on behalf of all Plaintiffs represented by the law firm of Parker &amp; Parks (Dkt.# 748); "Joinder In Memorandum In Opposition To Motion For Summary Judgment," filed on behalf of Jaylee Smith on May 15, 2000 (Dkt.# 750); "Plaintiff's Brief In Opposition To Wyeth's Motions For Partial Summary Judgment," filed on behalf of Susan Port on May 15, 2000 (Dkt.# 754); and "Plaintiff's Response To Defendants' Motions For Partial Summary Judgment Re The Learned Intermediary Doctrine, Adequacy Of The Norplant Labeling And Conditions For Which There Is No Evidence of Causation," filed on June 16, 2000, on behalf of nineteen Plaintiffs represented by the law firm of Sybil Shainwald, P.C. (of counsel is Allen &amp; Lippes) (Dkt.# 757).
[4]  Defendants subsequently filed an amended motion for partial summary judgment regarding causation wherein they asked the court to defer consideration of certain side effects when ruling on the motion (Dkt.# 734). On March 3, 2000, Defendants filed a second amended motion effectively requesting the court to disregard the scope of the amended motion in favor of the original motion (Dkt.# 743).
[5]  Defendants filed three additional dispositive motions with the court:

(1) "Wyeth's Motion for Partial Summary Judgment Re Adequacy Of The Norplant Labeling," filed on May 25, 1999 (Dkt.# 714, 715). Provost &amp;starf; Umphrey and Ness, Motley, Loadholt, Richardson &amp; Poole filed a response on behalf of their clients on May 12, 2000 (Dkt.# 746), and several Plaintiffs filed individual responses. Defendants filed a reply on June 16, 2000 (Dkt.# 759). In this motion, Defendants contend they are entitled to partial summary judgment because their physician warnings are adequate as a matter of law.
(2) Defendants' "Motion For Summary Judgment Re 102 Plaintiffs," filed on February 13, 2001 (Dkt.# 779, 780). No response was filed, but Defendants filed a reply on March 20, 2001 (Dkt.# 782). This motion is based on res judicata.
(3) Defendants also filed a "Motion To Dismiss For Want Of Prosecution" on December 4, 2000 (Dkt.# 765, 766). Numerous Plaintiffs filed responses (among them, Dkt. # 767, 769, 772, 774, 776, 777), and Defendants replied on February 1, 2002 (Dkt.# 778).
Due to the court's decision in this memorandum opinion and order, Defendants' motion for partial summary judgment regarding the adequacy of Norplant labeling, motion for summary judgment regarding 102 Plaintiffs, and motion to dismiss for want of prosecution are MOOT.
[6]  Defendants recently announced they will not resume selling Norplant. Wyeth Won't Resume Its Sales of Norplant, HOUSTON CHRONICLE, July 27, 2002. This statement comes nearly two years after Defendants pulled Norplant from the market. Id.
[7]  The 26 side effects are as follows: bleeding irregularities (specifically, (1) many bleeding days or prolonged bleeding; (2) spotting; (3) amenorrhea; (4) irregular onsets of bleeding; (5) frequent bleeding onsets; (6) scanty bleeding); (7) infection at implant site; (8) pain or itching at implant site; (9) removal difficulties; (10) headaches; (11) nervousness; (12) nausea; (13) dizziness; (14) adnexal enlargement; (15) dermatitis; (16) acne; (17) change in appetite; (18) mastalgia; (19) weight gain; (20) hair loss and hair growth; (21) breast discharge; (22) cervicitis; (23) musculoskeletal pain; (24) abdominal discomfort; (25) leukorrhea; and (26) vaginitis. See Defs.' App. in Supp. of Wyeth's Four Mots. for Partial Summ. J., Volume 2, Tab 36 at unnumbered 3.
[8]  Approximately 950 exotic conditions are enumerated at Tab 35 in volume two of Defendants' "Appendix In Support Of Wyeth's Four Motions For Partial Summary Judgment." Some of the many conditions claimed therein are as follows: abdominal pain, AIDS, anemia, anxiety, birth defects, dry mouth, eye problems, tumors, hepatitis, hair problems, itching, jaundice, bowel problems, lesions, nervous breakdown, ovarian problems, red eye, paralysis, sexual problems, depression, spastic colon, swelling, ulcers, warts, various fears, and hundreds of others. See Defs.' App. in Supp. of Wyeth's Four Mots. for Partial Summ. J., Volume 2, Tab 35. Basically, the exotic conditions encompass every claim of injury made by Plaintiffs against Defendants, even if not among those inscribed at Tab 35, other than claims corresponding to the 26 side effects mentioned above.
[9]  Because each bellwether Plaintiff had Norplant implanted in Texas, the substantive law of Texas governed Defendants' summary judgment motion in those cases. As further discussed in this opinion, application of the learned intermediary doctrine to the claims of the remaining Plaintiffs who had Norplant inserted in other jurisdictions depends upon the substantive law of those jurisdictions.
[10]  Defendants assert the instant motions for partial summary judgment against the 2,970 nonsettling Plaintiffs who remain in this litigation.
[11]  When the warning to the intermediary is inadequate or misleading, however, the manufacturer remains liable for injuries sustained by the ultimate user. Porterfield, 183 F.3d at 468 (citation omitted). Put another way, if the prescribing healthcare provider is not sufficiently warned, the provider is not acting as a learned intermediary for the purpose of determining whether the warning was adequate.
[12]  The case to which Plaintiffs refer is Medrano v. American Home Prod. Corp. d/b/a Wyeth-Ayerst Lab., Cause No. B-150,760 (60th Jud. Dist. Ct., Jefferson County, Tex.). Pls.' Resp. at 2. That case was reversed on appeal and judgment was rendered in favor of Defendants on the basis of the learned intermediary doctrine. See Wyeth-Ayerst Lab. Co. v. Medrano, 28 S.W.3d 87, 91-96 (Tex. Ct.App.-Texarkana 2000); Defs.' Supp. Reply 1. The appeals court decided that the learned intermediary doctrine applies to prescription contraceptives and that nurses as well as doctors are learned intermediaries. Consequently, Plaintiffs citation is inapposite to the instant motion.
[13]  That is, assuming each Plaintiff asserts some of the 26 "Adverse Reactions."
[14]  The court will discuss New Jersey law starting on page 811 below.
[15]  Prior to that order, the court entered an order on October 4, 1996, "requiring that `joined Plaintiffs or Plaintiff-Intervenors in any single case must be represented by the same counsel and must have had their implantation of Norplant performed in the same state.'" Id.
[16]  This finding is supported by the court's conclusions above in its survey of the learned intermediary doctrine's applicability to prescription drugs. See Table Summarizing Case Law, supra, at 806-09.
[17]  Indeed, the superior court in Perez applied the learned intermediary doctrine and granted summary judgment against the plaintiffs; the appeals court affirmed. Perez, 734 A.2d at 1245.
[18]  Dr. Nelson also surmises that such medical practitioners would also know that any given woman could experience "a variable number of those side effects," and that "the intensity of the problems would vary in different women." Id. at Tab 34 ¶ 21.
[19]  Plaintiffs also argue that Norplant was not actually prescribed by a physician in some instances, but fail to list any instances applicable to the instant litigation. Id. at 5. Rather, Plaintiffs rely on the depositions of Dr. Moses, Nurse George, Dr. Tatum, Dr. Uel Crosby, and Dr. Kirk for the proposition that Plaintiffs were counseled about the potential side effects of Norplant by a nurse or nurse's aid. Id. These depositions refer to plaintiffs in the Norplant suit in Jefferson County. The fact that the these practitioners cited by Plaintiffs did not prescribe Norplant to any Plaintiffs in this suit nullifies their argument.
[20]  The court decided that all of Plaintiffs' claims are grounded upon allegations of failure to warn. See, supra, at 801-02.
[21]  While the court does not hold that epidemiological proof is a necessary element in all products liability cases, it is certainly a very important element where medical causation is at issue. This is especially true here as Plaintiffs must provide reliable scientific evidence linking Norplant to various and sundry health conditions.
[22]  This includes the exotic conditions claims of those Plaintiffs who survived partial summary judgment regarding the learned intermediary doctrine for one reason or another: Penny and Robert Robinson (1:95-CV-5069); Susan Port (1:95-CV-5049); Barbara Bueno (1:95-CV-5077); Rhonda Randazzo and Linda Vitali (1:97-CV-7359); Charlene Harris (1:97-CV-7789); Deborah Campione, Oneyda Fay, and Dawn Lauterborn (1:97-CV-7795); Marie Badame (1:97-CV-7979); Shaunda Taylor and Rebecca Zenguis (1:97-CV-8125); and Marva Christie (1:97-CV-8126).

